              Case 01-01139-AMC                 Doc 775-6         Filed 08/02/01          Page 1 of 184




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                                        )    Chapter 11
                                                              )
W. R. GRACE & CO., et al.,1                                   )    Case No. 01-01139 (JJF)
                                                              )    (Jointly Administered)
                                                              )
                            Debtors.                          )


      SUMMARY OF THE VERIFIED APPLICATION OF KIRKLAND & ELLIS FOR
       COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES
         AS BANKRUPTCY COUNSEL TO W. R. GRACE & CO., ET AL., FOR
                  THE THIRD MONTHLY INTERIM PERIOD
                 FROM JUNE 1, 2001 THROUGH JUNE 30, 2001


 Name of Applicant:                                                Kirkland & Ellis
 Authorized to Provide Professional Services to:                   W. R. Grace & Co., et al., Debtors and
                                                                   Debtors-in-Possession

 Date of Retention:                                                Retention Order entered May 3, 2001,
                                                                   effective as of April 2, 2001.

 Period for which compensation and reimbursement
 is sought:                                                        June 1, 2001 through June 30, 2001




1
   The Debtors consist of the following 62 entities: W . R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W . R. Grace
& Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc.
(f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto
Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife
Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace
Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace
H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn
International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated,
Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W . R.
Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square
Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc.
(f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA,
Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc.,
Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch W e s t
Coal Company, H-G Coal Company.
               Case 01-01139-AMC                Doc 775-6         Filed 08/02/01          Page 2 of 184




 Amount of Compensation sought as actual,
 reasonable, and necessary:                                       $606,035.63


This is a X monthly ___ interim __ final application.
          The total time expended for the preparation of this application is approximately 40 hours, and
the corresponding estimated compensation that will be requested in a future application is
approximately $10,000.00.

      This is the third monthly application for interim compensation of services filed with the
Bankruptcy Court in the Chapter 11 Cases.2 Two prior interim monthly applications have been filed:

                                                      Requested      Requested            Approved       Approved
        Date Filed        Period Covered                Fees         Expenses               Fees         Expenses

     May 29, 2001      April 2-30, 2001          $626,079.00       $32,489.84         pending           pending

     June 29, 2001     May 1-31, 2001            $567,151.00       $77,487.86         pending           pending


          The K&E attorneys who rendered professional services in these cases during the Fee Period
are:

         Name of         Position         Number of                             Hourly       Total         Total
       Professional      with the         years as an       Department          billing      billed       compen-
         Person          applicant         attorney                              rate        hours         sation


     Janet Baer           Partner          19 Years         Bankruptcy          $495.00       171.10      $84,694.50

     Bennett Spiegel      Partner          17 Years         Bankruptcy          $445.00         25.80     $11,481.00

     James                Partner          16 Years         Bankruptcy          $625.00          9.30      $5,812.50
     Sprayregen

     Lena Mandel        Associate          11 Years         Bankruptcy          $395.00          1.10        $434.50

     James Kapp III     Associate          7 Years          Bankruptcy          $395.00       128.50      $50,757.50

     Deanna D. Boll     Associate          3 Years          Bankruptcy          $320.00         23.90      $7,648.00

     Samuel Schwartz    Associate          4 Years          Bankruptcy          $320.00       174.50      $55,840.00

     Roger Higgins      Associate          5 Years          Bankruptcy          $235.00         70.90     $16,661.50

     Brian Lutz          Summer            2 Month          Bankruptcy          $145.00         12.30      $1,783.50
                        Associate



 2
    Any capitalized terms not defined herein have the meaning ascribed to them in the Verified Application of Kirkland
& Ellis for Compensation for Services and Reimbursement of Expenses as Bankruptcy Counsel to W. R. Grace & Co., et
al., for the Third Monthly Interim Period from June 1, 2001 through June 30, 2001.


                                                             2
           Case 01-01139-AMC         Doc 775-6       Filed 08/02/01      Page 3 of 184




    Name of        Position    Number of                       Hourly       Total      Total
  Professional     with the    years as an    Department       billing      billed    compen-
    Person         applicant    attorney                        rate        hours      sation


Martin C. Attea    Associate    2 Years        Corporate       $265.00         0.50       $132.50

Timothy Hardy       Partner     29 Years     Environmental     $445.00        40.20   $17,889.00

Mark Grummer        Partner     25 Years     Environmental     $365.00        45.60   $16,644.00

David Codevilla    Associate    5 Years      Environmental     $295.00         8.70      $2,566.50

Jane Davis          Summer      2 Month      Environmental     $125.00         5.50       $687.50
                   Associate

John Irving, Jr.    Partner     36 Years           Labor       $440.00         1.20       $528.00

R. Timothy          Partner     11 Years           Labor       $350.00         1.70       $595.00
Stephenson

David Bernick       Partner     23 Years       Litigation      $655.00        58.60   $38,383.00

Andrew              Partner     19 Years       Litigation      $470.00      120.10    $56,447.00
Running

Reed Oslan          Partner     14 Years       Litigation      $445.00         7.80      $3,471.00

Michelle Browdy     Partner     11 Years       Litigation      $400.00         7.20      $2,880.00

Daryl Joseffer     Associate    6 Years        Litigation      $315.00         1.30       $409.50

Christopher        Associate    6 Years        Litigation      $350.00      130.50    $45,675.00
Sullivan

Brant Bishop       Associate    5 Years        Litigation      $330.00         8.80      $2,904.00

Scott McMillin     Associate    5 Years        Litigation      $330.00      104.60    $34,518.00

Douglas Smith      Associate    5 Years        Litigation      $315.00        19.50      $6,142.50

J. Chad Mitchell   Associate    3 Years        Litigation      $265.00         3.00       $795.00

P. Renee           Associate     3 Years       Litigation      $265.00        29.10      $7,711.50
Wicklund

Kellye Fabian      Associate     1 Year        Litigation      $195.00        46.40      $9,048.00

Yvette Ney          Summer      1 Month        Litigation      $125.00        41.70      $5,212.50
                   Associate

Sven Nylen          Summer      1 Month       Real Estate      $140.00        15.30      $2,142.00
                   Associate

Donald Rocap        Partner     21 Years           Tax         $625.00         1.80      $1,125.00

Todd Maynes         Partner     14 Years           Tax         $515.00        19.60   $10,094.00

Kevin Coenen       Associate    4 Years            Tax         $335.00        21.90      $7,336.50



                                               3
              Case 01-01139-AMC         Doc 775-6     Filed 08/02/01       Page 4 of 184




       Name of        Position    Number of                      Hourly       Total      Total
     Professional     with the    years as an   Department       billing      billed    compen-
       Person         applicant    attorney                       rate        hours      sation


   Natalie Keller     Associate    4 Years           Tax         $365.00        28.70   $10,475.50

   Thomas Day         Associate     1 Year           Tax         $235.00        22.50      $5,287.50


The paraprofessionals of K&E who rendered professional services in these cases during the Fee

Period are:

       Name of        Position    Number of                      Hourly       Total      Total
     Professional     with the    years as an   Department       billing      billed    compen-
       Person         applicant    attorney                       rate        hours      sation


   Elizabeth Cox       Legal       12 Years     Bankruptcy       $150.00         2.00       $300.00
   Arnold             Assistant

   Brigitte Windley    Legal       4 Years      Bankruptcy       $150.00        50.30      $7,545.00
                      Assistant

   David               Project      1 Year      Bankruptcy        $70.00         5.50       $385.00
   Delsignore         Assistant

   Leslie              Project    9 Months      Bankruptcy        $70.00         0.70        $49.00
   Drinkwater         Assistant

   Sabrina Mitchell    Project    4 Months      Bankruptcy        $70.00        88.30      $6,181.00
                      Assistant

   Aletheia            Project     1 Month      Bankruptcy        $70.00         0.20        $14.00
   Anderson           Assistant

   Jua Howard          Project     1 Month      Bankruptcy        $70.00         0.50        $35.00
                      Assistant

   Bertha Serrano      Legal       1 Month      Bankruptcy       $105.00         1.60       $168.00
                      Assistant

   Alison Kucera       Project     1 Month      Intellectual      $70.00         1.30        $91.00
                      Assistant                  Property

   Rebecca Landau      Project    11 Months      Corporate        $80.00        16.00      $1,280.00
                      Assistant

   Shirley Pope        Legal       16 Years      Litigation      $155.00        95.50   $14,802.50
                      Assistant

   Kenneth Toth         Case       8 Years       Litigation       $65.00         2.00       $130.00
                      Assistant

   Aaron Birnbaum      Project      1 Year       Litigation       $70.00        50.50      $3,535.00
                      Assistant



                                                 4
          Case 01-01139-AMC                   Doc 775-6       Filed 08/02/01         Page 5 of 184




    Name of             Position      Number of                            Hourly        Total        Total
  Professional          with the      years as an       Department         billing       billed      compen-
    Person              applicant      attorney                             rate         hours        sation


Emily Knox              Project       11 Months          Litigation        $70.00            1.30        $91.00
                       Assistant

Raquel Carrillo         Legal         7 Months           Litigation        $100.00           3.30       $330.00
                       Assistant

Susan Polk              Legal             16 Years           Tax           $180.00           5.00       $900.00
                       Assistant
                                                                   Grand Total for Fees: $560,569.50
                                                                         Blended Rate: $322.69




                                            Compensation by Matter

 Matter                                    Matter                         Total Hours        Total Fees Requested
 Number

    16            Asset Analysis and Recovery                                        13.10               $4,484.50

    17            Automatic Stay Matters/Relief from Stay                            43.60              $16,816.00
                  Proceedings

    20            Case Administration                                               235.90              $46,801.00

    21            Claim Estimate, Objection and Resolution                          172.20              $65,946.50

    22            Contested Matters/Adversary Proceedings                           687.80             $248,690.00

    23            Corporate and Securities Matters                                    0.30                $187.50

    24            Creditors/Noteholders Committee                                    59.80              $20,117.00

    25            Creditors/Shareholders Committee                                   31.40               $7,904.00

    26            DIP Financing/Cash Collateral                                       1.10                $434.50

    27            Employee Matters                                                   64.00              $21,061.50

    28            Environmental Issues                                               28.30              $10,052.50

    29            File, Docket, Calendar Maintenance                                 59.30               $4,546.00

    30            Hearings                                                           52.80              $25,282.00

    31            Intellectual Property                                               0.20                 $79.00

    32            K&E Fee Application, Preparation of                                46.50               $6,568.00

    33            Lease Rejection Claims                                             22.00               $7,229.50

    34            Lien Issues                                                         0.30                $118.50



                                                         5
     Case 01-01139-AMC           Doc 775-6         Filed 08/02/01   Page 6 of 184




35      Other Fee Applications                                       1.10             $434.50

36      Reclamation Claims                                           1.20             $314.00

37      Reorganization Plan/Disclosure                              11.30            $3,746.50
        Statement/Confirmation Issues

38      Retention of Professionals/Fees                             51.40           $16,627.50

39      Schedules/Statement of Financial Affairs                     1.20             $414.00

40      Subsidiaries/Non-Debtor Affiliates                           1.10             $507.50

41      Tax Matters                                                 53.50           $17,508.50

42      Travel                                                      14.30            $5,631.00

44      U.S. Trustee                                                 4.60            $1,472.00

45      Utilities                                                   25.10            $8,174.50

46      IRS Tax Litigation                                          53.80           $19,421.50




                                             6
            Case 01-01139-AMC           Doc 775-6      Filed 08/02/01   Page 7 of 184




                                            Expense Summary

                              Description                                    Amount


Telephone                                                                                $1,129.10

Facsimile Charges                                                                        $1,165.09

Standard Copies                                                                          $1,696.89

Color Copies                                                                               $39.00

Binding                                                                                      $7.00

Outside Messenger Service                                                                 $148.44

Tabs/Indexes/Dividers                                                                        $9.90

Postage                                                                                    $84.34

Local Transportation                                                                       $20.00

Travel Meals                                                                               $29.96

Overnight Delivery                                                                        $171.46

Travel Expense                                                                           $1,029.71

Airfare                                                                                  $9,367.37

Travel to/from Airport                                                                    $634.63

Other Travel Expenses                                                                     $667.10

Computer Database Research                                                               $2,534.02

Library Document Procurement                                                               $20.00

Information Broker Services                                                             $24,689.99

Calendar/Court Services                                                                    $50.00

Working Meals                                                                             $244.70

Overtime Meals                                                                             $18.00

Overtime Meals- Attorney                                                                   $67.56

Overtime Transportation                                                                   $140.50

Secretarial Overtime                                                                     $1,401.37

Miscellaneous Office Expenses                                                             $100.00

Total                                                                                   $45,466.13




                                                   7
                  Case 01-01139-AMC                         Doc 775-6              Filed 08/02/01                Page 8 of 184




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

In re:                                                                       )      Chapter 11
                                                                             )
W. R. GRACE & CO., et al.,1                                                  )      Case No. 01-01139 (JJF)
                                                                             )      (Jointly Administered)
                                                                             )
                                    Debtors.                                 )

               VERIFIED APPLICATION OF KIRKLAND & ELLIS FOR
         COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES
           AS BANKRUPTCY COUNSEL TO W. R. GRACE & CO., ET AL., FOR
                    THE THIRD MONTHLY INTERIM PERIOD
                   FROM JUNE 1, 2001 THROUGH JUNE 30, 2001

                        Pursuant to sections 327, 330 and 331 of title 11 of the United States Code (as amended,

the “Bankruptcy Code”), Fed. R. Bankr. P. 2016, the Retention Order (as defined below), the

Administrative Order Under 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for Interim

Compensation and Reimbursement of Professionals and Official Committee Members (the “Interim

Compensation Order”) and Del.Bankr.LR 2016-2, the law firm of Kirkland & Ellis (“K&E”), bankruptcy

counsel for the above-captioned debtors and debtors in possession (collectively, the “Debtors”) in their

chapter 11 cases, hereby applies for an order allowing it (i) compensation in the amount of $560,569.50




  1
    The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn., A-1 Bit & Tool
Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc.,
Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a
Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities Company,
Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy Corporation,
Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a
Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-
Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation
Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA
Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing
Association, Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern
Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal
Company, H-G Coal Company.
            Case 01-01139-AMC             Doc 775-6       Filed 08/02/01     Page 9 of 184




for the reasonable and necessary legal services K&E has rendered to the Debtors and (ii) reimbursement

for the actual and necessary expenses that K&E incurred in the amount of $45,466.13 (the “Application”),

in each case for the period from June 1, 2001, through June 30, 2001 (the “Fee Period”). In support of

this Application, K&E respectfully states as follows:

                Retention of and Continuing Disinterestedness of Kirkland & Ellis

                1.       On April 2, 2001 (the “Petition Date”), the Debtors each filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”). On April 2,

2001, the Court entered an order procedurally consolidating the Chapter 11 Cases for administrative

purposes only. Since the Petition Date, the Debtors have continued to operate their businesses and manage

their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                2.       By this Court’s order dated May 3, 2001, the Debtors were authorized to retain

K&E as their counsel, effective as of the Petition Date, with regard to the filing and prosecution of the

Chapter 11 Cases and all related matters (the “Retention Order”). The Retention Order authorizes the

Debtors to compensate K&E at K&E’s hourly rates charged for services of this type and to be reimbursed

for actual and necessary out-of-pocket expenses that it incurred, subject to application to this Court in

accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and all applicable

local rules and orders of this Court.

                3.       As disclosed in the following affidavits:

                a.       Affidavit of James H.M. Sprayregen in Support of Application for Order Under
                         11 U.S.C. § 327(a) and Fed. R. Bankr. P. 2014(a) Authorizing the Employment
                         and Retention of Kirkland & Ellis as Attorneys for the Debtors and Debtors in
                         Possession (the “Original Affidavit”), filed April 2, 2001;



                                                    -2-
           Case 01-01139-AMC             Doc 775-6        Filed 08/02/01      Page 10 of 184




                b.       First Supplemental Affidavit of James H.M. Sprayregen Under 11 U.S.C.
                         § 327(a) and Fed. R. Bankr. P. 2014 (the “First Supplement”), filed April 17,
                         2001;

                c.       Second Supplemental Affidavit of James H.M. Sprayregen Under 11 U.S.C.
                         § 327(a) and Fed. R. Bankr. P. 2014 (the “Second Supplement,”), filed May 2,
                         2001;

                d.       Third Supplemental Affidavit of James H.M. Sprayregen Under 11 U.S.C.
                         § 327(a) and Fed. R. Bankr. P. 2014 (the “Third Supplement,” together with the
                         First Supplement, the Second Supplement and the Original Affidavit, the
                         “Affidavits”), filed July 25, 2001;

K&E does not hold or represent any interest adverse to the estates, and is a disinterested person as that

term is defined in section 101(14) of the Bankruptcy Code as modified by section 1107(b) of the

Bankruptcy Code.

                4.       K&E may have in the past represented, may currently represent, and likely in the

future will represent parties-in-interest in connection with matters unrelated to the Debtors and the Chapter

11 Cases. K&E disclosed in the Affidavits its connections to parties-in-interest that it has been able to

ascertain using its reasonable efforts. K&E will update the Affidavits when necessary and when K&E

becomes aware of material new information.

                5.       This is the third monthly application for interim compensation for services rendered

that K&E has filed with the Bankruptcy Court in connection with the Chapter 11 Cases. K&E has filed the

following applications for interim compensation:

                a.       Verified Application of Kirkland & Ellis for Compensation for Services and
                         Reimbursement of Expenses as Bankruptcy Counsel to W. R. Grace & Co., et al.,
                         for the First Interim Period from April 2, 2001 Through April 30, 2001.




                                                    -3-
            Case 01-01139-AMC             Doc 775-6         Filed 08/02/01    Page 11 of 184




                  b.     Verified Application of Kirkland & Ellis for Compensation for Services and
                         Reimbursement of Expenses as Bankruptcy Counsel to W. R. Grace & Co., et al.,
                         for the First Interim Period from May 1, 2001 through May 31, 2001.

        Reasonable and Necessary Services Rendered by Kirkland & Ellis -- Generally

                  6.     The K&E attorneys who rendered professional services in the Chapter 11 Cases

during the Fee Period are:

        Name of           Position with    Number                        Hourly    Total     Total
   Professional Person    the applicant    of years     Department       billing   billed   compen-
                                            as an                         rate     hours     sation
                                           attorney


   Janet Baer                 Partner      19 Years     Bankruptcy       $495.00   171.10   $84,694.50

   Bennett Spiegel            Partner     17 Years      Bankruptcy       $445.00    25.80   $11,481.00

   James Sprayregen           Partner      16 Years     Bankruptcy       $625.00     9.30      $5,812.50

   Lena Mandel               Associate     11 Years     Bankruptcy       $395.00     1.10       $434.50

   James Kapp III            Associate     7 Years      Bankruptcy       $395.00   128.50   $50,757.50

   Deanna D. Boll            Associate     3 Years      Bankruptcy       $320.00    23.90      $7,648.00

   Samuel Schwartz           Associate     4 Years      Bankruptcy       $320.00   174.50   $55,840.00

   Roger Higgins             Associate     5 Years      Bankruptcy       $235.00    70.90   $16,661.50

   Brian Lutz                 Summer      2 Month       Bankruptcy       $145.00    12.30      $1,783.50
                             Associate

   Martin C. Attea           Associate     2 Years          Corporate    $265.00     0.50       $132.50

   Timothy Hardy              Partner      29 Years    Environmental     $445.00    40.20   $17,889.00

   Mark Grummer               Partner      25 Years    Environmental     $365.00    45.60   $16,644.00

   David Codevilla           Associate     5 Years     Environmental     $295.00     8.70      $2,566.50

   Jane Davis                 Summer      2 Month      Environmental     $125.00     5.50       $687.50
                             Associate

   John Irving, Jr.           Partner      36 Years          Labor       $440.00     1.20       $528.00

   R. Timothy                 Partner      11 Years          Labor       $350.00     1.70       $595.00
   Stephenson

   David M. Bernick           Partner      23 Years         Litigation   $655.00    58.60   $38,383.00



                                                      -4-
            Case 01-01139-AMC              Doc 775-6          Filed 08/02/01    Page 12 of 184




        Name of            Position with    Number                         Hourly    Total     Total
   Professional Person     the applicant    of years     Department        billing   billed   compen-
                                             as an                          rate     hours     sation
                                            attorney


   Andrew Running             Partner       19 Years         Litigation    $470.00   120.10   $56,447.00

   Reed Oslan                 Partner      14 Years          Litigation    $445.00     7.80      $3,471.00

   Michelle Browdy            Partner       11 Years         Litigation    $400.00     7.20      $2,880.00

   Daryl Joseffer           Associate       6 Years          Litigation    $315.00     1.30       $409.50

   Christopher Sullivan     Associate       6 Years          Litigation    $350.00   130.50   $45,675.00

   Brant Bishop             Associate       5 Years          Litigation    $330.00     8.80      $2,904.00

   Scott McMillin           Associate       5 Years          Litigation    $330.00   104.60   $34,518.00

   Douglas Smith            Associate       5 Years          Litigation    $315.00    19.50      $6,142.50

   J. Chad Mitchell         Associate       3 Years          Litigation    $265.00     3.00       $795.00

   P. Renee Wicklund        Associate       3 Years          Litigation    $265.00    29.10      $7,711.50

   Kellye Fabian            Associate        1 Year          Litigation    $195.00    46.40      $9,048.00

   Yvette Ney                Summer        1 Month           Litigation    $125.00    41.70      $5,212.50
                            Associate

   Sven Nylen                Summer        1 Month           Real Estate   $140.00    15.30      $2,142.00
                            Associate

   Donald Rocap               Partner       21 Years            Tax        $625.00     1.80      $1,125.00

   Todd Maynes                Partner       14 Years            Tax        $515.00    19.60   $10,094.00

   Kevin Coenen             Associate       4 Years             Tax        $335.00    21.90      $7,336.50

   Natalie Keller           Associate       4 Years             Tax        $365.00    28.70   $10,475.50

   Thomas Day               Associate        1 Year             Tax        $235.00    22.50      $5,287.50


                    7.    The paraprofessionals of K&E who have rendered professional services in these

cases during the Fee Period are:




                                                       -5-
         Case 01-01139-AMC        Doc 775-6         Filed 08/02/01      Page 13 of 184




      Name of        Position   Number of     Department      Hourly       Total      Total
    Professional     with the    years in                     billing      billed    compen-
      Person        applicant      that                        rate        hours      sation
                                 position

Elizabeth Cox        Legal       12 Years     Bankruptcy      $150.00         2.00        $300.00
Arnold              Assistant

Brigitte Windley     Legal       4 Years      Bankruptcy      $150.00        50.30       $7,545.00
                    Assistant

David Delsignore     Project      1 Year      Bankruptcy       $70.00         5.50        $385.00
                    Assistant

Leslie Drinkwater    Project    9 Months      Bankruptcy       $70.00         0.70         $49.00
                    Assistant

Sabrina Mitchell     Project    4 Months      Bankruptcy       $70.00        88.30       $6,181.00
                    Assistant

Aletheia Anderson    Project    1 Month       Bankruptcy       $70.00         0.20         $14.00
                    Assistant

Jua Howard           Project    1 Month       Bankruptcy       $70.00         0.50         $35.00
                    Assistant

Bertha Serrano       Legal      1 Month       Bankruptcy      $105.00         1.60        $168.00
                    Assistant

Rebecca Landau       Project    11 Months      Corporate       $80.00        16.00       $1,280.00
                    Assistant

Alison Kucera        Project    1 Month        Intellectual    $70.00         1.30         $91.00
                    Assistant                   Property

Shirley Pope         Legal      16 Years       Litigation     $155.00        95.50   $14,802.50
                    Assistant

Kenneth Toth          Case       8 Years       Litigation      $65.00         2.00        $130.00
                    Assistant

Aaron Birnbaum       Project      1 Year       Litigation      $70.00        50.50       $3,535.00
                    Assistant

Emily Knox           Project    11 Months      Litigation      $70.00         1.30         $91.00
                    Assistant

Raquel Carrillo      Legal      7 Months       Litigation     $100.00         3.30        $330.00
                    Assistant

Susan Polk           Legal       16 Years           Tax       $180.00         5.00        $900.00
                    Assistant
                                            Grand Total for Fees: $560,569.50
                                            Blended Rate:         $322.69

                                              -6-
           Case 01-01139-AMC            Doc 775-6        Filed 08/02/01     Page 14 of 184



                8.      Kirkland & Ellis has advised and represented the Debtors in connection with the

operation of their businesses and other matters arising in the performance of their duties as a debtors-in-

possession. Furthermore, K&E has prepared various pleadings, motions and other papers submitted to

this Court for consideration, has appeared before this Court during hearings regarding these cases and has

performed various other professional services that are described in this Application.

                9.      The rates described above are K&E’s hourly rates for services of this type.

Attached as Exhibit A is a detailed itemization and description of the services that K&E rendered during

the Fee Period. Based on these rates and the services performed by each individual, the reasonable value

of such services is $560,569.50. The K&E attorneys and paraprofessionals expended a total of 1,737.20

hours for these cases during the Fee Period. In accordance with the factors enumerated in section 330 of

the Bankruptcy Code, the amount of fees requested is fair and reasonable given: (a) the complexity of these

cases, (b) the time expended, (c) the nature and extent of the services rendered, (d) the value of such

services, and (e) the costs of comparable services other than in a case under the Bankruptcy Code.

                10.     Further, Exhibit A (a) identifies the individuals that rendered services in each

Subject Matter, as defined and described below, (b) describes each activity or service that each individual

performed and (c) states the number of hours (in increments of one-tenth of an hour) spent by each

individual providing the services. Each numbered tab in Exhibit A corresponds to the matter number that

K&E assigned to each Subject Matter. If a Subject Matter does not appear, then K&E did not bill time

or expenses for that Subject Matter during the Fee Period, but may bill time for that Subject Matter in the

future.




                                                   -7-
            Case 01-01139-AMC            Doc 775-6         Filed 08/02/01     Page 15 of 184



               Reasonable and Necessary Services Rendered by Kirkland & Ellis
                                   Categorized by Matter

                11.      The professional services that K&E rendered during the Fee Period are grouped

into the numbered and titled categories of subject matters described in Paragraphs 12-39 herein (the

“Subject Matter(s)”).

                12.      Matter 16 – Asset Analysis and Recovery

                         (Fees: $4,484.50; Hours: 13.10)

                This Subject Matter describes time related to the analysis of estate assets, including

acquisition and divestiture matters. This subject matter includes time spent preparing motions for the sale

of de minimis assets and for omnibus claims procedures.

                13.      Matter 17 – Automatic Stay Matters/Relief from Stay Proceedings

                         (Fees: $16,816.00; Hours: 43.60)

                This Subject Matter involves time responding to and analyzing efforts by creditors or

litigants to take actions that would potentially violate the automatic stay. Included is time related to (a)

responding to and analyzing efforts by creditors and litigation claimants for relief from the automatic stay;

(b) analyzing actions by creditors and litigation claimants that violate or would likely violate the automatic

stay; (c) legal research on automatic stay and interrelated transfer of venue matters with respect to various

ongoing litigation matters; and (d) implementing strategies to handle extensive ongoing litigation matters in

conjunction with the Chapter 11 Cases.




                                                     -8-
           Case 01-01139-AMC            Doc 775-6         Filed 08/02/01     Page 16 of 184



                14.     Matter 20 – Case Administration

                        (Fees: $46,801.00; Hours: 235.90)

                This Subject Matter describes activities not described elsewhere under another matter

related to, among other things, (a) administering, managing and coordinating the Chapter 11 Cases

(specifically, time spent organizing pleadings and omnibus hearings), (b) organizing and maintaining the

voluminous files of the Debtors, (c) complying with the service and notice requirements of the Bankruptcy

Code, the Bankruptcy Rules and the local rules, (d) fulfilling the Debtors’ duties as debtors-in-possession

and (e) complying with the requirements of the Bankruptcy Code, the Bankruptcy Rules, the Court and

any other applicable law.

                15.      Matter 21 – Claims Estimate, Objection and Resolution

                        (Fees: $65,946.50; Hours: 172.20)

                This Subject Matter describes legal services provided to the Debtors (a) to identify and

evaluate claims and potential claims against the Debtors and (b) to develop strategies concerning such

claims.

                16.     Matter 22 – Contested Matters/Adversary Proceedings

                        (Fees: $248,690.00; Hours: 687.80)

                This Subject Matter describes time spent researching and drafting pleadings, reviewing

documents and preparing for the Debtors’ participation in various adversary proceedings. In addition, this

Subject Matter includes time spent preparing for and attending contested hearings held in connection with

the Permanent Injunction. It also includes time spent preparing for the removal of the fraudulent

conveyance action to the District Court in California and the transfer of venue in that case to the District


                                                    -9-
            Case 01-01139-AMC           Doc 775-6         Filed 08/02/01     Page 17 of 184



Court in Delaware and the intervention and removal proceedings in an asbestos litigation matter in

Massachusetts. This matter further includes time spent drafting the motion requesting that the Court

implement a case management plan and schedule.

                17.      Matter 23 – Corporate and Securities Matters

                         (Fees: $187.50 ; Hours: 0.30)

                This category describes legal services provided to the Debtors relating to general corporate

or securities issues, including counseling regarding corporate governance issues and meetings with the

Debtors’ Board of Directors. This Subject Matter also includes time spent on matters pertaining to the

Debtors’ receivables facility.

                18.      Matter 24 – Creditors Committees

                         (Fees: $20,117.00; Hours: 59.80)

                This category describes time spent, in part, (a) responding to information and due diligence

requests by the Committees, and (b) informing the Committees about case administration and contested

matters.

                19.      Matter 25 – Creditors/Shareholders Inquiries

                         (Fees: $7,904.00; Hours: 31.40)

                This Subject Matter describes time spent responding to numerous letters and telephone

inquiries from customers, creditors and their counsel for information regarding, in part, the status of the

Chapter 11 Cases.

                20.      Matter 26 – DIP Financing/Cash Collateral

                         (Fees: $434.50; Hours: 1.10)


                                                   -10-
            Case 01-01139-AMC            Doc 775-6         Filed 08/02/01     Page 18 of 184



                This Subject Matter describes time spent related to the Debtors’ postpetition financing,

including (a) drafting and revising the amendments to the DIP Orders, (b) negotiating agreements pertaining

to the Debtors’ use of cash collateral, and (c) negotiating other post-petition financing matters with other

potential lenders.

                21.      Matter 27 – Employee Matters

                         (Fees: $21,061.50; Hours: 64.00)

                This Subject Matter describes activities related to the Debtors’ employment, compensation,

employee benefits and employee retention issues. Included in this category is time spent (a) answering

document production requests from counsel to the Committees pertaining to employee programs, (b)

answering factual questions of the Committees regarding the Debtors’ various employee programs and (c)

researching and drafting correspondence related to the above-described matters.

                22.      Matter 28 – Environmental Issues

                         (Fees: $10,052.50; Hours: 28.30)

                This Subject Matter describes activities related to the Debtors’ ongoing environmental

issues and efforts to resolve those issues within the context of the Chapter 11 Cases.

                23.      Matter 29 – File, Docket, Calendar Maintenance

                         (Fees: $4,546.00; Hours: 59.30)

                This Subject Matter describes time spent organizing and distributing pleadings, motions and

other court filings, and maintaining the voluminous files of the Debtors. Also included is time spent updating

the Fed. R. Bankr. P. 2002 service list and preparing and updating the Debtors research files.




                                                    -11-
            Case 01-01139-AMC             Doc 775-6         Filed 08/02/01      Page 19 of 184



                 24.     Matter 30 – Hearings

                         (Fees: $25,282.00; Hours: 52.80)

                 This Subject Matter describes time spent preparing for the hearing scheduled for June 21,

2001, the agenda for which included, in part, (a) the Debtors’ motion for a permanent injunction staying

all asbestos-related and fraudulent transfer claims, (b) a motion to lift the automatic stay with respect to

certain ongoing litigation, (c) the entry of orders dealing with retention of professionals and (d) the entry of

an order approving certain key employee retention programs.

                 25.     Matter 31 – Intellectual Property

                         (Fees: $79.00; Hours: 0.20)

                 This Subject Matter describes services rendered relating to intellectual property matters.

                 26.     Matter 32 – K&E Fee Application, Preparation of

                         (Fees: $6,568.00; Hours: 46.50)

                 This Subject Matter includes activities in connection with K&E’s preparation of its interim

fee applications in accordance with the procedures and standards of the Bankruptcy Code, the Federal

Rules of Bankruptcy Procedure, the Orders of this Court, Del.Bankr.LR 2016-2 and the U.S. Trustee for

the District of Delaware. Because many K&E individuals provide services in these Chapter 11 Cases,

reviewing K&E’s billing statement and preparing monthly Fee Applications to ensure compliance with the

Bankruptcy Code, the amended local rules and Orders of this Court is a time consuming process.




                                                     -12-
            Case 01-01139-AMC            Doc 775-6         Filed 08/02/01     Page 20 of 184



                27.      Matter 33 – Lease Rejection Claims

                         (Fees: $7,229.50; Hours: 22.00)

                This Subject Matter describes time spent evaluating the Debtors’ potential rejection of

unexpired real property leases, including (a) time spent researching applicable statutory or case law, (b)

discussions with various counsel to landlords and other lessors regarding rejection procedures and other

related issues, and (c) drafting a motion for an extension of time to assume or reject unexpired real property

leases pursuant to section 365(d)(4) of the Bankruptcy Code.

                28.      Matter 34 – Lien Issues

                         (Fees: $118.50; Hours: 0.30)

                This Subject Matter describes activities related to ascertaining and dealing with liens on the

Debtors’ assets. A significant amount of time was spent researching and drafting stipulations regarding (a)

liens asserted by the Debtors’ prepetition secured lenders and (b) mechanics liens asserted by parties

providing prepetition services to the Debtors.

                29.      Matter 35 – Other Fee Applications

                         (Fees: $434.50; Hours: 1.10)

                         This Subject Matter includes coordinating the filing of the monthly fee applications

of the separately retained professionals and analyzing and reviewing such applications.




                                                    -13-
           Case 01-01139-AMC            Doc 775-6         Filed 08/02/01    Page 21 of 184



                 30.     Matter 36 – Reclamation Claims

                         (Fees: $314.00; Hours: 1.20)

                 This Subject Matter includes time spent implementing the procedure to address and pay

reclamation claims and responding to reclamation claims, motions, complaints and inquiries.

                 31.     Matter 37 – Reorganization Plan/Disclosure Statement/Confirmation Issues

                         (Fees: $3,746.50; Hours: 11.30)

                 This Subject Matter describes activities related to researching for, and drafting of, the

liquidating plan and disclosure statement.

                 32.     Matter 38 – Retention of Professionals

                         (Fees: $16,627.50; Hours: 51.40)

                 This Subject Matter includes activities in connection with the retention of professionals

under section 327 of the Bankruptcy Code. Significant activities include (a) securing the Court’s approval

for the employment and compensation of numerous professionals for the Debtors under separate retention

applications and (b) working with the Debtors concerning retention issues for all of the Debtors’

professionals.

                 33.     Matter 39 – Schedules/Statement of Financial Affairs

                         (Fees: $414.00; Hours: 1.20)

                 This Subject Matter describes time spent reviewing and revising the Debtors’ schedules

and statements of financial affairs and meeting with representatives of, and professionals retained by, the

Debtors to assist in the Debtors’ development of schedules and statements of financial affairs.

                 34.     Matter 40 – Subsidiaries/Non-Debtor Affiliates


                                                   -14-
            Case 01-01139-AMC             Doc 775-6         Filed 08/02/01      Page 22 of 184



                          (Fees: $507.50; Hours: 1.10)

                 This Subject Matter encompasses activities related to the operation of non-Debtor affiliates

and subsidiaries, including matters related to the effect of the bankruptcy filing on a receivables facility held

by non-Debtor affiliates.

                 35.      Matter 41 – Tax Matters

                          (Fees $17,508.50; Hours: 53.50)

                 This Subject Matter includes time spent analyzing various tax issues.

                 36.      Matter 42 – Travel

                          (Fees: $5,631.00; Hours: 14.30)

                 This Subject Matter involves time spent traveling while representing the Debtors. K&E bills

the Debtors for one-half of the total time that K&E professionals spend for non-working travel.

                 37.        Matter 44 - U.S. Trustee

                          (Fees: $1,472.00; Hours: 4.60)

                 This Subject Matter includes time responding to inquiries from the United States Trustee.




                 38.      Matter 45 - Utilities

                          (Fees: $8,174.50; Hours: 25.10)

                 This Subject Matter describes time spent responding to and addressing utility company

requests for adequate assurances of future performance.

                 39.      Matter 46 - Tax Litigation

                          (Fees: $19,421.50; Hours: 53.80)


                                                     -15-
            Case 01-01139-AMC             Doc 775-6        Filed 08/02/01       Page 23 of 184



                 This Subject Matter describes time spent on certain ongoing tax litigation and related

matters.

                                    Actual and Necessary Expenses

                 40.     It is K&E’s policy to charge its clients in all areas of practice for identifiable non-

overhead expenses incurred in connection with the client’s case that would not have been incurred except

for representation of that particular client. It is K&E’s policy to charge its clients only the amount actually

incurred by K&E in connection with such items. Examples of such expenses are postage, overnight mail,

courier delivery, transportation, overtime expenses, computer assisted legal research, photocopying, out-

going facsimile transmissions, airfare, meals, and lodging. With respect to airfare expenses, all travel, by

all individuals, is billed at the coach class rate with allowances for class upgrades.

                 41.     Kirkland & Ellis charges: (a) $0.10 per page for duplication and (b) $0.75 per

page for outgoing telecopier transmissions (plus related toll charges). Kirkland & Ellis does not charge its

clients for incoming telecopier transmissions. K&E has negotiated a discounted rate for Westlaw computer

assisted legal research, which is approximately $125/hour of online use of the standard Westlaw databases.

Computer assisted legal research is used whenever the researcher determines that using Westlaw is more

cost effective than using traditional (non-computer-based legal research) techniques.

                 42.     A summary of expenses by type, as well as a detailed itemization and description

of the disbursements made by K&E on the Debtors’ behalf during the Fee Period is attached hereto as

Exhibit B. All of these disbursements comprise the requested sum for K&E’s out-of-pocket expenses,

totaling $45,466.13. These disbursements are grouped in Exhibit B into the same numbered and titled

categories of Subject Matters as the fees are grouped in Exhibit A. The numbered tabs within Exhibit B


                                                    -16-
           Case 01-01139-AMC             Doc 775-6         Filed 08/02/01     Page 24 of 184



correspond to the numbers assigned to the matters described in Paragraphs 12-39 herein. Any missing

Subject Matters merely indicate that no expenses were attributed to such Subject Matters during the Fee

Period, although expenses may be attributable to such Subject Matters in the future. A summary of

expenses by category for the entire Fee Period is also set forth in Exhibit B.

                                            Representations

                43.      K&E believes that the Application is in compliance with the requirements of

Del.Bankr.LR 2016-2.

                44.      Kirkland & Ellis performed the services for which it is seeking compensation on

behalf of or for the Debtors and their estates, and not on behalf of any committee, creditor or other person.

                45.      Except to the extent of the advance payment retainers paid to K&E as described

in the Original Affidavit, K&E has received no payment and no promises for payment from any source for

services rendered or to be rendered in any capacity whatsoever in connection with these Chapter 11

Cases.

                46.      Pursuant to Fed. R. Bank. P. 2016(b), K&E has not shared, nor has agreed to

share, (a) any compensation it has received or may receive with another party or person other than with

the partners, counsel and associates of K&E, or (b) any compensation another person or party has

received or may receive in connection with the Chapter 11 Cases.

                47.      Although every effort has been made to include all fees and expenses from the Fee

Period in the Application, some fees and expenses from the Fee Period might not be included in the

Application due to accounting and processing delays. Kirkland & Ellis reserves the right to make further

application to the Court for allowance of fees and expenses for the Fee Period not included herein.


                                                    -17-
           Case 01-01139-AMC          Doc 775-6        Filed 08/02/01   Page 25 of 184



               48.     In summary, by the Application, K&E requests compensation for fees and

expenses in the total amount of $606,035.63 consisting of (a) 560,569.50 for reasonable and necessary

professional services rendered and (b) $45,466.13 for actual and necessary costs and expenses.




                                                -18-
            Case 01-01139-AMC             Doc 775-6      Filed 08/02/01    Page 26 of 184



        WHEREFORE, K&E respectfully requests (a) that an allowance be made to it, as fully described

above for the (i) 80% of the reasonable and necessary professional services K&E has rendered to the

Debtors during the Fee Period ($560,569.50) and (ii) 100 % of the reimbursement of actual and necessary

costs and expenses incurred by K&E during the Fee Period ($45,466.13); (b) that both fees and expenses

are payable as administrative expenses of the Debtors’ estates; and (c) that this Court grant such further

relief as is equitable and just.


Wilmington, Delaware               Respectfully submitted,
Dated: July 30, 2001
                                          KIRKLAND & ELLIS

                                          _____________________________________________
                                          James H.M. Sprayregen
                                          James W. Kapp III
                                          Samuel A. Schwartz
                                          Roger J. Higgins
                                          200 East Randolph Drive
                                          Chicago, Illinois 60601
                                          (312) 861-2000
          Case 01-01139-AMC          Doc 775-6     Filed 08/02/01      Page 27 of 184




                      Matter 16 - Asset Analysis and Recovery - Fees


Date       Name             Hours       Description
6/01/01    James W            0.70      Attend to issues raised by Commercial Committee re de
           Kapp                         minimis settlement motion.

6/04/01    James W            0.30      Attend to issues re particular proposed transaction.
           Kapp

6/11/01    James W            0.40      Address issues re de minimis sale motion.
           Kapp

6/11/01    Samuel A           3.10      Review and revision of the omnibus asset sales motion
           Schwartz                     (2.6); drafting of letter to the committees forwarding same
                                        (.3); meetings re same (.2).

6/13/01    James W            0.10      Telephone conference with J. Hughes re recovery of
           Kapp                         indemnification proceeds.

6/15/01    James W            0.30      Attend to issues re potential acquisition and telephone
           Kapp                         conference with P. Zilly re same.
6/18/01    James W            0.10      Telephone conference with P. Zilly re potential
           Kapp                         transaction.

6/19/01    James W            0.30      Review Hartford's request for direction pertaining to
           Kapp                         settlement agreement.

6/22/01    Samuel A           1.40      Telephone conferences with the client re stock options,
           Schwartz                     asset acquisition and sale matters.

6/26/01    James W            0.10      Address issues re potential guaranty.
           Kapp

6/26/01    Samuel A           1.30      Telephone conferences with the client re DIP, parent
           Schwartz                     guarantee and various transactional matters (1.1);
                                        meetings re same (.2).

6/28/01    James W            0.80      Address issues re potential guarantees (.2); telephone
           Kapp                         conference with J. McFarland re proposed cash collateral
                                        agreements and attend to issues re same (.6).
6/28/01    Samuel A           2.80      Various telephone conferences with the client re
           Schwartz                     guarantee, asset sale and acquisition and DIP matters.


                                             A-1
          Case 01-01139-AMC     Doc 775-6      Filed 08/02/01        Page 28 of 184




Date       Name         Hours      Description
6/29/01    James W       0.80      Address issues and strategies re guarantees and cash
           Kapp                    collateral (.6); attend to issues re letters of credit (.2).

6/29/01    Samuel A      0.60      Telephone conferences with the client analyzing various
           Schwartz                acquisition strategies.




                                         A-2
          Case 01-01139-AMC         Doc 775-6     Filed 08/02/01     Page 29 of 184




          Matter 17 - Automatic Stay Matters/Relief from Stay Proceedings - Fees


Date        Name           Hours       Description
6/01/01     Janet Baer       2.50      Various conferences re motion to modify injunction (.5);
                                       review additional correspondence re Canadian
                                       proceedings (.2); confer with Canadian counsel and W.
                                       Sparks re Privest attorney fee liabilities and stay
                                       implications (1.5); various conferences re Sealed Air
                                       (Canada) issues (.3).

6/04/01     Scott A          5.00      Research and draft opposition to the Smolkers' motion for
            McMillin                   relief from stay.

6/04/01     Janet Baer       2.10      Various conferences re service of motion re injunction
                                       (2.0); confer with G. Smolker re status and case (.1).

6/04/01     Janet Baer       1.90      Review and revise draft response to Smolker motion to
                                       lift stay.

6/05/01     Scott A          1.30      Draft opposition to the Smolkers' motion for relief from
            McMillin                   the automatic stay.

6/05/01     Janet Baer       3.40      Review memo re Belgian stay issues (2.0); general
                                       responses to client inquiries on stay issues (1.4).
6/05/01     Janet Baer       1.00      Review memo re Belgian stay issues (.5); general
                                       responses to client inquiries on stay issues (.5).

6/06/01     James W          0.50      Address issues re preliminary injunction expansion.
            Kapp

6/07/01     Janet Baer       0.30      Confer with P. Somers re labor union letter, stay and
                                       related issues.

6/08/01     Janet Baer       1.80      Review correspondence from P. Somers and Union re
                                       Davison/Curtis Bay arbitrations and prepare response re
                                       same (.7); internal K&E conferences re Smolker (.8);
                                       confer with B. Porter re same (.3).

6/09/01     Janet Baer       3.00      Prepare response to Homeowner's Remand Motion in
                                       Smolker and review documents re same.

                                            A-3
          Case 01-01139-AMC       Doc 775-6      Filed 08/02/01     Page 30 of 184




Date       Name           Hours      Description
6/11/01    Janet Baer      3.50      Various conferences re Smolker matters (1.8); confer
                                     with outside counsel re same (.5); review and revise
                                     motion for continuance and prepare transmittals re same
                                     (.6); review and revise Smolker reply on venue and
                                     response on remand (.6).

6/12/01    Janet Baer      1.20      Conferences with B. Porter re Smolker issues (.3); confer
                                     with R. Fields re Exxon v. Samson case and revise draft
                                     motion re same (.4); various conferences re injunction
                                     hearing and related issues (.5).

6/13/01    Janet Baer      0.40      Confer with B. Speigel and B. Porter re Smolker motion
                                     and review reply briefs re same.

6/14/01    Janet Baer      1.90      Confer with various outside counsel re stay related issues
                                     on pending cases (.5); several conferences re Zhagrus
                                     motion (.5); confer with C. Marraro re Honeywell case
                                     and case status report (.3); review chart and red-line
                                     order re injunction motion/hearing (.3); review Fresenius
                                     memo re status in Abner (.3).

6/18/01    Bennett L       1.50      Conduct independent research of issues re stay as to
           Spiegel                   non-debtors (1.0); scope of stay (.5).

6/25/01    James W         0.10      Address issues re suggestion of bankruptcy in workman's
           Kapp                      compensation cases.
6/26/01    James W         0.50      Attend to issues re request for relief from automatic stay.
           Kapp

6/27/01    Sven T Nylen    1.50      Draft motion for relief from automatic stay re Zapata v.
                                     W.R. Grace.

6/28/01    James W         1.00      Address issues re request for relief from automatic stay
           Kapp                      and review precedent re same (.8); telephone conference
                                     with J. McFarland re effect of automatic stay on
                                     co-defendants (.2).

6/28/01    Sven T Nylen    2.50      Draft motion for relief from automatic stay re Zapata v.
                                     W.R. Grace.

6/29/01    James W         1.40      Review precedent and address strategies re relief from
           Kapp                      automatic stay motion.

                                           A-4
          Case 01-01139-AMC       Doc 775-6     Filed 08/02/01      Page 31 of 184




Date       Name           Hours      Description
6/29/01    Sven T Nylen    5.30      Draft motion for relief from automatic stay re Zapata v.
                                     W.R. Grace.




                                          A-5
          Case 01-01139-AMC          Doc 775-6      Filed 08/02/01      Page 32 of 184




                           Matter 20 - Case Administration - Fees


Date       Name             Hours       Description
6/01/01    Timothy S          1.00      Conference call with asbestos team.
           Hardy

6/01/01    James W            2.60      Review pleadings and correspondence (.4); prepare for
           Kapp                         and attend status conference re litigation and strategy
                                        (2.0); telephone conference with D. Carickhoff re notice
                                        issues (.2).

6/01/01    Scott A            1.30      Prepare for and attend litigation strategy meeting.
           McMillin

6/01/01    Shirley A          1.50      Prepare for and attend internal conference re asbestos
           Pope                         litigation.

6/01/01    Andrew R           1.50      Participate in internal meeting to review status of litigation
           Running                      matters.

6/01/01    Christopher B      1.50      Prepare for and attend team meeting.
           Sullivan
6/01/01    Kellye L           1.50      Team meeting re preliminary injunction brief.
           Fabian

6/01/01    Brigitte F         2.60      Review and edit motion status chart (.4); review case
           Windley                      documents to assign central file categories (2.2).

6/01/01    Janet Baer         1.50      Prepare for and attend internal conference re litigation
                                        status.

6/01/01    Roger J            0.30      Attend to matters re status of pending motions and
           Higgins                      applications.

6/01/01    Sabrina M          0.50      Create motion status chart (.3); prepare and distribute
           Mitchell                     docket to attorneys (.2).

6/04/01    James W            0.30      Review various pleadings and correspondence.
           Kapp
6/04/01    Shirley A          2.00      Review pleadings and correspondence (1.0); revise case
           Pope                         file index of documents received. (1.0)


                                              A-6
          Case 01-01139-AMC        Doc 775-6      Filed 08/02/01      Page 33 of 184




Date       Name            Hours      Description
6/04/01    Raquel           3.30      Create files for medical record samples, consultant
           Carrillo                   agreements, Betz agreement, D&O policies, articles of
                                      incorporation and Vermiculite expanders (1.0); create
                                      files for recent Zonolite, Chakarian, and Smolker pleading
                                      (.5); create files for insurance company dispute settlement
                                      agreements (1.5); organize and update case files and
                                      database index (.3).

6/04/01    Brigitte F       1.50      Telephone conference with M. Sprinkle re changes to
           Windley                    corporate chart (.2); worked on changes to corporate
                                      chart (.8); prepare Fed-Ex of same (.2); attend to matters
                                      re distribution of materials and review of distribution lists
                                      (.3).

6/05/01    Shirley A        5.00      Review correspondence and pleadings forwarded for
           Pope                       central litigation file (3.0); update index of pleadings re
                                      Louisiana direct actions(1.0); prepare documents re
                                      Louisiana direct actions (.5); prepare documents re
                                      Barbanti (.5).

6/05/01    Shirley A        1.50      Revise index to case files.
           Pope

6/05/01    Brigitte F       3.10      Review case documents to assign central file category
           Windley                    (1.9); attend to matters re distribution of documents to
                                      bankruptcy and litigation teams (.2); respond to attorney
                                      requests for central file documents (1.0).

6/06/01    David M          0.80      Conference with D. Siegel re document retention.
           Bernick, P.C.
6/06/01    Shirley A        2.50      Review correspondence (.5); organize faxes received and
           Pope                       forwarded by K&E re Grace main file (.5); prepare
                                      correspondence re Louisiana direct actions (.2); update
                                      correspondence re Chicago main file (.5); organize
                                      Barbanti documents re inclusion in Grace main file (.3);
                                      revise pleadings re Grace main file (.5).

6/06/01    Aaron D          3.00      Prepare labels re pleadings main file (1.5); prepare folders
           Birnbaum                   re pleadings main file (.7); organize completed folders
                                      with pleadings main files (.8).


                                            A-7
          Case 01-01139-AMC        Doc 775-6      Filed 08/02/01     Page 34 of 184




Date       Name            Hours      Description
6/06/01    Brigitte F       3.60      Review case documents to assign central file categories
           Windley                    (1.4); research and download Finova precedent pleadings
                                      (1.6); respond to requests for central file documents (.6).

6/07/01    Elizabeth Cox    0.80      Locate opinion.
           Arnold

6/07/01    James W          0.50      Review articles pertaining to Debtors' chapter 11 cases
           Kapp                       (.3); review various pleadings and correspondence (.2).

6/07/01    Shirley A        1.00      Review correspondence and revise case file index.
           Pope

6/07/01    Brigitte F       1.10      Respond to requests for central file documents (.7);
           Windley                    review case documents to assign central file categories
                                      (.4).

6/08/01    David M          0.50      Preparation for and leading team call.
           Bernick, P.C.
6/08/01    Daryl L          1.30      Prepare for and participate in team conference call.
           Joseffer

6/08/01    James W          0.10      Review and revise motion status chart.
           Kapp

6/08/01    Natalie H        2.50      Attend to matters re memoranda and pleadings in per
           Keller                     diem case.

6/08/01    Scott A          0.90      Prepare for and attend litigation strategy meeting.
           McMillin

6/08/01    Shirley A        1.00      Review correspondence and revise case file index (.5);
           Pope                       Westlaw project re cite check Grace's reply in support of
                                      motion to transfer action to Delaware (.5).

6/08/01    Shirley A        1.00      Prepare for and attend team conference call.
           Pope
6/08/01    Andrew R         0.50      Prepare for and participate in internal K&E meeting to
           Running                    review status of litigation projects.

6/08/01    Christopher B    1.00      Prepare for and participate in team meeting re strategy
           Sullivan                   and agenda.


                                            A-8
          Case 01-01139-AMC       Doc 775-6      Filed 08/02/01     Page 35 of 184




Date       Name           Hours      Description
6/08/01    Kellye L        0.80      Team meeting re litigation status.
           Fabian

6/08/01    Rebecca R       3.00      Organize correspondence and pleadings.
           Landau

6/08/01    Janet Baer      1.00      Prepare for and attend litigation team meeting.

6/08/01    Brian M Lutz    2.50      Attend to matters re drafting of organizational charts.

6/11/01    James W         0.30      Review various pleadings and correspondence.
           Kapp

6/11/01    Aaron D         6.00      Cite check W.R. Grace & Co. and Grace Davisons
           Birnbaum                  Reply in Support of Motion to Transfer (2.7); prepare
                                     revisions in red pen re Reply in Support of Motion to
                                     Transfer (1.0); prepare memorandum re revisions made
                                     to Reply in Support of Motion to Transfer (.3); create
                                     labels and set up pleadings folders re Chicago main files
                                     (1.0); organize pleadings with Chicago main files (1.0).
6/11/01    Brigitte F      2.30      Revise and update motion status chart (.7); review case
           Windley                   documents to assign central file categories (1.6).

6/12/01    James W         0.10      Review various pleadings and correspondence.
           Kapp

6/12/01    Susan Polk      2.00      Handle basic organization and begin indexing documents
                                     (1.0); prepare pleadings bibles (1.0).

6/12/01    Shirley A       4.50      Review and prepare files re preservation of W.R. Grace
           Pope                      records (.5); revise Rourke Excel and graphics charts
                                     (.5); review correspondence (.5); review asbestos
                                     property pleadings (1.0); update case file database re
                                     Trumbull and Anderson Memorial properties (2.0).

6/12/01    Aaron D         3.00      Create labels and set up pleadings folders re Chicago
           Birnbaum                  main files (2.3); organize pleadings with Chicago main files
                                     (.7).

6/12/01    Rebecca R       2.00      Organize pleadings and correspondence documents.
           Landau



                                           A-9
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 36 of 184




Date       Name            Hours      Description
6/12/01    Brigitte F       0.60      Edit and update motion status chart.
           Windley

6/13/01    James W          0.20      Review and revise motion status chart.
           Kapp

6/13/01    Shirley A        3.00      Prepare Excel charts re CMO project (.5); review
           Pope                       pleadings re update pleadings database (1.0); review
                                      correspondence (.5); organize documents for inclusion re
                                      W.R. Grace main file (1.0).

6/13/01    P Renee          1.00      Prepare for and attend team meeting.
           Wicklund

6/13/01    Aaron D          4.00      Prepare documents for inclusion in Chicago main files at
           Birnbaum                   the request of S. Pope (2.7); organize pleadings with
                                      Chicago main files per S. Pope's request (1.3).

6/13/01    Rebecca R        1.00      Create folders for document organization.
           Landau
6/13/01    Brian M Lutz     2.00      Attend to matters re drafting organizational charts.

6/14/01    David M          0.80      Prepare for and hold team meeting regarding asbestos
           Bernick, P.C.              issues.

6/14/01    James W          2.70      Prepare for and attend status conference re outstanding
           Kapp                       issues (1.8); review motion status chart (.2); review
                                      critical dates list and attend to same (.4); review various
                                      pleadings, correspondence (.3)

6/14/01    Scott A          1.40      Prepare for and attend litigation strategy conference.
           McMillin

6/14/01    Andrew R         1.50      Participate in internal K&E meeting to review status of
           Running                    litigation projects.

6/14/01    Christopher B    0.30      Telephone call with Rust Consulting.
           Sullivan
6/14/01    Deanna D         0.70      Prepare for and participate in team strategy call.
           Boll




                                           A-10
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01       Page 37 of 184




Date       Name         Hours      Description
6/14/01    David J       3.00      Search, open print and organize documents from e-mail.
           Delsignore

6/14/01    Brigitte F    4.30      Review case documents to assign central file categories
           Windley                 (1.9); respond to requests for case file documents (.6);
                                   review online docket and revise and supplement motion
                                   status chart (1.8).

6/14/01    Janet Baer    1.50      Prepare for and attend asbestos litigation status
                                   conference.

6/14/01    Sabrina M     0.20      Update motion status chart.
           Mitchell

6/15/01    James W       0.20      Review pleadings and correspondence.
           Kapp

6/15/01    Susan Polk    2.00      Review indexing of pleadings and correspondence from
                                   R. Landau, handle revisions (1.0); prepare additional sets
                                   for additional attorneys (1.0).
6/15/01    Shirley A     1.00      Review pleadings and update pleadings database (.5);
           Pope                    prepare same re inclusion in Grace main file (.5).

6/15/01    Douglas G     0.50      Prepare for and attend team meeting.
           Smith

6/15/01    Rebecca R     2.50      Organize documents (.3); update index re pleadings and
           Landau                  correspondence (2.2).

6/18/01    David J       2.50      Print out documents from e-mail, organize documents into
           Delsignore              chronological order, duplicate and distribute same.

6/18/01    Sabrina M     0.50      Work on updating index re service requests (.2); update
           Mitchell                proof of claims chart (.1); review and organize boxes of
                                   new documents received from local counsel (.2).

6/18/01    Bennett L     0.20      Telephone conference with Brian Porter re status of other
           Spiegel                 Grace claim litigation (.1); set up meeting before 6/19
                                   hearing (.1).
6/18/01    Bennett L     0.10      Review file, serve Meza declaration re telephonic notice
           Spiegel                 of hearing on emergency motion to continue.


                                        A-11
          Case 01-01139-AMC       Doc 775-6    Filed 08/02/01       Page 38 of 184




Date       Name           Hours      Description
6/19/01    James W         0.30      Review various pleadings and correspondence.
           Kapp

6/19/01    Shirley A       4.00      Review correspondence (1.0); review website re docket
           Pope                      sheet of Chakarian matter (.5); update pleadings database
                                     (1.5); search files re various documents (.5); update TIG
                                     Ins. v. Smolkers files (.5).

6/19/01    Rebecca R       0.50      Organize pleadings and correspondence.
           Landau

6/19/01    Brigitte F      1.50      Review various case documents to assign central file
           Windley                   categories.

6/20/01    Shirley A       6.00      Prepare materials re preservation of Grace documents
           Pope                      (.5); review Chakarian pleadings filed in bankruptcy (2.0);
                                     prepare materials to be distributed to Grace litigation team
                                     (.5); update litigation files database (2.0); organize
                                     documents re inclusion in Grace main file (1.0).

6/20/01    Brigitte F      1.60      Telephone conferences with S. Cipolla re document
           Windley                   requests (.3); research and locate documents and prepare
                                     Fed-Ex package transmitting same (1.3).
6/20/01    Brigitte F      1.90      Prepare set of pleadings relating to hearing (.7); review
           Windley                   case documents to assign central file categories (1.2).

6/21/01    Shirley A       5.50      Attend to matters re flow chart (.5); review documents
           Pope                      forwarded by attorneys re Grace main file (1.5); prepare
                                     index to G-1 Holdings as precedent case law (1.0);
                                     update pleadings database (1.0); prepare documents for
                                     inclusion in Grace main file (1.5).

6/21/01    Rebecca R       1.50      Review all pleadings and correspondence (.5); prepare
           Landau                    folders for delivery (.2); update index (.8).

6/21/01    Brigitte F      1.20      Review various case documents to assign central file
           Windley                   categories.

6/21/01    Janet Baer      0.50      Attend to matters re various case issues.

6/21/01    Brian M Lutz    1.00      Amend corporate organizational charts.



                                          A-12
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 39 of 184




Date       Name            Hours      Description
6/22/01    David M          0.80      Preparation for and leading team meeting.
           Bernick, P.C.

6/22/01    Michelle H       1.30      Prepare for and participate in weekly asbestos call.
           Browdy

6/22/01    Scott A          1.50      Prepare for and attend internal asbestos strategy meeting.
           McMillin

6/22/01    Shirley A        5.00      Revise flow chart (.3); Westlaw project re cases cited
           Pope                       Memorandum in Support of Motion for entry of case
                                      management order (.2); review documents (1.0); update
                                      pleadings database (.5); prepare pleadings re inclusion in
                                      Grace main file (1.0); prepare general background/legal
                                      research documents re inclusion in Grace main file (2.0).

6/22/01    Shirley A        1.50      Prepare for and attend Grace team teleconference
           Pope                       meeting.

6/22/01    Douglas G        2.00      Revise case management order brief (1.5); attend meeting
           Smith                      re case management order brief (.5).
6/22/01    Douglas G        0.50      Attend meeting re case management order brief.
           Smith

6/22/01    Kellye L         1.30      Prepare for and participate in team meeting.
           Fabian

6/22/01    P Renee          1.70      Prepare for and participate in litigaion team conference
           Wicklund                   call.

6/22/01    Deanna D         0.50      Prepare for and participate in team strategy
           Boll                       teleconference.

6/22/01    Brigitte F       1.40      Review various case documents to assign central file
           Windley                    categories.

6/22/01    Janet Baer       1.00      Prepare for and attend litigation team meeting on case
                                      issues.
6/22/01    Brian M Lutz     1.50      Compare SEC filing information with drafts of corporate
                                      charts.




                                           A-13
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 40 of 184




Date       Name            Hours      Description
6/23/01    Shirley A        6.00      Begin cite checking Chapter 11 Procedures for
           Pope                       Determining the validity of submitted claims in CMO
                                      Memorandum.

6/23/01    Aaron D          7.00      Check citations to claims against debtors' section of brief
           Birnbaum                   re CMO memorandum (5.0); retrieve articles and other
                                      authorities cited in CMO memorandum (2.0).

6/25/01    James W          1.80      Review various pleadings and correspondence and attend
           Kapp                       to issues re same (1.5); review critical dates list (.1);
                                      review articles re bankruptcy cases (.2).

6/25/01    Kenneth Toth     1.00      Prepare and organize pleadings.

6/25/01    Samuel A         2.60      Review and analysis of the docket and revision of the
           Schwartz                   critical dates list.

6/25/01    Brigitte F       2.20      Review various case documents to assign central file
           Windley                    categories (1.7); update status motion chart (.5).
6/25/01    Brian M Lutz     3.00      Attend to matters re revisions to corporate charts.

6/26/01    David M          0.50      Conference with Siegel re case status.
           Bernick, P.C.

6/26/01    James W          1.30      Prepare for and participate in status conference re
           Kapp                       bankruptcy issues (1.0); review various pleadings and
                                      correspondence (.3).

6/26/01    Travis J         3.00      Review, edit and cite-check memorandum to transfer
           Langenkamp                 venue.

6/26/01    Kenneth Toth     1.00      Prepare and organize various pleadings.

6/26/01    Samuel A         1.90      Prepare for and attend internal status meeting (.7); review
           Schwartz                   and revision of the critical dates list and review of the
                                      docket re same (1.2).
6/26/01    Emily J Knox     1.30      Prepare pleadings.




                                           A-14
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 41 of 184




Date       Name            Hours      Description
6/26/01    Brigitte F       3.40      Prepare for and attend internal K&E conference re status
           Windley                    of proceedings and assignments (.8); update and
                                      supplement motion status chart (.4); review court's docket
                                      for objections to various motions (.7); review various case
                                      documents received from attorneys to assign central file
                                      categories in preparation for central file supplementation
                                      by project assistant (1.5).

6/26/01    Janet Baer       1.00      Participation in internal K&E meeting re case
                                      administration issues.

6/26/01    Roger J          1.10      Participate in status meeting (.8); prepare for and attend
           Higgins                    to matters re updating list of claimants with VSPP
                                      recipients and outside directors whose payments were
                                      reduced or terminated (.3).

6/26/01    Alison R         1.30      Prepare pleadings.
           Kucera

6/27/01    Travis J         1.00      Cite check brief.
           Langenkamp

6/27/01    Shirley A        5.80      Telephone conference with Quick re delivery of briefs to
           Pope                       D. Carickoff in Wilmington for filing with court (.1);
                                      review correspondence (1.7); prepare documents for
                                      inclusion in Grace main file (3.0); update Grace main file
                                      database (1.0).
6/27/01    Brigitte F       1.30      Telephone conferences with K. Mangual re requests for
           Windley                    case documents (.2); work with project assistant to
                                      identify and prepare documents for transmittal (1.1).

6/27/01    Brian M Lutz     1.00      Revise corporate charts.

6/27/01    Sabrina M        0.50      Retrieve and prepare fax and fed-ex of pleadings.
           Mitchell

6/28/01    Elizabeth Cox    0.80      Locate article.
           Arnold

6/28/01    James W          1.20      Review various pleadings and correspondence and attend
           Kapp                       to issues re same (.7); review articles re bankruptcy case
                                      (.4); review motion status chart (.1).

                                           A-15
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01      Page 42 of 184




Date       Name            Hours      Description
6/28/01    Shirley A        2.00      Review correspondence and pleadings (1.0); update
           Pope                       database re Grace main file (1.0).

6/28/01    Brigitte F       1.30      Review various case documents received from attorneys
           Windley                    to assign central file categories in preparation for central
                                      file update by project assistant (.5); research and retrieve
                                      court pleading per S. Sprayregen's instructions (.5);
                                      telephone conferences and office conferences re
                                      development of additional corporate organizational chart
                                      reflecting acquisitions and dispositions (.3).

6/28/01    Brian M Lutz     0.30      Revise corporate charts.

6/29/01    David M          0.80      Preparation for and leading team meeting.
           Bernick, P.C.

6/29/01    Michelle H       0.80      Prepare for and attend weekly asbestos team call.
           Browdy

6/29/01    James W          1.70      Prepare for and attend status/strategy meeting and attend
           Kapp                       to issues re same.
6/29/01    Scott A          1.30      Prepare for and attend litigation strategy meeting.
           McMillin

6/29/01    Shirley A        1.00      Prepare for and attend asbestos team meeting.
           Pope

6/29/01    Shirley A        4.50      Review correspondence and pleadings (1.0); update
           Pope                       database of documents received re Grace main file (3.0);
                                      prepare documents (.5).

6/29/01    Douglas G        1.00      Prepare for and attend team meeting.
           Smith

6/29/01    Christopher B    1.70      Telephone call with W. Sparks re history meeting.
           Sullivan

6/29/01    Kellye L         1.00      Prepare for and attend team meeting re work in progress.
           Fabian
6/29/01    Deanna D         0.50      Prepare for and attend team strategy teleconference.
           Boll


                                           A-16
          Case 01-01139-AMC       Doc 775-6     Filed 08/02/01        Page 43 of 184




Date       Name           Hours      Description
6/29/01    Brigitte F      0.70      Review various case documents received from attorneys
           Windley                   to assign central file category in preparation for central file
                                     supplementation by project assistant.

6/29/01    Brian M Lutz    1.00      Attend to matters re corporate charts.




                                          A-17
          Case 01-01139-AMC         Doc 775-6     Filed 08/02/01       Page 44 of 184




               Matter 21 - Claim Estimate, Objection and Resolution - Fees


Date       Name            Hours       Description
6/01/01    Timothy S         0.40      Begin drafting summary of Libby MT property claims.
           Hardy

6/01/01    Christopher B     1.20      Draft outlines of proof of claim forms.
           Sullivan

6/01/01    Samuel A          1.30      Telephone conferences with the client and the committee's
           Schwartz                    counsel's negotiating the omnibus settlement procedures
                                       motion.

6/01/01    Deanna D          1.00      Participate in telephone conference with K. Kinsella and
           Boll                        clients re claims information and consider issues re same.

6/01/01    Janet Baer        1.60      Attend conference re notice, especially related to Atticfill.

6/04/01    James W           1.60      Attend to issues re approval of particular settlement
           Kapp                        agreement (.3); address issues re settlement procedures
                                       motion (1.3).
6/04/01    Samuel A          3.10      Review and revision of the omnibus settlement procedures
           Schwartz                    motion and order (2.4); and conferences with the
                                       committees re same (.7).

6/04/01    Deanna D          0.50      Review and analyze K. Kinsella memo re outstanding
           Boll                        claims issues.

6/04/01    Janet Baer        0.60      Confer with W. Corcoran re notice agent issues (.2);
                                       internal K&E conferences re notice agent and related bar
                                       date matters (.4).

6/05/01    James W           2.30      Review and revise de minimis settlement motion and
           Kapp                        attend to issues re same and telephone conference with D.
                                       Siegel re same.

6/05/01    Andrew R          2.50      Review claim forms approved in prior asbestos
           Running                     bankruptcy cases in preparation for drafting Grace's
                                       proposed forms.




                                            A-18
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 45 of 184




Date       Name            Hours      Description
6/05/01    Christopher B    4.00      Review seminar notebook materials (2.0); review
           Sullivan                   exemplars of proof of claim forms (1.0); draft/edit outline
                                      of same (1.0).

6/05/01    Samuel A         4.30      Telephone conference with the client and PwC reviewing
           Schwartz                   and discussing potential claims agents and the claims
                                      process (1.1); preparation for same (.3); review and
                                      revision of the omnibus settlement motion (1.6);
                                      conferences with the client and the committees re same
                                      (1.3).

6/05/01    Deanna D         1.00      Participate in teleconference with clients and notice expert
           Boll                       re claims issues.

6/05/01    Janet Baer       2.30      Participate in conference with clients and notice expert re
                                      personal injury claims (1.0); further confer with notice
                                      expert re notice program information (.5); internal K&E
                                      conferences re notice program and claims issues (.5);
                                      prepare transmittals re same (.3).

6/06/01    James W          0.50      Attend to issues re de minimis settlement motion.
           Kapp

6/06/01    Andrew R         0.30      Attend to matters re claim forms drafting assignments.
           Running
6/06/01    Andrew R         0.60      Attend to matters re claim forms drafting assignments.
           Running

6/06/01    Christopher B    9.50      Conference re drafting of proof of claim forms (.5);
           Sullivan                   second meeting re same (1.0); telephone conference with
                                      Rust consulting re same (.5); draft proof of claim forms
                                      (3.0); draft brief in support of Bar Date (1.5); legal and
                                      factual research in support of same (3.0).

6/06/01    Samuel A         1.40      Revision of the omnibus settlement motion (.8); and
           Schwartz                   conferences with the committees re same (.6).

6/06/01    Janet Baer       5.00      Review claims information for bar date program (1.0);
                                      internal K&E conferences on Bar Date Notice and
                                      Claims forms (2.5); prepare and revise claim forms,
                                      notice and bar date notice forms (1.5).


                                           A-19
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01         Page 46 of 184




Date       Name            Hours      Description
6/07/01    James W          0.60      Review and revise de minimis settlement motion and
           Kapp                       attend to issues re same.

6/07/01    Christopher B    4.00      Draft proof of claim forms and proof of claim form
           Sullivan                   instructions.

6/07/01    Janet Baer       7.10      Prepare Notice of Bar Date (1.0); prepare definitions for
                                      Bar Date Motion and revise same (2.3); prepare and
                                      revise Non-Asbestos Claim form (1.0); attend to matters
                                      re same (.5); review materials supplied by client re bar
                                      date/notice/claims (.5); confer with J. Finkelstein re
                                      consultant fees (.3); prepare and revise instructions re
                                      proofs of claim (1.0); review draft Zonolite Proof of
                                      Claim (.5).

6/08/01    Andrew R         0.20      Revise draft proof of claim forms.
           Running

6/08/01    Andrew R         1.80      Revise draft proof of claim forms.
           Running

6/08/01    Christopher B    6.50      Draft/edit proof of claim forms and instructions.
           Sullivan
6/08/01    P Renee          1.20      Attend to matters re portion of brief on bar date and
           Wicklund                   consolidation of claims.

6/08/01    Janet Baer       1.80      Review and revise various claims forms (.5); attend to
                                      matters re same (.3); prepare and revise set of general
                                      instructions for all claim forms (1.0).

6/09/01    Christopher B    3.00      Draft/edit proof of claim forms (2.0); draft brief in support
           Sullivan                   of Bar Date (1.0).

6/09/01    Janet Baer       0.50      Revise instructions and claims forms for Notice program
                                      consistent with client input.

6/10/01    Christopher B    1.00      Draft/edit proof of claim form.
           Sullivan




                                           A-20
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01      Page 47 of 184




Date       Name            Hours      Description
6/11/01    Andrew R         1.50      Telephone conference with D. Rourke of the ARPC re
           Running                    actuarial issues (.8); analyze actuarial information
                                      provided by Rourke for possible inclusion in case
                                      management order brief (1.5).

6/11/01    Andrew R         6.70      Telephone conference with D. Rourke re actuarial issues
           Running                    (1.1); analyze actuarial information provided by Rourke
                                      for possible inclusion in case management order brief
                                      (1.5); prepare final draft of that letter (2.6); attend to
                                      matters re revisions to her section of the case management
                                      order brief (1.5).

6/11/01    Christopher B    1.50      Legal research in support of brief (.5); draft brief in
           Sullivan                   support of case management order and Bar Date (1.0).

6/11/01    Janet Baer       0.50      Confer with K. Kinsella re status on notice program and
                                      review and revise further materials re same.

6/12/01    Christopher B    0.50      Legal research in support of brief (.2); draft brief in
           Sullivan                   support of case management order and Bar Date (.3).

6/12/01    Kellye L         0.50      Research specialized claim forms.
           Fabian
6/12/01    Deanna D         0.90      Review Grace claim forms and notice for bar date (.5);
           Boll                       consider issues re bar date motion and brief in support
                                      (.4).

6/12/01    Janet Baer       5.30      Review K. Kinsella resume materials for notice brief (.3);
                                      review draft personal injury claims forms and instructions
                                      (.5); attend to matters re bar date notice, program and
                                      brief (1.0); prepare parties portion of bar date memo re
                                      notice program and expert and revise same (3.5).

6/13/01    Andrew R         1.50      Continue drafting memorandum in support of case
           Running                    management order, bar date, approval of claim forms and
                                      notice program.

6/13/01    Christopher B    3.00      Edit brief in support of Bar Date and Case Management
           Sullivan                   Order.

6/13/01    Kellye L         2.50      Research use of specialized claim forms and appointment
           Fabian                     of committees for claimant representation.

                                           A-21
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 48 of 184




Date       Name            Hours      Description
6/13/01    P Renee          2.70      Prepare for and attend conference call.
           Wicklund

6/13/01    Janet Baer       1.30      Confer with K. Kinsella re status of notice plan (.5);
                                      internal and external communications re notice plan (.5);
                                      review correspondence re comments to claims and
                                      related matters (.3).

6/14/01    James W          0.20      Review administrative expense claims.
           Kapp

6/14/01    Christopher B    0.70      Draft proof of claims forms and general instructions.
           Sullivan

6/14/01    Christopher B    2.50      Telephone call with Rust Consulting (1.0); draft proof of
           Sullivan                   claims forms and general instructions (1.5).

6/14/01    Kellye L         1.50      Prepare for and attend Team meeting re bar date brief.
           Fabian
6/14/01    Deanna D         0.10      Contact K. Kinsella re retention papers.
           Boll

6/14/01    Janet Baer       0.50      Attend to matters re notice program.

6/15/01    Deanna D         1.30      Review claim forms and consider issues re same (.5);
           Boll                       consider issues re constitutional adequacy of notice plans
                                      (.8).

6/15/01    Janet Baer       5.20      Confer with K. Kinsella re notice program (.3); attend to
                                      matters re same (.5); prepare correspondence re same
                                      (.5); confer with J. Hughes re comments to Kinsella Plan
                                      (.3); review Kinsella Plan (.5); review draft brief on
                                      Notice, etc. (.5); attend meeting to discuss revisions to
                                      Notice/Bar Date brief and related matters (1.0); review
                                      case law re issues for draft brief (1.6).

6/17/01    Deanna D         2.50      Review and analyze notice program.
           Boll

6/18/01    Deanna D         2.00      Review and consider issues re revised bar date notice and
           Boll                       property damage claim form (1.8); draft memo re same
                                      (.2)


                                           A-22
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 49 of 184




Date       Name            Hours      Description
6/18/01    Janet Baer       6.50      Revise Bar Date Notice and Order to be consistent with
                                      case law (1.0); revise Order approving Bar Date to be
                                      consistent with case law (1.0); review and further revise
                                      Bar Date brief section re Notice program (1.0); attend to
                                      various matters re all of the foregoing (.5); review and
                                      incorporate comments to Kinsella notice plan (1.0);
                                      review and further revise proof of claim forms (1.0);
                                      various conferences re notice program (1.0).

6/19/01    Kellye L         3.00      Summarize cases re class proofs of claims.
           Fabian

6/20/01    Christopher B    1.50      Draft motion for Bar Date (.5); edit brief in support of
           Sullivan                   same (.5); edit Bar Date Order (.5).

6/20/01    Kellye L         4.00      Draft summaries of class proof of claim cases in
           Fabian                     preparation for brief in opposition to class certification.

6/20/01    Janet Baer       2.10      Conference with K. Kinsella re notice plan revisions and
                                      issues (.6); confer with various parties re same (.5);
                                      further review and revise plan re mining issues (.5); review
                                      and revise various claims forms, bar date order and notice
                                      (.5).

6/21/01    J Chad           1.00      Draft settlement letter to Dykema.
           Mitchell
6/21/01    Christopher B    1.70      Conference call with Rust consulting (.7); edit proof of
           Sullivan                   claim form (1.0).

6/21/01    Janet Baer       3.00      Review revised Kinsella notice plan (1.0); attend to
                                      various matters re same and conference with client re
                                      same (.5); conference with Rust Consulting re calims and
                                      revise same (1.0); conference with K. Kinsella re revising
                                      plan and notice re mines and attic fill (.5).

6/22/01    Andrew R         0.60      Revise draft proof of claim forms.
           Running

6/22/01    Andrew R         1.00      Revise draft proof of claim forms.
           Running



                                           A-23
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 50 of 184




Date       Name            Hours      Description
6/22/01    Christopher B    1.50      Review/edit claim forms and instructions.
           Sullivan

6/22/01    Janet Baer       4.30      Review new draft of Bar Date motion (1.0); several
                                      conferences with K. Kinsella re Notice Plan (.8);
                                      revisions to numerous documents for Notice Plan and Bar
                                      Date motion (1.0); attend to various matters re Bar Date
                                      Motion and Memo (1.5).

6/25/01    James W          0.30      Review Hartford's objection to de minimis settlement
           Kapp                       motion.

6/25/01    Christopher B    1.00      Edit case management motion (.3); edit case management
           Sullivan                   brief (.7).

6/25/01    Brigitte F       0.50      Internal office conference re proof of claim management.
           Windley

6/25/01    Janet Baer       4.50      Conference with W. Corcoran re Kinsella Budget
                                      andPlan (.3); revise Bar Date Notice and related
                                      documents (1.3); confer with K. Kinsella re Notice Plan
                                      status and comments to same (.5); review revised Notice
                                      Plan (1.0); review pleadings re potential objections on
                                      Bar Date Motion (1.0); attend to various matters re Bar
                                      Date Motion and Kinsella retention (.4).
6/26/01    James W          0.50      Review Property Damage committee's objection to claims
           Kapp                       procedure.

6/26/01    Andrew R         1.30      Revisions to the case management order brief (.2);
           Running                    telephone conference with J. Hughes re actuarial
                                      statements in case management order brief (.1); revise
                                      draft bar date and case management order motion (.5);
                                      revise draft memorandum in support of bar date, claim
                                      forms, notification program and case management order
                                      motions (.5).

6/26/01    Christopher B    3.00      Edit motion for bar date (1.5); edit/review proof of claim
           Sullivan                   forms (1.5).




                                           A-24
          Case 01-01139-AMC       Doc 775-6    Filed 08/02/01       Page 51 of 184




Date       Name           Hours      Description
6/27/01    Sven T Nylen    3.00      Research case law in support of motion for authorization
                                     and approval of omnibus procedure for settling de
                                     minimus claims.

6/28/01    Andrew R        1.00      Continue legal analysis of class proof of claim issue.
           Running

6/28/01    Samuel A        5.50      Meeting in Minneapolis with Rust Consulting reviewing
           Schwartz                  claims processing.

6/28/01    Brigitte F      0.80      Review and supplement proof of claims file.
           Windley

6/28/01    Sven T Nylen    1.40      Research case law supporting motion for authorization
                                     and approval of omnibus procedure for settling de
                                     minimus claims.

6/29/01    Sven T Nylen    1.60      Research case law supporting approval of omnibus
                                     procedure for settling de minimus claims.




                                          A-25
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 52 of 184




              Matter 22 - Contested Matters/Adversary Proceedings - Fees


Date       Name           Hours       Description
6/01/01    Timothy S        0.10      Review comments on case management order draft.
           Hardy

6/01/01    Timothy S        0.60      Review comments on case management order draft (.1);
           Hardy                      telephone conference with A. Running re same (.2);
                                      conference call with asbestos team (.3).

6/01/01    James W          2.40      Address issues re expert retention application and review
           Kapp                       and revise same and review correspondence to
                                      committees re same (1.2); address removal issues (1.2).

6/01/01    Scott A          1.50      Revise motion to modify preliminary injunction and
           McMillin                   prepare for filing.

6/01/01    Andrew R         2.20      Telephone conference with D. Rourke of ARPC re
           Running                    adversarial issues (.8); prepare for June 4 meeting with
                                      Rourke re lack of actuarial basis for recent claims filings
                                      (1.4).

6/01/01    Kellye L         0.30      Research class actions.
           Fabian




                                           A-26
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01      Page 53 of 184




Date       Name            Hours      Description
6/01/01    P Renee          2.00      Prepare for and participate in conference call re case
           Wicklund                   management and scheduling brief.

6/01/01    Janet Baer       5.00      Prepare response to Smolker Motion to remand.

6/01/01    Janet Baer       0.50      Various K&E conferences re Smolker Remand research
                                      and response.

6/01/01    Janet Baer       0.50      Attend to matters re case management outline.

6/01/01    Roger J          8.60      Legal research on law of removal and remand under 28
           Higgins                    U. S. C. section 1452.

6/02/01    Timothy S        1.80      Review toxicity materials from D. Kuchinsky (1.0);
           Hardy                      review Libby materials (.8).
6/04/01    David M          8.00      Preparation for and attending meeting re case strategy.
           Bernick, P.C.

6/04/01    Timothy S        7.50      Review Becklake Dose/Response and Case Tremolite
           Hardy                      articles (2.0); attend science meeting with Grace and
                                      K&E lawyers (3.0); review CalOSHA asbestos decision
                                      (2.0); meet with D. Roarke (ARPC) (.5).

6/04/01    James W          0.20      Attend to issues re retention of experts.
           Kapp

6/04/01    Scott A          3.50      Work on service and notice issues for motion to modify
           McMillin                   preliminary injunction.

6/04/01    Reed S Oslan     1.50      Review draft pleadings re injunction (1.3); consider status
                                      (.2).

6/04/01    Andrew R         5.00      Participate in meeting to analyze expert and scientific
           Running                    issues to be litigated in the asbestos claims process.
6/04/01    Andrew R         1.50      Meeting with D. Rourke of the ARPC and T. Hardy to
           Running                    discuss actuarial concerns raised by recent asbestos
                                      claims filings.

6/04/01    Christopher B    7.70      Attend Grace seminar of medical issues of asbestos
           Sullivan                   litigation (5.5); follow up meeting with T. Hardy and A.
                                      Running (.7); review notebook of materials presented at
                                      seminar (1.5).


                                           A-27
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01        Page 54 of 184




Date       Name            Hours      Description
6/04/01    Kellye L         5.00      Meeting with client for science school.
           Fabian

6/04/01    Samuel A         2.50      Review and revision of the motion to retain experts and
           Schwartz                   meetings re same.

6/04/01    Janet Baer       3.50      Various conferences re service of motion re injunction
                                      (2.0); confer with G. Smolker re status and case (1.5).

6/04/01    Roger J          0.80      Attend to matters re response to remand motion.
           Higgins

6/05/01    Timothy S        1.10      Review D. Kuchinsky's state of art article collection.
           Hardy

6/05/01    Scott A          1.70      Review and revise opposition to the Smolker motion to
           McMillin                   remand (1.4); attend to matters re Smolker case (.3).
6/05/01    Andrew R         3.70      Draft letter to committee counsel re proposed case
           Running                    management schedule.

6/05/01    Andrew R         0.50      Conference with Y. Nye re legal research on acceptable
           Running                    product risk.

6/05/01    Christopher B    3.00      Legal/factual research in support of case management
           Sullivan                   brief.

6/05/01    Kellye L         2.00      Research class action issues.
           Fabian

6/05/01    Roger J          0.80      Legal research re response to Smolker remand action.
           Higgins

6/05/01    Yvette Ney       5.00      Research asbestos litigation.
6/06/01    David M          3.00      Review of College of Knowledge notebook (.5); revise
           Bernick, P.C.              outline (2.0); conference with Siegel and Wolinski re
                                      fraudulent conveyance issue (.5).

6/06/01    Timothy S        1.50      Review W. Nicholson 1970's asbestos building survey
           Hardy                      report (.5); edit attic fill fact outline (.5); review Dr. Case
                                      tremolite article (.5).




                                           A-28
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 55 of 184




Date       Name            Hours      Description
6/06/01    Scott A          2.60      Review oppositions to motion to transfer Smolker case to
           McMillin                   Delaware and draft reply brief.

6/06/01    Andrew R         1.00      Attend to matters re revisions to the draft letter to
           Running                    committee counsel re proposed case management
                                      schedule (.5); revise draft letter and forward to client for
                                      review (.5).

6/06/01    Andrew R         2.10      Attend to matters re revision to the draft letter to
           Running                    committee counsel re proposed case management
                                      schedule (.6); revise draft letter and forward to client for
                                      review (1.5).

6/06/01    Kellye L         3.00      Draft class action portion of case management order brief.
           Fabian

6/06/01    Yvette Ney       3.50      Research asbestos litigation.

6/07/01    David M          2.50      Revisions to master outline for Bar Date Motion.
           Bernick, P.C.
6/07/01    Timothy S        1.50      Draft Libby section of CMO brief (.2); draft
           Hardy                      memorandum re Tremolite dose/response (.5); review PD
                                      Committee document retention letter (.5); review Roarke
                                      graph (.3).

6/07/01    James W          1.40      Review and revise removal motion and attend to issues re
           Kapp                       same.

6/07/01    Scott A          4.80      Research and draft reply brief in support of motion to
           McMillin                   transfer Smolker action.

6/07/01    Andrew R         0.20      Telephone conversation with D. Siegel re draft letter to
           Running                    committee counsel re case management scheduling.

6/07/01    Andrew R         0.80      Review and summarize client comments on draft letter re
           Running                    case management schedule.

6/07/01    Andrew R         0.20      Attend to matters re expert retention issues.
           Running
6/07/01    Kellye L         1.00      Research and draft class certification argument.
           Fabian


                                           A-29
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 56 of 184




Date       Name            Hours      Description
6/07/01    Roger J          1.80      Attend to matters re motion to extend time for removal.
           Higgins

6/08/01    Mark E           4.10      Attend to matters re status of Libby venue transfer motion
           Grummer                    (.2); emails and telephone conferences with various team
                                      members re draft answer to Libby EPA cost recovery
                                      claim and timing of venue transfer motion with respect
                                      thereto (1.1); begin drafting accompanying affidavit (2.8).

6/08/01    Timothy S        2.50      Prepare for and participate in asbestos team conference
           Hardy                      call (1.0); edit Libby section of CMO brief (1.5).

6/08/01    Scott A          3.80      Draft reply brief in support of motion to transfer Smolker
           McMillin                   case (3.2); attend to matters re Smolker case (.6).

6/08/01    Andrew R         1.40      Telephone conference with D. Bernick and D. Cameron
           Running                    re draft letter to committee counsel re proposed case
                                      management schedule.

6/08/01    Andrew R         0.40      Revise draft letter re case proposed case managment
           Running                    schedule.
6/08/01    Andrew R         1.20      Revise draft letter re case proposed case management
           Running                    schedule.

6/08/01    Christopher B    0.50      Research re change of venue procedures re brief.
           Sullivan

6/08/01    Kellye L         4.50      Draft class action portion of case management order brief.
           Fabian

6/08/01    David A          1.50      Participate in conference calls with H. Roberts re filing of
           Codevilla                  transfer of venue motion for Libby cost recovery case
                                      (1.0); research on venue timing issues (.5).

6/08/01    Janet Baer       3.40      Conference with A. Aisley (Sealed Air) re removal (.2);
                                      confer with various parties re Libby Cost Recovery case
                                      venue and answer issues (1.5); attend to matters re Libby
                                      venue issues and review law re same (1.7).

6/08/01    Yvette Ney       2.80      Research asbestos litigation.
6/09/01    David M          1.50      Reviewing briefs regarding EPA action and venue and
           Bernick, P.C.              conference with bank re same.

                                           A-30
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 57 of 184




Date       Name            Hours      Description
6/09/01    Mark E           0.80      Draft affidavit in support of Libby venue transfer motion.
           Grummer

6/09/01    Andrew R         4.50      Continue drafting memorandum in support of proposed
           Running                    case management order.

6/09/01    P Renee          4.00      Draft overview of case administration procedures for case
           Wicklund                   management brief.

6/09/01    Janet Baer       0.50      Review answer on Libby complaint.

6/10/01    Mark E           5.10      Continue drafting memorandum and affidavit in support of
           Grummer                    Libby venue transfer motion.

6/10/01    Timothy S        1.30      Review tremolite dose response articles.
           Hardy
6/10/01    Christopher B    2.00      Factual research in support of case management order
           Sullivan                   brief.

6/10/01    P Renee          6.20      Draft overview of case administration procedures for case
           Wicklund                   management brief (3.0); legal research re same (3.2).

6/11/01    David M          0.30      Conference with R. Beber re CMO letter.
           Bernick, P.C.

6/11/01    David M          0.50      Conference with M. Browdy re fraudulent conveyance
           Bernick, P.C.              issue.

6/11/01    David M          0.30      Conference with D. Siegel with CMO letter.
           Bernick, P.C.

6/11/01    David M          0.30      Conference with Krueger re fraudulent conveyance
           Bernick, P.C.              action.
6/11/01    Mark E           9.20      Complete drafting affidavit in support of Libby venue
           Grummer                    transfer motion and email same to team (5.1); attend to
                                      matters re memorandum supporting venue transfer motion
                                      and revise same (.5); review and do mark-up of answer in
                                      Libby EPA cost recovery case (3.6).




                                           A-31
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 58 of 184




Date       Name            Hours      Description
6/11/01    Timothy S        5.20      Telephone conferences with W. Sparks and D.
           Hardy                      Kuchinsky re N.Y. Times (.3); edit ZAI fact outline and
                                      distribute (.6); review PI claims form (.6); review
                                      historical ZAI monitoring data (.5); telephone conference
                                      with B. Price re tremolite dose-response (.2); draft
                                      memorandum re claims projections (3.0).

6/11/01    James W          0.20      Attend to issues re expert retention motion and address
           Kapp                       objections to same.

6/11/01    Scott A          5.00      Draft motion for continuance of Smolker hearing (.8);
           McMillin                   draft summary of relief sought chart for hearing on motion
                                      to modify (2.0); review and revise opposition to motion to
                                      remand (.7); revise reply brief in support of Smolker
                                      motion to transfer (1.0); attend to matters re fraudulent
                                      transfer actions and litigation strategy (.5).

6/11/01    Shirley A        4.00      Review correspondence for filing (.7); prepare Barbanti
           Pope                       documents (.3); prepare Excel charts and graphs (1.0);
                                      cite check statutes cited in Debtors/Grace reply brief re
                                      motion to transfer (.5); cite check cases in Debtors/Grace
                                      reply brief re motion to transfer (1.0); review brief
                                      indicating revisions to be made (.5).

6/11/01    Christopher B    8.00      Legal research in support of brief (2.0); draft brief in
           Sullivan                   support of case management order and Bar Date (6.0).

6/11/01    Kellye L         9.00      Draft class action argument.
           Fabian
6/11/01    P Renee          0.50      Attend to matters re overview of case administration
           Wicklund                   procedures for case management brief.

6/11/01    Janet Baer       3.80      Review Libby Cast Recovery Complaint and Answer
                                      (1.5); attend to matters re same and venue transfer motion
                                      (.8); confer with the outside counsel re Libby matters (.5);
                                      conference with D. Seigel re same (.3); prepare
                                      correspondence re Libby case (.5); confer with T.
                                      Krueger re Western Minerals (.2).

6/11/01    Yvette Ney       6.30      Research asbestos litigation (4.0); prepare memorandum
                                      re asbestos research (2.3).


                                           A-32
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 59 of 184




Date       Name            Hours      Description
6/11/01    Bennett L        0.50      Attend to matters re background status of motion pending
           Spiegel                    before Judge Bluebond.

6/11/01    Bennett L        0.20      Attend to matters re proposed ex parte motion for
           Spiegel                    continuance.

6/12/01    Mark E           1.50      Revise affidavit in support of Libby venue transfer motion.
           Grummer

6/12/01    Timothy S        2.50      Review draft letter to New York Times (.3); edit attic fill
           Hardy                      fact outline (.2); draft memorandum re ZAI document
                                      collection (1.5); edit CMO insert (.5).

6/12/01    Scott A          2.50      Revise reply in support of motion to transfer Smolker
           McMillin                   case (1.0); conferences with opposing counsel re motion
                                      to modify (.5); legal research re appointing special counsel
                                      or independent examiner (1.0).

6/12/01    Reed S Oslan     1.50      Review briefs re injunction and consider status.
6/12/01    Andrew R         5.50      Continue drafting case management order brief (3.6);
           Running                    analyze actuarial data and develop potential charts for the
                                      brief (1.5); attend to matters re graphics work for the
                                      charts (.4).

6/12/01    Christopher B    8.00      Legal research in support of brief (2.0); draft brief in
           Sullivan                   support of case management order and Bar Date (6.0).

6/12/01    Kellye L         2.00      Draft and revise class action argument.
           Fabian

6/12/01    Janet Baer       1.00      Conference with EPA re Western Minerals (.3); prepare
                                      correspondence re same (.5); confer with J. Freeman
                                      (DOJ) re Libby (.2).

6/12/01    Yvette Ney       8.00      Research asbestos litigation (5.0); prepare memorandum
                                      re asbestos research (3.0).

6/12/01    Bennett L        1.80      Attend to matters re pleadings in pending motion to
           Spiegel                    transfer venue (1.5); motion to abstain, remand (.3).
6/13/01    Mark E           1.40      Prepare for and participate in conference call with several
           Grummer                    participants to review draft Libby venue transfer brief.


                                           A-33
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01      Page 60 of 184




Date       Name            Hours      Description
6/13/01    Scott A          6.00      Research re appointment of independent examiner and
           McMillin                   outline brief re same.

6/13/01    Andrew R         3.60      Continue drafting memorandum in support of case
           Running                    management order, bar date, approval of claim forms and
                                      notice program.

6/13/01    Christopher B    3.00      Edit brief in support of Bar Date and Case Management
           Sullivan                   Order.

6/13/01    Janet Baer       2.00      Review draft Libby transfer brief and affidavit in
                                      preparation for client call re same (.5); participate in
                                      conference call re Libby venue motion and related issues
                                      (1.5).

6/13/01    Yvette Ney       7.30      Research law on asbestos liability (3.0); write and
                                      complete memorandum re research results (4.3).

6/13/01    Bennett L        0.10      Telephone conference with Judge Bluebond law clerk re
           Spiegel                    emergency motion to continue.
6/14/01    David M          2.00      Review of CMO brief and attend to matters re same.
           Bernick, P.C.

6/14/01    Timothy S        1.50      Review Libby exposure study (.5); edit ZAI fact outline
           Hardy                      (.5); review letter to New York Times (.5).

6/14/01    James W          0.50      Address issues re retention of experts.
           Kapp

6/14/01    Scott A          4.60      Legal research re independent examiner (3.0); work on
           McMillin                   charts and proposed order for hearing on motion to
                                      modify preliminary injunction (1.6).

6/14/01    Andrew R         5.00      Continue drafting memorandum in support of case
           Running                    management order (3.2); attend to matters re same (1.8).

6/14/01    Douglas G        1.50      Attend to matters re case management order (1.0);
           Smith                      review draft brief re case management order (.5).
6/14/01    Christopher B    1.50      Draft/edit brief.
           Sullivan




                                           A-34
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 61 of 184




Date       Name            Hours      Description
6/14/01    P Renee          0.20      Attend to matters re case management order.
           Wicklund

6/14/01    P Renee          1.30      Attend to matters re case management order.
           Wicklund

6/14/01    Deanna D         0.80      Attend to matters re bar date motion.
           Boll

6/14/01    Janet Baer       2.00      Prepare Order Approving Notice, Bar Date and Claims
                                      forms.

6/14/01    Janet Baer       1.50      Several conferences re Smolker matter (.5); review
                                      binder of Smolker pleadings and review, revise and
                                      expand index re same (1.0).

6/14/01    Bennett L        1.80      Continue review of pleadings binder re pending motions
           Spiegel                    set for hearing before Judge Bluebond on 6/19, venue
                                      transfer for (1.0); relief from stay (.5); remand motion
                                      (.3).
6/15/01    David M          1.00      Revisions to CMO brief and team call re CMO brief.
           Bernick, P.C.

6/15/01    Timothy S        1.50      Edit project lists and ZAI fact outline.
           Hardy

6/15/01    Scott A          2.50      Draft argument outline for hearing on motion to modify
           McMillin                   injuction (1.5); legal research re prosecuting fraudulent
                                      transfer actions (1.0).

6/15/01    Reed S Oslan     1.80      Conference re status of briefing on answers (1.1); review
                                      draft of motions to transfer (.5); consider status (.2).

6/15/01    Andrew R         5.00      Attend to matters re revisions to case management order
           Running                    brief (.5); continue drafting and revising the case
                                      management order brief (4.5).

6/15/01    Christopher B    2.50      Legal research in support of statute of limitations defense
           Sullivan                   (2.0); conference call with W.R. Grace re product history
                                      meeting (.5).




                                           A-35
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 62 of 184




Date       Name            Hours      Description
6/15/01    Christopher B    3.50      Legal research in support of statute of limitations defense
           Sullivan                   (3.0); conference call with W.R. Grace re product history
                                      meeting (.5).

6/15/01    P Renee          0.80      Attend to matters re revisions to case management brief.
           Wicklund

6/15/01    Janet Baer       0.30      Review new correspondence re Privest matters in
                                      Canada.

6/16/01    Timothy S        3.30      Review CMO brief draft (.3); edit ZAI fact outline (.5);
           Hardy                      review J.M.G. Davis tremolite article (.5); review
                                      preliminary injunction claim form (2.0).

6/16/01    Douglas G        2.50      Revise sections of case management order and brief.
           Smith

6/16/01    P Renee          2.80      Attend to matters re case management brief dealing with
           Wicklund                   overview of case management procedures.
6/17/01    Douglas G        4.00      Revise sections of litigation protocol brief.
           Smith

6/17/01    Janet Baer       6.50      Revise brief re notice program and law for Bar
                                      Date/Notice Brief and review documents, case law and
                                      draft notice program in support of same.

6/18/01    James W          0.40      Address issues re retention of experts motion and review
           Kapp                       and revise order re same.

6/18/01    Scott A          0.50      Attend to matters re motion to modify preliminary
           McMillin                   injunction.

6/18/01    Andrew R         2.20      Telephone conference with R. Finke re statute of
           Running                    limitations issues (1.0); attend to matters re additional
                                      statute of limitations research (1.2).

6/18/01    Andrew R         1.10      Telephone conference with R. Finke re statute of
           Running                    limitations issues (.5); attend to matters re additional
                                      statute of limitations research (.6).
6/18/01    Christopher B    6.00      Legal research re statute of limitations.
           Sullivan


                                           A-36
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 63 of 184




Date       Name            Hours      Description
6/18/01    P Renee          3.70      Attend to matters re case management brief dealing with
           Wicklund                   overview of case management procedures (1.7); research
                                      re applicability of Federal Rules of Civil Procedure (2.0).

6/18/01    Janet Baer       2.50      Review various objections to motion to modify injunction
                                      (1.0); review summary re matters related to injunction
                                      (.5); confer with Samson counsel re key witnesses on
                                      cases (.5); attend to various matters re injunction issues
                                      (.5).

6/18/01    Bennett L        2.80      Review pleadings in opposition to motion to continue (.3);
           Spiegel                    jurisdiction of non home court to rule on RFS motion (.5);
                                      CA cases re collateral estopple, indemnitu (1.0); overall
                                      review in preparation for 6/19 hearing (1.0).

6/19/01    David M          0.50      Attend to matters re preliminary injunction issues.
           Bernick, P.C.

6/19/01    David M          5.00      Preparation for preliminary injunction hearing and review
           Bernick, P.C.              of objections re same.

6/19/01    Mark E           0.10      Forward venue transfer briefs to B. Bishop for use as
           Grummer                    models.
6/19/01    Timothy S        0.30      Telephone conference with B. Price re tremolite
           Hardy                      dose/response work.

6/19/01    James W          0.80      Review objections to extension of preliminary injunction
           Kapp                       motion and attend to issues re same.

6/19/01    Scott A         10.70      Review objections to motion to modify preliminary
           McMillin                   injunction and analyze responses (6.7); review cases in
                                      support of motion to modify preliminary injunction (1.0);
                                      draft summaries of key witnesses and documents for
                                      actions to be stayed (1.0); draft amended complaint in
                                      adversary proceeding (2.0).

6/19/01    Reed S Oslan     1.50      Review objections re: injunction issues.

6/19/01    Andrew R         3.10      Continue drafting case management order memorandum.
           Running




                                           A-37
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 64 of 184




Date       Name            Hours      Description
6/19/01    Christopher B    5.00      Legal research in support of Bar Date brief (1.5);
           Sullivan                   draft/edit Bar Date brief (2.0); draft/edit proof of claim
                                      forms (1.5).

6/19/01    P Renee          0.50      Revise portion of case management order re overview of
           Wicklund                   procedural options.

6/19/01    Janet Baer       1.30      Attend to various matters re Bar Date Motion and claims
                                      forms (.3); prepare insert to brief on Non-Asbestos claim
                                      (.5); review and revise printed versions of claim forms
                                      (.5).

6/19/01    Janet Baer       7.30      Numerous internal and external calls and conferences to
                                      gather factual information for hearing on motion modify
                                      injunction (5.5); prepare memo re same (1.0); review new
                                      objections to motion on injunction (.8).

6/19/01    Bennett L        5.30      Preparation for, appearance at hearing before Judge
           Spiegel                    Bluebond re emergency motion to continue pending
                                      motion to transfer venue (2.0); remand (.3); relief from
                                      stay (1.0); conferences with co-counsel prior, subsequent
                                      to hearing (2.0).

6/20/01    David M          7.00      Final revisions to CMO briefing, related client calls.
           Bernick, P.C.
6/20/01    Timothy S        0.50      Telephone conference with D. Kuchinsky re ATSDR
           Hardy                      meeting on 6/18 and 6/19 (.2); telephone conference with
                                      W. Spark re July history meeting (.3).

6/20/01    James W          2.70      Review objection to motion authorizing the retention of
           Kapp                       experts and address issues re same (1.6); review motion
                                      for committees to prosecute fraudulent transfer claims and
                                      address issues re same (.8); review Property Damage
                                      Committee's objection to removal motion and address
                                      issues re same (.3).




                                           A-38
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 65 of 184




Date       Name            Hours      Description
6/20/01    Scott A         11.00      Draft amended complaint (3.0); prepare summaries of
           McMillin                   key personnel and documents (3.0); review key cases in
                                      support of motion to modify (1.0); revise proposed
                                      preliminary injunction order (.5); legal research re
                                      sovereign immunity and draft memorandum re same (2.5);
                                      legal research re equitable indemnity and draft
                                      memorandum re same (1.0).

6/20/01    Andrew R         4.30      Review statute of limitations cases on MK-3 provided by
           Running                    R. Finke (.8); revise draft claim forms (1.2); confer with
                                      K. Fabian re class action proof of claim legal research
                                      (.3); confer with C. Sullivan re statute of limitations legal
                                      research (.5); continue drafting case management order
                                      memorandum (1.5).

6/20/01    Douglas G        6.50      Revise sections of litigation protocol brief.
           Smith

6/20/01    Christopher B    3.50      Draft motion for Bar Date (1.0); edit brief in support of
           Sullivan                   same (2.0); edit Bar Date Order (.5).

6/20/01    P Renee          0.30      Revise case management order.
           Wicklund

6/20/01    Janet Baer       4.90      Confer with various parties re evidence for injunction
                                      hearing (.5); review materials re same (.8); prepare
                                      supplemental memo re same (.4); review draft amended
                                      adversary complaint (.5); internal K&E conferences re
                                      same and revise same (.6); confer with D. Tay re Sealed
                                      Air Canada issues (.3); numerous conferences with
                                      objectors to resolve same (.8); prepare memo to D. Tay
                                      re Canadian issues (1.0).
6/21/01    Scott A          1.50      Review motion to prosecute fraudulent transfer actions
           McMillin                   (.8); conferences re motion to modify preliminary
                                      injunction (.7).




                                           A-39
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 66 of 184




Date       Name            Hours      Description
6/21/01    Andrew R         8.10      Legal research re statute of limitations issues raised in
           Running                    draft case management order memorandum (2.2); review
                                      NESHAP regulations relevant to statute of limitations
                                      issues (1.6); continue drafting case management order
                                      memorandum (3.8); review legal research re class proofs
                                      of claims (.5).

6/21/01    Christopher B    6.00      Legal research in support of Bar Date brief (2.0); edit Bar
           Sullivan                   Date brief (2.5); draft motion (1.5).

6/21/01    Samuel A         2.30      Review and analysis of the various objections to the
           Schwartz                   preliminary injunction and conferences with the client re
                                      same.

6/21/01    Janet Baer       1.50      Confer with J. McFarland re Betz Dearborn indemnity
                                      issues (.5); internal K&E conferences re injunction matter
                                      and revise legal memos re same (.5); review Betz
                                      Dearborn agreements (.5).

6/21/01    Janet Baer       1.00      Further revise Bar Date Notice, Bar Date Order,
                                      instructions and related claim forms.

6/22/01    David M          1.50      Further revisions to CMO brief (2.0); conference with
           Bernick, P.C.              Inselbuch re CMO (.3); conference with Bayna re CMO
                                      (.5); conference with Siegel re status of briefing efforts
                                      (.5).
6/22/01    Michelle H       0.60      Work on fraudulent transfer issue (analyzing PD & PI
           Browdy                     committee filing).

6/22/01    Timothy S        2.50      Review latest CMO draft (1.0); draft CMO paragraphs
           Hardy                      re NESHAP and building exposures (1.0);conference call
                                      with K&E team (.5).

6/22/01    Scott A          3.50      Research re fraudulent transfer claims and work on
           McMillin                   strategy for responding to motion to prosecute fraudulent
                                      transfer claims.

6/22/01    Andrew R         9.30      Telephone conference with Reed, Smith attorneys re
           Running                    statute of limitations and product risk arguments made by
                                      Grace in prior cases.



                                           A-40
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01        Page 67 of 184




Date       Name            Hours      Description
6/22/01    Andrew R         1.50      Revisions to the draft memorandum in support of the
           Running                    motion to establish bar date, approve claim forms,
                                      notification program and case management order (.5);
                                      revise and supplement the memorandum (.3); legal
                                      research re statute of limitations issues raised in the
                                      memorandum (.7).

6/22/01    Douglas G        1.00      Revise case management order brief.
           Smith

6/22/01    Christopher B    8.50      Team meeting (1.0); draft/edit brief in support of case
           Sullivan                   management order (3.0); meeting re case management
                                      order brief (.5); conference calls with Rust Consulting
                                      (1.0); meeting re edits to case management brief (.5);
                                      draft motion for approval of bar date, notice program and
                                      case management order (2.5).

6/22/01    Aaron D          2.00      Cite check Memo in Support of Motion for Entry of Case
           Birnbaum                   Management Order, to Establish Bar Date, and to
                                      Approve Notice Program.

6/22/01    Janet Baer       2.50      Attend to matters re injunction matters (1.5); review
                                      correspondence re Privest matter in Canada (.3); confer
                                      with B. Porter and various K&E attorneys re hearing on
                                      Smolker case and related issues (.7).

6/22/01    Yvette Ney       3.30      Research asbestos standards.
6/23/01    Timothy S        0.90      Edit trial preparation project list.
           Hardy

6/23/01    Shirley A        2.00      Organize Westlaw keycites to cases cited in the
           Pope                       memorandum in Support of Motion for Entry of Case
                                      Management Order (1.0); Westlaw project re cases
                                      incorrectly cited in brief (1.0).

6/23/01    Christopher B    4.00      Draft/edit bar date motion (2.0); draft/edit bar date brief
           Sullivan                   (2.0).

6/23/01    Deanna D         3.10      Read and analyze bar date/case management motion
           Boll                       (2.3); Draft memo re same (.3); Review K. Kinsella draft
                                      affidavit (.5).


                                           A-41
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 68 of 184




Date       Name            Hours      Description
6/24/01    Mark E           3.90      Review Libby venue transfer brief to incorporate
           Grummer                    comments of team (1.0); revise supporting affidavit (2.9).

6/24/01    Janet Baer       3.20      Review and revise draft Motion to Support Memo re Bar
                                      Date (1.2); review draft bar date notice and order and
                                      related claim forms (1.0); review draft memo in support of
                                      Bar Date motion and case management (1.0).

6/25/01    Mark E           2.00      Continue revisions to Libby venue transfer brief and
           Grummer                    supporting affidavit (1.6); K&E office conferences re
                                      same (.4).

6/25/01    Timothy S        0.50      Review comments on draft CMO brief (.1); edit project
           Hardy                      list (.1); telephone conference with R. Finke re B. Price
                                      (.3).

6/25/01    James W          1.20      Address issues re committee's fraudulent conveyance
           Kapp                       motion (.3); address general litigation strategies issues
                                      (.9).

6/25/01    Scott A          8.50      Research and draft supplemental brief in support of
           McMillin                   motion to modify the preliminary injunction (5.5); research
                                      re who should prosecute fraudulent transfer claims (1.5);
                                      analyze responses to motion to prosecute fraudulent
                                      transfer claims and telephone conferences re same (1.5).
6/25/01    Shirley A       10.00      Cite check CMO Memorandum.
           Pope

6/25/01    Andrew R         1.30      Review opinion in Prudential v. USG case at the request
           Running                    of D. Siegel (.4); review additional regulatory materials
                                      relevant to statute of limitations issue (.9).

6/25/01    Andrew R         6.80      Review opinion in Prudential v. USG case at the request
           Running                    of D. Siegel (4.0); review additional regulatory materials
                                      relevant to statute of limitations issue (2.8).

6/25/01    Christopher B    1.90      Edit case management motion (1.2); edit case
           Sullivan                   management brief (.7).

6/25/01    P Renee          0.20      Attend to matters re materials cited in case management
           Wicklund                   order brief.



                                           A-42
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 69 of 184




Date       Name            Hours      Description
6/25/01    Deanna D         0.50      Revise K. Kinsella retention motion, order, and affidavit.
           Boll

6/25/01    Aaron D          9.50      Cite check revised claims section of CMO Memorandum
           Birnbaum                   (6.5); retrieve and prepare documents cited in Memo in
                                      Support of Motion for Entry of Case Management Order
                                      (3.0).

6/25/01    Janet Baer       1.40      Attend to matters re injunction and fraudulent conveyance
                                      matters (.5); confer with various counsel re same (.3);
                                      confer with B. Porter re abstention issues on Smolker
                                      (.3); revise supplemental memo re injunction brief (.3).

6/25/01    Bennett L        0.50      Research re 1336(g)(2) mandatory abstention, personal
           Spiegel                    injury, wrongful death actions (.3); telephone conference
                                      with Brian Porter re same (.2).

6/25/01    Bennett L        0.20      Preparation of draft order denying Smolken RFS motion.
           Spiegel

6/26/01    David M          2.50      Revisions to CMO brief (1.0); conference with McMillen
           Bernick, P.C.              and Baer re fraudulent conveyance (1.5).
6/26/01    Mark E           3.60      Continue revisions to Libby venue transfer memorandum
           Grummer                    and declaration and set up cite check of memorandum
                                      (3.2); begin drafting venue transfer motion re Libby
                                      penalties action (.4).

6/26/01    Timothy S        1.50      Attend to matters re documents for CMO brief (1.0);
           Hardy                      telephone conference with W. Corcoran re New York
                                      Times (.5).

6/26/01    Scott A          6.70      Work on supplemental brief in support of motion to
           McMillin                   modify preliminary injunction (3.3); attend to matters re
                                      motion to modify and fraudulent transfer actions (.7);
                                      research and draft opposition to asbestos committees
                                      motion to prosecute fraudulent transfer actions (2.7).




                                           A-43
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 70 of 184




Date       Name            Hours      Description
6/26/01    Shirley A       13.00      Attend to matters re exhibits to CMO memorandum (.5);
           Pope                       cite check CMO memorandum (11.0); attend to matters
                                      re organization of exhibits to CMO memorandum and
                                      motions (.5); revise table of contents to exhibits and make
                                      changes to organization of exhibits (.5); prepare all
                                      pleadings and appendices of exhibits for forwarding by
                                      messenger to local counsel (.5).

6/26/01    Andrew R         8.60      Revisions to the case management order brief (.8);
           Running                    telephone conference with J. Hughes re actuarial
                                      statements in case management order brief (.4); revise
                                      draft bar date and case management order (.7); revise
                                      draft bar date and case management order motion (1.4);
                                      revise draft memorandum in support of bar date, claim
                                      forms, notification program and case management order
                                      motions (5.3).

6/26/01    Aaron D         13.00      Cite check citations in claims section of CMO
           Birnbaum                   Memorandum (7.5); prepare exhibits attached to CMO
                                      Memorandum (3.0); create index to exhibits re Memo in
                                      Support of Motion for Entry of Case Management (1.5);
                                      assemble and copy check appendix of exhibits to CMO
                                      Memorandum (1.0).

6/26/01    David A          2.00      Review draft Libby transfer of venue brief and supporting
           Codevilla                  Corcoran affidavit, and insert affidavit citations into brief.

6/26/01    Janet Baer      12.00      Review, revise and finalize Motion, Memo, Notices and
                                      Forms re Bar Date/Case Management Motion.

6/26/01    Bennett L        0.10      Telephone conferences with Jan Bayer, Brian Porter re
           Spiegel                    OK on RFS order and finalize, serve, lodge same.
6/27/01    David M          1.50      Finalizing CMO brief.
           Bernick, P.C.

6/27/01    Mark E           6.00      Continue revisions to Libby venue transfer briefs (penalty
           Grummer                    and cost recovery cases) and supporting affidavit and
                                      email same to team for further review.

6/27/01    James W          0.40      Address issues re indemnification strategy.
           Kapp


                                           A-44
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 71 of 184




Date       Name            Hours      Description
6/27/01    Scott A          6.80      Revise supplemental brief in support of motion to modify
           McMillin                   preliminary injunction and prepare for filing (1.0); research
                                      and draft opposition to asbestos committees' motion to
                                      prosecute fraudulent transfer actions (5.8).

6/27/01    Shirley A        0.70      Organize keycites to CMO memorandum for inclusion in
           Pope                       Grace main file.

6/27/01    Andrew R         1.40      Review USG informational brief (.4); legal research re
           Running                    standard for acceptable product risk (1.0).

6/27/01    Andrew R         3.00      Review USG informational brief (.8); legal research re
           Running                    standard for acceptable product risk (2.2).

6/27/01    Christopher B    4.60      Prepare for filing on motion, brief and exhibits (3.2); draft
           Sullivan                   outline for Product History Meeting (1.4).

6/27/01    Aaron D          3.00      Prepare and organize cases and articles cited in Memo in
           Birnbaum                   Support of Motion for Entry of Case Management for
                                      Chicago Main Files.
6/27/01    Janet Baer       5.50      Conference with various parties re filing of Motion,
                                      Memo, Order and exhibits re Bar Date and Case
                                      Management Order and last revisions to same.

6/27/01    Bennett L        0.40      Telephone conference with Brian Porter re assistance in
           Spiegel                    fraudulent order re remand of certain pending appeals and
                                      research re same.

6/28/01    David M          0.50      Conference with R. Raskin re fraudulent conveyance
           Bernick, P.C.              claim.

6/28/01    David M          0.50      Conference with D. Siegel re staffing of litigation regarding
           Bernick, P.C.              liability issues.

6/28/01    Michelle H       1.70      Background reading/analysis for fraudulent conveyance
           Browdy                     case.

6/28/01    Mark E           1.40      Continue drafting brief in support of Libby venue transfer
           Grummer                    motion for penalties action.
6/28/01    Timothy S        0.70      Review final CMO brief (.4); review agenda for 7/12
           Hardy                      meeting (.3).


                                           A-45
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 72 of 184




Date       Name            Hours      Description
6/28/01    James W          0.20      Address strategies re fraudulent conveyance.
           Kapp

6/28/01    Scott A          1.50      Draft opposition to asbestos committees' motion to
           McMillin                   prosecute fraudulent transfer actions.

6/28/01    Andrew R         1.10      Attend to matters re legal research on standard for
           Running                    acceptable product risk (.5); continue legal research re
                                      same (.6).

6/28/01    Christopher B    0.50      Edit outline for Product History Meeting.
           Sullivan

6/28/01    Janet Baer       3.00      Review information on Abstention for Smolker and
                                      prepare transmittal re same (.4); confer with Canadian
                                      counsel re status report for Canadian Court (.3); review
                                      Smolker remand order (.3); review draft response on
                                      motion re fraudulent conveyance matter (1.0); review
                                      revised Libby transfer brief and affidavit (1.0).

6/28/01    Yvette Ney       1.50      Research re asbestos litigation.
6/28/01    Bennett L        0.20      Review Porter draft Remand Order re unrelated appeals
           Spiegel                    and preparation of comments, revisions and telephone
                                      conference with Porter re same.

6/28/01    Bennett L        0.20      Exchange e-mails re further briefing re mandatory
           Spiegel                    abstention and review materials from Bayer re same.

6/28/01    Bennett L        0.10      Telephone conference with Brian Porter re removal under
           Spiegel                    1441, 1452, and proposal re language for order
                                      remanding certain appeal.

6/29/01    Michelle H       2.80      Attend to matters re fraudulent conveyance issue.
           Browdy

6/29/01    Mark E           0.30      Continue drafting Libby venue transfer brief for EPA
           Grummer                    penalties action.

6/29/01    Scott A          2.70      Draft opposition to asbestos committees' motion to
           McMillin                   prosecute fraudulent transfer claims.
6/29/01    Christopher B    0.20      Telephone call with W. Sparks re history meeting.
           Sullivan

                                           A-46
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01       Page 73 of 184




Date       Name           Hours       Description
6/29/01    Kellye L         1.50      Draft class action brief.
           Fabian

6/29/01    Yvette Ney       4.00      Research asbestos litigation.

6/29/01    Bennett L        1.20      Review materials re mandatory abstention from Colliers
           Spiegel                    and begin preparation of outline of supplemental
                                      memorandum to Judge Bluebond.

6/29/01    Bennett L        0.10      Telephone conference with Brian Porter re issue for
           Spiegel                    further briefing, status of order re remand of unrelated
                                      appeal.




                  Matter 23 - Corporate and Securities Matters - Fees


Date       Name           Hours       Description

6/04/01    James H          0.30      Attention to corporate governance issues.
           Sprayregen



                                           A-47
Case 01-01139-AMC   Doc 775-6    Filed 08/02/01      Page 74 of 184




            Matter 24 - Creditors Committee - Fees




                            A-48
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01       Page 75 of 184




Date       Name         Hours      Description
6/01/01    James W       0.10      Telephone conference with A. Krieger re outstanding
           Kapp                    issues.

6/04/01    James W       0.30      Telephone conference with P. Zilly re confidentiality
           Kapp                    agreements (.1); review correspondence from S. Baena
                                   re ordinary course professionals exhibit (.2).

6/04/01    Roger J       0.50      Attend to matters re confidentiality statements.
           Higgins

6/05/01    James W       2.10      Attend to issues re confidentiality agreements with the
           Kapp                    Commercial Committee (.2); telephone conference with
                                   R. Raskin re outstanding issues (.3); telephone conference
                                   with P. Zilly re professional confidentiality agreements and
                                   attend to issues re same and telephone conference with J.
                                   McFarland re same and review and revise proposed
                                   confidentiality agreement (1.6).

6/05/01    Roger J       2.60      Draft confidentiality agreement (1.0); attend to various
           Higgins                 matters re confidentiality agreement (1.6).

6/06/01    James W       4.00      Address issues re confidentiality agreements with various
           Kapp                    committees (.2); telephone conference M. Zaleski re
                                   various issues including Blackstone retention and wage
                                   order (.8); telephone conference with R. Raskin re
                                   employment of professionals and telephone conference
                                   with D. Carickhoff re same (.3); address issues re
                                   confidentiality agreements with Commercial Committee
                                   and telephone conferences with D. Siegel, M. Shelnitz
                                   and P. Zilly and R. Raskin re same and review committee
                                   bylaws re same (2.7).
6/06/01    Samuel A      0.70      Telephone conferences with the property damage
           Schwartz                committee re confidentiality issues (.3); meetings re same
                                   (.4).

6/06/01    Roger J       3.50      Attend to matters re confidentiality agreements for
           Higgins                 committee members and their professionals.




                                        A-49
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01       Page 76 of 184




Date       Name         Hours      Description
6/07/01    James W       1.50      Telephone conference with M. Zeleski re various issues
           Kapp                    including Blackstone retention, hiring experts, and wage
                                   programs (.6); review and revise correspondence to A.
                                   Krieger and attend to issues re same (.4); telephone
                                   conference with D. Siegel re property damage requests
                                   and telephone conference with J. Sakalo re same (.5).

6/08/01    James W       1.10      Review and revise confidentiality provisions to Committee
           Kapp                    bylaws and attend to issues re same and telephone
                                   conference with J. McFarland re same.

6/08/01    Samuel A      1.30      Telephone conferences with the personal injury committee
           Schwartz                and the commercial committee re various pending motions
                                   and applications.

6/08/01    Roger J       0.30      Attend to various matters re confidentiality agreements.
           Higgins

6/11/01    James W       2.40      Attend to issues re confidentiality agreements and
           Kapp                    telephone conferences with R. Raskin and J. McFarland
                                   re same (.8); telephone conference with R. Raskin re
                                   various issues including confidentiality agreements and
                                   Sealed Air press release (.8); telephone conferences with
                                   M. Zaleski and J. Sakalo re various issues and attend to
                                   same (.8).

6/11/01    Samuel A      0.90      Telephone conference with the property damage
           Schwartz                committee and the client re confidentiality agreements (.5);
                                   telephone conferences with the client and the commercial
                                   committee re the Debtors' public bonds (.4).
6/12/01    James W       1.30      Telephone conference with J. McFarland re revisions to
           Kapp                    confidentiality agreements and telephone conference with
                                   R. Raskin re same (.6); address issues re Property
                                   Damage Committee including confidentiality agreements
                                   and revisions to wage orders (.7).

6/12/01    Samuel A      3.10      Telephone conferences with the client and the property
           Schwartz                damage committee negotiating and revising the
                                   confidentiality agreement (2.8); meetings re same (.3).




                                        A-50
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01       Page 77 of 184




Date       Name         Hours      Description
6/13/01    James W       2.50      Telephone conference with M. Zaleski re various issues
           Kapp                    including wage programs and confidentiality agreements
                                   (.2); address issues re Committee bylaws pertaining to
                                   confidentiality and address issues re same (.4); telephone
                                   conference with A. Krieger re financial advisors'
                                   confidentiality agreements (.9); review acknowledgement
                                   form and address issues re same with Commercial
                                   Committee (.4); review and revise confidentiality
                                   agreements for financial advisors and attend to issues re
                                   same (.6).

6/13/01    Samuel A      6.20      Negotiation, review and revision of the confidentiality
           Schwartz                agreements for the Property Damage Committee's and the
                                   Commercial Committee's financial advisors and various
                                   telephone conferences with the client re same.

6/14/01    James W       1.00      Telephone conference with A. Krieger re changes to
           Kapp                    acknowledgment and various other motions and attend to
                                   issues re same (.4); telephone conference with M. Zaleski
                                   re various pending motions (.1); telephone conference
                                   with R. Raskin re various pending motions and attend to
                                   issues re same (.5).

6/14/01    Samuel A      3.40      Telephone conferences with the commercial committee
           Schwartz                and the property damage committee negotiating
                                   confidentiality agreements, pending motions and various
                                   ancillary matters re the Debtors' operations (2.5);
                                   conferences with the client and meeting re same (.9).

6/18/01    James W       0.70      Telephone conference with M. Zaleski re various pending
           Kapp                    motions and attend to issues re same.

6/18/01    Samuel A      1.90      Telephone conferences with the Property Damage
           Schwartz                Committee and the Commercial Committee re the various
                                   motions pending for the hearing of July 21 and negotiation
                                   of the resolution of certain committee concerns re same
                                   (1.4); conferences with the client and meetings re same
                                   (.5).




                                        A-51
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01       Page 78 of 184




Date       Name         Hours      Description
6/19/01    James W       0.40      Address confidentiality issues and agreements with
           Kapp                    various committees and review and revise same (.2);
                                   review Bodily Injury Committee's information request and
                                   attend to issues re same (.2).

6/19/01    Samuel A      5.80      Several telephone conferences with the Property Damage
           Schwartz                Committee and the Commercial Committee resolving
                                   various objections and inquires re the June 21 hearing
                                   (3.4); several telephone conferences with special
                                   environmental counsel and the client re same (2.4).

6/20/01    James W       0.90      Telephone conference with M. Zaleski re various issues,
           Kapp                    including wage orders and de minimis settlement motion
                                   and attend to issues re same.

6/20/01    James W       0.30      Review notice re formation of equity committee and
           Kapp                    attend to issues re same.

6/20/01    Samuel A      4.40      Telephone conferences with the Property Damage
           Schwartz                Committee and the Commercial Committee resolving
                                   various objections to the motions pending for the July 21
                                   hearing (3.2); conferences with the client re same and
                                   meetings re same (1.2).

6/25/01    James W       0.90      Telephone conference with R. Raskin re confidentiality
           Kapp                    agreements and address issues re same (.7); telephone
                                   conference with A. Krieger re confidentiality issues (.2).
6/26/01    James W       1.20      Attend to issues re confidentiality provisions to
           Kapp                    Commercial Committee's bylaws and prepare
                                   correspondence re same to A. Krieger (.8); telephone
                                   conference with R. Raskin re outstanding issues (.4).

6/26/01    Samuel A      3.60      Drafting of correspondence to the commercial committee
           Schwartz                re foreign non-debtor transactions and conferences with
                                   A. Krieger re same (1.2); conferences with the
                                   committees negotiating confidentiality agreements and
                                   various pending motions (2.4).

6/28/01    James W       0.20      Telephone conference with R. Raskin re pending motions.
           Kapp



                                        A-52
          Case 01-01139-AMC     Doc 775-6     Filed 08/02/01       Page 79 of 184




Date       Name         Hours      Description
6/28/01    Samuel A      0.70      Telephone conferences with the committees re
           Schwartz                confidentiality and professional retention issues (.6);
                                   meetings re same (.1).




                                        A-53
          Case 01-01139-AMC          Doc 775-6    Filed 08/02/01       Page 80 of 184




                     Matter 25 - Creditors/Shareholders Inquiries - Fees


Date       Name             Hours       Description
6/01/01    Samuel A           1.60      Telephone conferences with various attorneys and
           Schwartz                     creditors re the status of the cases.

6/01/01    Brigitte F         1.60      Respond to creditor telephone calls and prepare
           Windley                      documents for facsimiles to creditors.

6/04/01    Samuel A           0.60      Telephone conferences with various creditors and
           Schwartz                     attorneys re the status of the cases.

6/04/01    Brigitte F         0.70      Telephone conferences with P. Gellar and office of R.
           Windley                      Stein re inquiries concerning case commencement.

6/05/01    Brigitte F         1.40      Respond to creditor inquiries and prepare documents for
           Windley                      transmittal re same.

6/05/01    Roger J            0.50      Attend to matters re various creditor inquiries.
           Higgins
6/06/01    Brigitte F         1.00      Respond to creditor inquiries and prepare emails
           Windley                      transmitting documents to same.

6/06/01    Janet Baer         0.50      Confer with various creditors re case status, service,
                                        injunction and related matters.

6/07/01    James W            0.20      Telephone conference with representatives of Brunswick
           Kapp                         re bankruptcy cases.

6/07/01    Samuel A           1.90      Telephone conferences with various attorneys and
           Schwartz                     creditors re the status of the cases.

6/07/01    Brigitte F         0.70      Respond to creditor inquiries re chapter 11 filing.
           Windley

6/07/01    Roger J            0.50      Attend to matters re various creditor inquiries.
           Higgins
6/08/01    Samuel A           1.70      Telephone conferences with various attorneys and
           Schwartz                     creditors re the status of the cases.




                                             A-54
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01       Page 81 of 184




Date       Name         Hours      Description
6/08/01    Brigitte F    0.40      Respond to creditor inquiries re receipt of notice of
           Windley                 commencement.

6/12/01    Samuel A      1.40      Telephone conferences with various attorneys and
           Schwartz                creditors re the status of the cases.

6/12/01    Janet Baer    0.50      Respond to various inquiries for case materials.

6/13/01    Samuel A      1.40      Telephone conferences with various attorneys and
           Schwartz                creditors re the status of the cases.

6/13/01    Roger J       0.30      Attend to matters re various creditor inquiries.
           Higgins

6/14/01    James W       0.10      Review correspondence re particular joint venture.
           Kapp
6/14/01    Roger J       0.30      Attend to matters re various creditor inquiries.
           Higgins

6/15/01    James W       0.50      Telephone conference with J. Davis re status of
           Kapp                    bankruptcy cases (.2); telephone conference with N.
                                   Foules of the Securities and Exchange Commission re
                                   status of bankruptcy cases (.3).

6/18/01    Samuel A      0.80      Telephone conferences with various creditor and
           Schwartz                attorneys re the status of the cases.

6/19/01    Brigitte F    0.80      Respond to creditor request for case documents.
           Windley

6/21/01    Brigitte F    1.30      Telephone conference with D. Blechman (.2); respond to
           Windley                 requests for documents from D. Blechman (1.1).

6/22/01    Samuel A      2.50      Telephone conferences with various creditors and
           Schwartz                attorneys re the status of the cases.
6/22/01    Brigitte F    1.10      Telephone conferences with P. Cuniff re requests for
           Windley                 documents (.3); respond to requests for central file
                                   documents (.8).

6/25/01    James W       0.20      Telephone conference with H. Kamersley re status of
           Kapp                    bankruptcy cases.



                                        A-55
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01       Page 82 of 184




Date       Name         Hours      Description
6/25/01    Samuel A      1.30      Telephone conferences with various attorneys and
           Schwartz                creditors re the status of the cases.

6/25/01    Brigitte F    1.70      Respond to request for documents from court's docket
           Windley                 (.7); telephone conference with local counsel paralegal re
                                   same (.2); respond to requests for docket documents
                                   (.8).

6/28/01    James W       0.20      Review correspondence to Dateline NBC (.1); telephone
           Kapp                    conference with B. Waitling re status of bankruptcy cases
                                   (.1).

6/28/01    Brigitte F    1.30      Respond to requests for case documents.
           Windley

6/28/01    Brigitte F    0.80      Respond to K. Mangual's request for additional case
           Windley                 documents.

6/28/01    Janet Baer    0.50      Respond to various creditor inquiries re case status,
                                   injunction and remaining issues.
6/29/01    Shirley A     0.50      Search files re documents requested by Kramer Levin
           Pope                    Naftalis & Frankel and forward by Federal Express.

6/29/01    Brigitte F    0.60      Respond to requests for docket documents.
           Windley




                                        A-56
          Case 01-01139-AMC       Doc 775-6    Filed 08/02/01      Page 83 of 184




                   Matter 26 - DIP Financing/Cash Collateral - Fees


Date       Name          Hours       Description
5/21/01    Lena Mandel     0.90      Review Chicago title memo (.4); telephone conferences
                                     with V. Finkelstein and Chicago Title Co. re same (.5).

6/13/01    Lena Mandel     0.20      Telephone conference with R. Lapiderio re note payable
                                     from a non-debtor subsidiary.




                                          A-57
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01      Page 84 of 184




                       Matter 27 - Employee Matters - Fees


Date       Name         Hours      Description
6/04/01    James W       3.10      Telephone conference with A. Krieger re Committee
           Kapp                    revisions to wage motion (.2); attend to issues re Personal
                                   Injury Committee request and telephone conference with
                                   M. Zaleski re same (2.5); telephone conference with B.
                                   McGowan re employment issues and review materials re
                                   same (.4).

6/04/01    Roger J       5.50      Prepare revised order for wage programs and key
           Higgins                 employee retention programs (3.0); telephone conference
                                   with M. Zaleski re key employee retention programs (.5);
                                   attend to various matters re employee programs (2.0).

6/05/01    James W       0.40      Review and revise amended wage order and address
           Kapp                    issues re same.

6/05/01    Roger J       0.30      Attend to various matters re motion for reconsideration.
           Higgins




                                        A-58
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01       Page 85 of 184




Date       Name         Hours      Description
6/06/01    James W       4.70      Review and revise wage order to incorporate negotiations
           Kapp                    with Commercial Committee and attend to issues re same
                                   (1.5); telephone conference with M. Fabritto re honoring
                                   certain obligations to officers and directors (.4); revise
                                   change in contract language and attend to issues re same
                                   (.6); telephone conference with R. Raskin re changes to
                                   wage order and assumption of employee contracts and
                                   telephone conferences with D. Siegel and B. McGowan
                                   re same (.4); review and revise amended order assuming
                                   employee contracts and attend to issues re same (1.5);
                                   telephone conference with D. Siegel re employee
                                   programs (.3).

6/06/01    Roger J       2.80      Revise modified Wage and Key Employee Retention
           Higgins                 Programs Order (.8); draft revised order to assume
                                   executory contracts (1.0); attend to matters re revised
                                   Wage and Key Employee Retention Programs Order
                                   (.2); attend to matters re revised order to assume
                                   executory contracts (.8).

6/07/01    James W       4.00      Review correspondence from D. Siegel re changes to
           Kapp                    wage order and attend to issues re same (.2); telephone
                                   conference with M. Zaleski, L. Tersigni, D. Siegel and B.
                                   McGowan re employee programs and attend to issues re
                                   same (2.4); address issues re change in control provisions
                                   and telephone conference with B. McGowan re same
                                   (.7); review and revise wage orders and address issues re
                                   same (.7).

6/07/01    Roger J       4.70      Telephone conference with M. Zaleski of Asbestos
           Higgins                 Personal Injury Committee and others re various issues
                                   relating to wage and key employee retention programs
                                   (2.0); attend to matters re revised orders and other wage
                                   program matters (2.7).

6/08/01    James W       0.40      Attend to issues re collective bargaining agreements (.2);
           Kapp                    review revised wage order and attend to issues re same
                                   (.2).




                                        A-59
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01      Page 86 of 184




Date       Name         Hours      Description
6/08/01    Roger J       3.00      Revise orders for wage programs and key employee
           Higgins                 retention programs (1.5); draft form letters to outside
                                   directors and VSPP recipients (1.0); attend to matters
                                   related thereto (.5).

6/11/01    James W       3.30      Attend to issues re change in control provisions and
           Kapp                    address objections re same (.8); attend to Commercial
                                   Committee's revisions to various wage orders and
                                   telephone conferences with D. Siegel and B. McGowan
                                   re same (1.7); review letters to employees re termination
                                   or limitations upon certain employee programs and attend
                                   to issues re same (.8).

6/11/01    Roger J       4.80      Attend to matters concerning unsecured creditors'
           Higgins                 committee comments to revised orders.

6/12/01    James W       3.30      Telephone conference with J. Sakalo re changes to
           Kapp                    employee retention programs and attend to same (1.4);
                                   review and revise wage order, employee retention order
                                   and assumption orders and address issues re same and
                                   telephone conference with B. McGowan re same (1.7);
                                   attend to issues re letters to employees concerning
                                   modifications to wage programs (.2).

6/12/01    Roger J       1.00      Attend to matters re revisions to wage orders.
           Higgins

6/13/01    James W       1.00      Telephone conference with J. Sakalo, B. McGowan, D.
           Kapp                    Siegel and G. Boyer re long term retention programs and
                                   assumption of employee contracts.
6/13/01    Roger J       1.00      Telephone conference with J. Sakalo and G. Boyers re
           Higgins                 property damage committee issues with various wage,
                                   benefit and retention programs (.6); attend to matters
                                   related thereto (.4).

6/14/01    James W       0.70      Attend to Creditors Committee's comments to revised
           Kapp                    wage orders (.3); attend to issues re modifications of
                                   wage orders (.4).

6/14/01    Roger J       0.50      Telephone conference with A. Krieger re various wage
           Higgins                 program orders (.2); attend to matters re same (.3).


                                        A-60
          Case 01-01139-AMC         Doc 775-6    Filed 08/02/01      Page 87 of 184




Date       Name             Hours      Description
6/15/01    James W           0.30      Address issues re wage orders and telephone conference
           Kapp                        with J. Sakalo re same.

6/18/01    John S Irving,    1.20      Attend to matters re labor issues and follow-up research
           Jr.                         re stay of arbitration proceedings.

6/18/01    James W           1.40      Revise wage orders re B. McGowan's suggestions and
           Kapp                        review and revise same (.4); telephone conference with J.
                                       Sakalo re revisions to wage orders and attend to issues re
                                       same (.1); address issues re potential modifications to
                                       employee programs (.7); telephone conference with J.
                                       Sakalo re changes to wage orders (.2).

6/18/01    R Timothy         1.20      Attend to matters re labor & employment issues likely to
           Stephenson                  arise during Chapter 11 restructuring.

6/18/01    Janet Baer        0.50      Internal K&E conference re labor matters and review
                                       memo re same.

6/19/01    James W           0.80      Telephone conferences with J. Sakalo, D. Siegel, B.
           Kapp                        McGowan re wage orders and attend to issues re same
                                       and telephone conference with M. Zaleski re same.
6/19/01    Roger J           1.00      Attend to matters re changes to various wage programs
           Higgins                     orders.

6/20/01    James W           3.20      Telephone conference with J. Sakalo re changes to wage
           Kapp                        orders (.1); review and revise wage orders and attend to
                                       issues re same and telephone conference with B.
                                       McGowan re same (3.1).

6/20/01    R Timothy         0.50      Complete legal research and prepare files for anticipated
           Stephenson                  labor & employment legal issues arising during course of
                                       bankruptcy proceedings.

6/20/01    Roger J           2.30      Attend to matters re revised wage orders.
           Higgins

6/22/01    James W           0.30      Telephone conference with B. McGowan re letters to
           Kapp                        employees re wage programs.




                                            A-61
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01       Page 88 of 184




Date       Name         Hours      Description
6/25/01    James W       1.40      Telephone conference with D. Siegel re wage programs
           Kapp                    (.4); review motion of former employees re payment of
                                   indemnification and attend to issues re same (1.0).

6/25/01    James H       0.50      Attention to strategy and tactics related to employee
           Sprayregen              incentive program.

6/25/01    Samuel A      0.70      Review of the motion to compel the Debtors to pay
           Schwartz                certain employee benefits (.5); and meeting re same (.2).

6/27/01    Samuel A      1.90      Telephone conferences with the client re employee
           Schwartz                indemnification issues and drafting of various
                                   correspondence re same (1.7); review and analysis of the
                                   motion to compel re same (.2).

6/28/01    James W       0.70      Participate in strategy telephone conference with D. Siegel
           Kapp                    re indemnification motion and attend to issues re same.

6/28/01    James H       0.60      Conference call with D. Siegel concerning strategy and
           Sprayregen              tactics related to motion to compel payment on an
                                   indemnification of claims related to SEC investigation (.2);
                                   consideration of strategy and tactics related to same (.4).
6/29/01    James W       1.00      Telephone conferences with R. Raskin and M. Zaleski re
           Kapp                    employee motion to compel payment of indemnification
                                   and telephone conference with J. Sakalo re same.




                                        A-62
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 89 of 184




                        Matter 28 - Environmental Issues - Fees


Date       Name           Hours       Description
6/01/01    David A          2.70      Revise detailed chart of Grace environmental obligations.
           Codevilla

6/04/01    David A          2.50      Continue revisions/edits to detailed chart of Grace
           Codevilla                  environmental obligations.

6/04/01    Janet Baer       0.90      Confer with M. Pompaney re status of environmental
                                      matters (.3); confer with W. Corcoran re Western
                                      Minerals (.3); various conferences re Zhagrus motion and
                                      agreement (.3).

6/05/01    Mark E           1.00      Revise detailed table of remediation sites.
           Grummer

6/06/01    Mark E           0.20      Attend to matters re Western Minerals settlement status.
           Grummer


                                           A-63
          Case 01-01139-AMC       Doc 775-6    Filed 08/02/01      Page 90 of 184




Date       Name           Hours      Description
6/06/01    Janet Baer      1.80      Significant discussions and correspondence re Western
                                     Minerals (.5); review and assemble Western Minerals
                                     documents for clients (.5); confer with R. Finke and EPA
                                     re Western Minerals (.5); confer with various parties re
                                     Zhagrus (.3).

6/07/01    Mark E          1.90      Review Western Minerals draft settlement agreement and
           Grummer                   work plan and respond to team re same.

6/07/01    Janet Baer      3.20      Review Western Minerals Settlement Agreement and
                                     attachments in preparation for conference with clients re
                                     same (1.0); lengthy discussion with clients re Western
                                     Minerals status and comments on agreement and
                                     documents (1.5); further confer with D. Cleary re
                                     Western Minerals (.3); prepare status memo to W.
                                     Corcoran re Western Minerals (.4).

6/11/01    Jane E Davis    2.50      Draft table compiling caselaw re abandonment of
                                     contaminated sites.

6/12/01    Jane E Davis    3.00      Draft table compiling caselaw re abandonment of
                                     contaminated sites.

6/13/01    Mark E          0.20      Exchange emails with team re Western Minerals status.
           Grummer
6/14/01    Mark E          0.60      Prepare for and participate in conference call re EPA's
           Grummer                   position re not accepting 1% cleanup standard.

6/14/01    Janet Baer      0.50      Attend conference re status of Western Minerals
                                     Agreement.

6/18/01    Mark E          0.10      Attend to matters re various environmental issues.
           Grummer

6/19/01    Janet Baer      1.00      Confer with clients re Western Minerals Agreement and
                                     related issues and review various correspondence re
                                     same.

6/20/01    Reed S Oslan    1.50      Review memo re strategy going forward and consider
                                     status.




                                          A-64
          Case 01-01139-AMC         Doc 775-6    Filed 08/02/01       Page 91 of 184




Date       Name            Hours       Description
6/20/01    Janet Baer        0.80      Confer with clients re Western Minerals Industrial site
                                       issues.

6/25/01    Mark E            1.90      Review questions from R. Emmett re handling of
           Grummer                     remediation site liabilities and prepare for and participate
                                       in conference call with several Grace representatives re
                                       same (1.2); review Russel Field notice/demand and attend
                                       to matters re same (.7).

6/25/01    Janet Baer        1.20      Confer with W. Corcoran re Western Minerals (.2);
                                       confer with clients and K&E counsel re certain
                                       environmental issues (1.0).

6/26/01    Mark E            0.30      Exchange correspondence with team re Russell Field
           Grummer                     notice

6/27/01    Janet Baer        0.50      Respond to client inquiries and confer with K&E
                                       personnel re same and status of Libby matters.




                  Matter 29 - File, Docket, Calendar Maintenance - Fees


Date       Name            Hours       Description
6/01/01    Sabrina M         3.20      Update case file index with new documents and prepare
           Mitchell                    for inclusion into the central files.

6/04/01    James W           0.40      Review checklist and attend to issues re same.
           Kapp




                                            A-65
          Case 01-01139-AMC     Doc 775-6     Filed 08/02/01       Page 92 of 184




Date       Name         Hours      Description
6/04/01    Sabrina M     5.00      Update case file index with new documents and prepare
           Mitchell                for inclusion into the central files (3.5); review online
                                   docket and identify new documents using the court's
                                   website (1.5).

6/05/01    James W       0.20      Review docket.
           Kapp

6/05/01    Sabrina M     1.50      Review online docket and download new documents for
           Mitchell                inclusion into the central files.

6/06/01    Sabrina M     2.00      Identify new documents using the court's website and
           Mitchell                prepare for inclusion into central files.

6/07/01    Sabrina M     2.50      Identify new documents using the court's website and
           Mitchell                prepare for inclusion into central files.

6/08/01    Sabrina M     2.00      Review online docket and identify new documents using
           Mitchell                the court's website (1.5); prepare and include new
                                   documents into central files (.5).
6/11/01    Sabrina M     1.00      Identify new documents using the court's website and
           Mitchell                prepare for inclusion into central files (.5); retrieve
                                   pleadings (.5).

6/12/01    James W       0.10      Review docket.
           Kapp

6/12/01    Sabrina M     4.50      Identify new documents using the court's website (1.5);
           Mitchell                update case file index with new documents and prepare
                                   for inclusion into the central files (2.7); retrieve documents
                                   for use by attorneys (.2); prepare and distribute updated
                                   docket to attorneys (.1).

6/13/01    Sabrina M     2.50      Review online docket and identify new documents using
           Mitchell                court's website (1.0); update case file index with new
                                   documents and prepare for inclusion into central files
                                   (1.5).

6/14/01    Sabrina M     2.80      Download new documents off the court's website and
           Mitchell                cross-reference with hard copies.




                                        A-66
          Case 01-01139-AMC     Doc 775-6     Filed 08/02/01       Page 93 of 184




Date       Name         Hours      Description
6/15/01    Sabrina M     1.00      Review docket and download new documents to be
           Mitchell                included in the central files.

6/18/01    Sabrina M     6.00      Review online docket and download new documents
           Mitchell                from the court's website (3.5); update case file index with
                                   new documents and prepare for inclusion into central files
                                   (2.5).

6/18/01    Bennett L     0.10      Check docket for tentative ruling.
           Spiegel

6/19/01    James W       0.20      Review docket.
           Kapp

6/19/01    Sabrina M     5.80      Update central file docket binders with new documents
           Mitchell                downloaded from the court's website (3.5); create labels
                                   and organize new documents into central files (1.5);
                                   update case file index with new documents and prepare
                                   for inclusion into central files (.8).

6/20/01    Sabrina M     2.50      Update motion status and proof of claims charts (.4);
           Mitchell                update case file index with new documents and prepare
                                   for inclusion into central files (2.1).
6/22/01    Sabrina M     4.80      Update case file index with new documents and prepare
           Mitchell                for inclusion into central files (2.8); identify new pleadings
                                   using the court's website and update central files with the
                                   same (2.0).

6/25/01    James W       0.20      Review docket and motion status memorandum.
           Kapp

6/25/01    Sabrina M     3.50      Update case file index with new documents and prepare
           Mitchell                for inclusion into central files (2.0); identify new pleadings
                                   using the court's website and update central files with the
                                   same (1.5).

6/26/01    Sabrina M     3.00      Update case file index with new documents and prepare
           Mitchell                for inclusion into central files (2.0); identify new pleadings
                                   using the court's website and update central files with the
                                   same (1.0).



                                        A-67
          Case 01-01139-AMC     Doc 775-6     Filed 08/02/01       Page 94 of 184




Date       Name         Hours       Description
6/27/01    Sabrina M     3.00       Update case file index with new documents and include
           Mitchell                 into central files (2.0); identify new pleadings using the
                                    court's website and update central files with the same
                                    (1.0).

6/28/01    Sabrina M     1.50       Update case file index with new documents and include
           Mitchell                 into central files.




                              Matter 30 - Hearings - Fees


                                         A-68
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01      Page 95 of 184




Date       Name            Hours      Description
6/01/01    James W          0.10      Attend to issues re scheduling of hearing and telephone
           Kapp                       conference with L. Jones re same.

6/13/01    Bennett L        0.60      Preparation of emergency motion to continue 6/19
           Spiegel                    hearings (.3); preparation of proposed order granting
                                      same (.3).

6/14/01    Bennett L        0.20      Telephone conference with Judge Bluebond law clerk re
           Spiegel                    setting hearing for 6/19 on emergency motion to continue,
                                      notice requirements re same (.1); follow up telephone
                                      conference with B. Porter re telephonic notice (.1).

6/16/01    Bennett L        1.20      Review various reply, supplemental memoranda re
           Spiegel                    motions set for June 21.

6/17/01    David M          1.50      Preparation for further hearing on preliminary injunction
           Bernick, P.C.              motion.

6/18/01    David M          3.50      Preparation for hearing regarding preliminary injunction.
           Bernick, P.C.
6/18/01    James H          0.60      Attention to potential resolution of disputed issues related
           Sprayregen                 to forthcoming hearing on June 21 and preparation for
                                      disputed hearing re same.

6/18/01    Samuel A         0.90      Review and revise the July 19 agenda letter and
           Schwartz                   conferences with Delaware counsel re same.

6/18/01    Janet Baer       0.30      Review June 21 hearing agenda.

6/19/01    James W          0.80      Review and revise agenda for June 21, 2001, hearing and
           Kapp                       address issues re same.

6/19/01    James H          0.40      Review objections to motions set for hearing on
           Sprayregen                 Thursday, June 21, 2001, and consideration of strategy
                                      and tactics to resolutions.

6/20/01    James W          1.50      Prepare memorandum summarizing status of pending
           Kapp                       motions and address issues re same.
6/20/01    James H          1.10      Review objections to motions set for hearing on
           Sprayregen                 Thursday, June 21, 2001, and consideration of strategy
                                      and tactics related to resolutions.



                                           A-69
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01       Page 96 of 184




Date       Name            Hours      Description
6/21/01    David M          8.00      Preparation for and attending hearing before Judge
           Bernick, P.C.              Farnan.

6/21/01    James W         13.60      Prepare for hearing and attend same and conversations
           Kapp                       with B. McGowan, K. Coghlan, D. Siegel, M. Zaleski
                                      and R. Raskin re same.

6/21/01    James H          0.60      Review objections to motions set for hearing on
           Sprayregen                 Thursday, June 21, 2001, and consideration of strategy
                                      and tactics related to resolutions.

6/21/01    James H          2.50      Prepare for and attend court hearing.
           Sprayregen

6/21/01    Samuel A         7.10      Preparation for and meetings with the client and local
           Schwartz                   counsel re the July 19 hearing (3.7); attendance of the July
                                      19 hearing in Wilmington, Delaware (3.4).

6/21/01    Bennett L        0.20      Attend to matters re Delaware hearing.
           Spiegel
6/22/01    James W          0.50      Attend to issues re June 21, 2001, hearing and telephone
           Kapp                       conversations with D. Siegel re same.

6/22/01    Bennett L        0.20      Attend to matters re report on June 21 hearing in
           Spiegel                    Delaware (.1); follow up telephone conference with Brian
                                      Porter re same (.1).

6/22/01    Bennett L        6.00      Preparation for, appearance at hearings on motion to
           Spiegel                    change venue, motion to abstain, remand, motion for relief
                                      from stay and conferences with other counsel prior,
                                      subsequent to hearing (4.0); arguments (1.5); divide tasks
                                      for follow up (.5).

6/25/01    James W          0.30      Attend to issues re motions scheduled for July 19, 2001,
           Kapp                       hearing.

6/26/01    James W          0.90      Telephone conference with D. Siegel re strategies re
           Kapp                       several motions, including employee indemnification
                                      motion and motion to compel assumption or rejection of
                                      lease.

6/29/01    James W          0.20      Telephone conference with D. Carickhoff re July 19,
           Kapp                       2001, hearing.

                                           A-70
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01      Page 97 of 184




                      Matter 31 - Intellectual Property - Fees


Date       Name         Hours      Description
6/28/01    James W       0.20      Review correspondence re particular patent.
           Kapp




                                       A-71
          Case 01-01139-AMC         Doc 775-6    Filed 08/02/01       Page 98 of 184




                  Matter 32 - K&E Fee Application, Preparation of - Fees


Date       Name            Hours       Description
6/10/01    Roger J           4.00      Attend to matters re May K&E fee application.
           Higgins

6/11/01    Sabrina M         3.50      Work on making corrections to initial fee application.
           Mitchell

6/12/01    Sabrina M         0.50      Insert matter numbers on fee application for billing
           Mitchell                    department.

6/18/01    Roger J           1.70      Revise bill detail for May K&E fee application.
           Higgins

6/18/01    Sabrina M         0.50      Attend to matters re fee application.
           Mitchell

6/20/01    Sabrina M         7.50      Cross-reference new billing data (.5); create Exhibits A
           Mitchell                    and B for the fee application (7.0).
6/21/01    Elizabeth Cox     0.40      Attend to matters re fee application preparation.
           Arnold

6/21/01    Sabrina M         7.00      Prepare fee application pleadings using the information
           Mitchell                    from Exhibits A and B.

6/22/01    Roger J           1.00      Attend to matters re May K&E Fee Application.
           Higgins

6/22/01    Sabrina M         3.00      Work on making corrections to the fee application.
           Mitchell

6/25/01    Bertha            1.00      Review and distribute exhibits re May fee application (.6);
           Serrano                     internal K&E conference re new format in preparation of
                                       exhibits (.4).

6/26/01    James W           4.60      Review and revise May fee application.
           Kapp
6/26/01    Bertha            0.60      Review and distribute exhibits re expenses (.5); attend to
           Serrano                     matters re revisions to exhibits (.1).


                                            A-72
          Case 01-01139-AMC     Doc 775-6    Filed 08/02/01       Page 99 of 184




Date       Name         Hours      Description
6/26/01    Roger J       0.80      Attend to matters re preparation of May fee application.
           Higgins

6/26/01    Sabrina M     0.50      Attend to matter re fee application.
           Mitchell

6/27/01    Roger J       0.50      Attend to matters re May K&E fee application.
           Higgins

6/27/01    Sabrina M     1.00      Internal K&E conference re fee application.
           Mitchell

6/28/01    James W       0.20      Address issues re May fee application.
           Kapp

6/28/01    Aletheia V    0.20      Assist with fee application.
           Anderson
6/28/01    Lesley A      0.70      Assist in preparation of monthly fee application.
           Drinkwater

6/28/01    Roger J       1.50      Attend to matters re May K&E fee application.
           Higgins

6/28/01    Sabrina M     3.50      Work on preparing fee application.
           Mitchell

6/29/01    James W       0.30      Attend to issues re May fee application.
           Kapp

6/29/01    Jua H         0.50      Revise fee application.
           Howard

6/29/01    Sabrina M     1.50      Prepare final fee application and sent to local counsel for
           Mitchell                filing.




                                        A-73
          Case 01-01139-AMC    Doc 775-6      Filed 08/02/01      Page 100 of 184




                       Matter 33 - Lease Rejection Claims - Fees


Date        Name          Hours     Description
6/04/01     James W         0.30    Review objection to lease rejection motion and address
            Kapp                    issues re same.

6/05/01     James W         0.20    Attend to issues pertaining to objection to lease rejection
            Kapp                    notice.

6/06/01     James W         0.40    Telephone conference with R. Raskin re Daleen objection
            Kapp                    to lease rejection and address issues re same.

6/08/01     Roger J         1.30    Draft letter to G. Hornberger (.3); attend to matters
            Higgins                 related thereto (1.0).

6/11/01     James W         0.30    Review and revise correspondence to landlord re rejected
            Kapp                    lease.

6/13/01     James W         0.10    Address issues re Daleen objection to lease rejection.
            Kapp
6/14/01     James W         0.80    Review correspondence re obligations under equipment
            Kapp                    leases (.2); review CMGI objection to lease extension
                                    motion and attend to same (.6).

6/14/01     Samuel A        0.80    Review of the CMGI 365(d)(4) objection and
            Schwartz                conferences with the client re various real estate matters.

6/15/01     James W         0.50    Address issues re objection to lease extension motion and
            Kapp                    attend to issues re same.

6/15/01     Samuel A        1.40    Telephone conferences with the client and D. Rosner re
            Schwartz                the CMGI objection (1.1); review and analysis of the
                                    CMGI objection (.3).

6/18/01     James W         0.20    Address issues re CMGI objection to lease extension
            Kapp                    motion.


                                         A-74
          Case 01-01139-AMC   Doc 775-6     Filed 08/02/01      Page 101 of 184




Date        Name        Hours     Description
6/18/01     Samuel A      3.40    Telephone conferences with the client re lease rejections,
            Schwartz              lease termination agreements, information requests of the
                                  property damage committee and the objection of CMGI
                                  (1.9); telephone conferences with various attorneys re
                                  same and meetings re same (1.5).

6/19/01     James W       0.30    Review correspondence re lease rejection and attend to
            Kapp                  issues re same.

6/19/01     Samuel A      1.90    Telephone conferences with the client and opposing
            Schwartz              counsel re the CMGI objection (.8); review and revision
                                  of the lease termination agreement and conferences with
                                  the client re same (1.1).

6/20/01     Samuel A      1.60    Telephone conferences with the client and M. Minuti
            Schwartz              negotiating the CMGI objection (1.3); revision of the
                                  order re same (.3).

6/21/01     Samuel A      4.10    Telephone conferences with CMGI and the client
            Schwartz              negotiating the objection to the 365(d)(4) motion and
                                  research re same (3.1); revision of the order re same and
                                  meetings re same (1.0).

6/25/01     Samuel A      0.50    Review the First Union motion to compel assumptions.
            Schwartz
6/26/01     James W       0.90    Review First Union motion to compel assumption or
            Kapp                  rejection of Contract and attend to issues re same.

6/27/01     Samuel A      2.20    Review and revision of the lease assignment agreement
            Schwartz              (1.8); telephone conferences with the client re same (.4).

6/29/01     Samuel A      0.80    Telephone conferences with the client analyzing various
            Schwartz              lease and real estate matters.




                                       A-75
          Case 01-01139-AMC   Doc 775-6    Filed 08/02/01      Page 102 of 184




                          Matter 34 - Lien Issues - Fees


Date        Name        Hours     Description
6/14/01     James W       0.30    Review letter from H. L. Blair & Associates and attend to
            Kapp                  issues re same.




                                       A-76
          Case 01-01139-AMC   Doc 775-6     Filed 08/02/01       Page 103 of 184




                      Matter 35 - Other Fee Applications - Fees


Date        Name         Hours     Description
6/11/01     James W        1.10    Attend to matters re evaluation of professional fees and
            Kapp                   telephone conference with D. Carickhoff re same.




                                        A-77
          Case 01-01139-AMC   Doc 775-6    Filed 08/02/01      Page 104 of 184




                       Matter 36 - Reclamation Claims - Fees


Date        Name        Hours     Description
6/14/01     James W       0.20    Address issues re preparation of reclamation reports.
            Kapp

6/25/01     Roger J       0.50    Attend to matters re reclamation claims.
            Higgins

6/26/01     Roger J       0.50    Telephone conference with J. Forehand re reclamation
            Higgins               claims.




                                       A-78
          Case 01-01139-AMC       Doc 775-6      Filed 08/02/01      Page 105 of 184




       Matter 37 - Reorganization Plan/Disclosure Statement/Confirmation Issues - Fees


Date         Name            Hours     Description
6/07/01      James H           0.70    Conference with D. Siegel concerning strategy and tactics
             Sprayregen                related to reorganization matters.

6/07/01      Roger J           2.00    Draft motion to extend section 1121(d) exclusivity period.
             Higgins

6/08/01      Roger J           3.30    Draft motion to extend section 1121(d) exclusivity period.
             Higgins

6/14/01      James H           0.80    Conferences with D. Siegel concerning strategy and
             Sprayregen                tactics related to reorganization issues.

6/18/01      Roger J           2.20    Draft section 1121(d) motion to extend exclusivity period.
             Higgins

6/22/01      James H           0.60    Attention to strategy and tactics related to formulation of
             Sprayregen                plan of reorganization.
6/28/01      James W           0.50    Review and revise motion to extend exclusivity period.
             Kapp

6/29/01      James W           1.20    Review and revise exclusivity motion.
             Kapp




                                            A-79
          Case 01-01139-AMC        Doc 775-6      Filed 08/02/01      Page 106 of 184




                      Matter 38 - Retention of Professionals/Fees - Fees


Date        Name             Hours      Description
6/01/01     Deanna D           2.00     Consider issues re Kinsella retention and review
            Boll                        precedent re notice expert retention.

6/01/01     Roger J            0.30     Attend to matters re Blackstone Order.
            Higgins

6/04/01     James W            1.20     Attend to issues re retention of professionals pertaining to
            Kapp                        a joint venture agreement (.2); address Commercial
                                        Committee's revisions to Blackstone retention and
                                        telephone conference with A. Krieger re same (1.0).

6/04/01     Samuel A           0.70     Telephone conferences with the client re ordinary course
            Schwartz                    professionals and various retention issues.

6/04/01     Roger J            1.00     Attend to matters re Blackstone order.
            Higgins

6/05/01     James W            0.70     Review and revise Blackstone retention application and
            Kapp                        attend to issues re same (.2); attend to indemnification
                                        issues re particular professionals (.5).
6/05/01     Samuel A           0.80     Telephone conferences with various attorneys and the
            Schwartz                    client re the retention of professionals (.4); review of
                                        applications re same (.4).


                                             A-80
          Case 01-01139-AMC   Doc 775-6     Filed 08/02/01       Page 107 of 184




Date        Name         Hours    Description
6/05/01     Samuel A      0.80    Telephone conferences with various attorneys and the
            Schwartz              client re the retention of professionals and review of
                                  applications re same.

6/05/01     Janet Baer    0.30    Confer with Vancouver, Canada counsel re 327(e)
                                  application and related questions.

6/05/01     Roger J       0.50    Attend to various matters re Blackstone Order.
            Higgins

6/06/01     James W       1.10    Address issues pertaining to indemnification of
            Kapp                  professionals (.1); review application to retain Nelson
                                  Mullins and attend to issues re same (.4); review
                                  application to retain Holme Roberts and address issues re
                                  same (.6).

6/06/01     J Chad        0.50    Review correspondence from Dykema re Wallace King
            Mitchell              fees.

6/06/01     Samuel A      4.70    Review and revision of various retention pleadings for
            Schwartz              special counsel (3.8); conferences with the counsel re
                                  same (.5) and meetings re same (.4).
6/07/01     James W       0.10    Telephone conference with P. Zilly re Blackstone
            Kapp                  retention.

6/07/01     Samuel A      4.20    Review, revision of and preparation for the filing of the
            Schwartz              applications to employ Nelson Mullins and Holme
                                  Roberts as special counsel (2.8); conferences with the
                                  attorneys re same (.8); and meetings re same (.6).

6/08/01     Samuel A      1.30    Drafting of the certification of counsel re the Blackstone
            Schwartz              retention (.9); conferences re same (.4).

6/11/01     Samuel A      1.30    Review and analysis of various professional retention
            Schwartz              applications of the committees.

6/12/01     James W       0.20    Attend to issues re Blackstone's retention and review
            Kapp                  proposed order re same.

6/12/01     Samuel A      0.40    Telephone conferences with the client revising the exhibit
            Schwartz              to the OCP motion.




                                       A-81
          Case 01-01139-AMC   Doc 775-6     Filed 08/02/01       Page 108 of 184




Date        Name        Hours     Description
6/12/01     Roger J       0.50    Attend to matters re Blackstone Order.
            Higgins

6/14/01     James W       0.50    Address Property Damage Committee's comments
            Kapp                  pertaining to ordinary course professionals motion.

6/18/01     Samuel A      1.10    Telephone conferences with the client re various
            Schwartz              professional retention compensation and retention issues
                                  (.5); conferences with various attorneys re the Debtors'
                                  applications to retain special environmental counsel (.6).

6/19/01     James W       1.10    Review retention application for Ashby & Geddes and
            Kapp                  attend to issues re same (.7); review objections to
                                  Wallace King retention and address issues re same (.4).

6/19/01     Samuel A      1.60    Telephone conferences with the Property Damage
            Schwartz              Committee, the Commercial Committee, R. Wallace and
                                  C. Marraro re the Wallace King retention.

6/20/01     Samuel A      3.20    Review and analysis of the Property Damage Committees'
            Schwartz              objection to the experts motion (.5); review and analysis
                                  of the case law supporting the objection and meetings re
                                  same (2.7).
6/22/01     Samuel A      0.70    Telephone conferences with the client re various issues
            Schwartz              surrounding professional retentions.

6/25/01     J Chad        1.50    Attend to matters re MWDS and Wallace King fees.
            Mitchell

6/25/01     Samuel A      4.50    Review, revision and analysis of the Kinsella retention
            Schwartz              (2.1); review and analysis of the Reed Smith retention
                                  (1.3); telephone conferences with the client and B. Beber
                                  re various retention issues and revision of the B. Beber
                                  affidavit (1.1).

6/25/01     Deanna D      4.00    Revise K. Kinsella retention motion, order, and affidavit.
            Boll

6/26/01     James W       0.40    Review motion to retain Kinsella Communications and
            Kapp                  attend to issues re same.

6/26/01     Samuel A      0.90    Review and analysis of the Reed Smith and Kinsella
            Schwartz              retentions (.6); conferences with the client re same (.3).

                                       A-82
          Case 01-01139-AMC   Doc 775-6     Filed 08/02/01      Page 109 of 184




Date        Name         Hours    Description
6/26/01     Deanna D      2.50    Telephone conference with B. Corcoran re notice expert
            Boll                  services contract (.1); consider issues re services contract
                                  and draft correspondence to K. Kinsella re same (.7);
                                  edit and revise Kinsella retention papers and address
                                  issues related to same (1.7).

6/27/01     Samuel A      2.40    Telephone conferences with various special counsel and
            Schwartz              ordinary course professionals re retention issues (1.9);
                                  conferences with the client re same (.5).

6/28/01     Samuel A      1.20    Review and revise the Reed Smith retention application
            Schwartz              (.6); conferences with J. Restivo and the client re same
                                  (.6).

6/28/01     Janet Baer    0.40    Review Kinsella retention agreement and internal K&E
                                  conferences re same.

6/28/01     Roger J       0.50    Draft third supplemental Sprayregen affidavit.
            Higgins

6/29/01     James W       0.10    Attend to retention of Reed Smith.
            Kapp
6/29/01     Samuel A      2.20    Review and revision of the Reed Smith retention
            Schwartz              application (1.9); telephone conferences with J. Restivo re
                                  same (.3).




                                       A-83
          Case 01-01139-AMC     Doc 775-6     Filed 08/02/01      Page 110 of 184




               Matter 39 - Schedules/Statement of Financial Affairs - Fees


Date        Name          Hours      Description
6/13/01     James W         0.40     Address issues re schedules and statements of financial
            Kapp                     affairs.

6/14/01     Samuel A        0.80     Conferences with PwC re amendments (.7); meetings re
            Schwartz                 same (.1).




                                          A-84
          Case 01-01139-AMC      Doc 775-6     Filed 08/02/01      Page 111 of 184




                   Matter 40 - Subsidiaries/Non-Debtor Affiliates - Fees


Date        Name           Hours      Description
6/12/01     Martin C         0.50     Telephone conference with R. Lapidario re payment of
            Attea                     intercompany note (.2); review note payment provisions
                                      (.3).

6/28/01     James H          0.60     Conference J. McFarland concerning strategy and tactics
            Sprayregen                related to debtor guarantees of non debtor affiliates and
                                      related financing issues.




                                           A-85
          Case 01-01139-AMC   Doc 775-6    Filed 08/02/01      Page 112 of 184




                          Matter 41 - Tax Matters - Fees


Date        Name        Hours     Description
6/01/01     Kevin J       0.80    Review memorandum re deductibility of bankruptcy
            Coenen                expenses.

6/01/01     Todd F        1.00    Review of deduction/capitalization memorandum.
            Maynes

6/01/01     Thomas A      3.50    Research tax treatment of reorganization expenditures:
            Day                   expense versus capitalization (2.0); write memo
                                  addressing the same (1.5).

6/04/01     Kevin J       1.50    Research re current deductibility of bankruptcy expenses.
            Coenen

6/04/01     Thomas A      5.00    Research tax treatment of reorganization expenditures:
            Day                   expense versus capitalization (2.0); write memo
                                  addressing the same (3.0).

                                       A-86
          Case 01-01139-AMC   Doc 775-6    Filed 08/02/01      Page 113 of 184




Date        Name        Hours     Description
6/05/01     Kevin J       5.70    Review case law and other materials re deductibility of
            Coenen                bankruptcy expenses (2.0); prepare and revise
                                  memorandum re deductibility of bankruptcy expenses
                                  (3.7).

6/05/01     Thomas A      2.50    Research tax treatment of reorganization expenditures:
            Day                   expense versus capitalization (1.0); write memo
                                  addressing the same (1.5).

6/06/01     Kevin J       3.00    Draft and revise memorandum re deductibility of
            Coenen                bankruptcy expenses.

6/06/01     Todd F        1.50    Preparation of memorandum re deductibility of expenses.
            Maynes

6/06/01     Thomas A      5.50    Research tax treatment of reorganization expenditures:
            Day                   expense versus capitalization (2.0); write memo
                                  addressing the same (3.5).

6/07/01     Kevin J       9.10    Prepare and revise memorandum re deductibility of
            Coenen                bankruptcy expenses (7.0); review brief filed with
                                  bankruptcy court re legal and factual background behind
                                  bankruptcy petition filing (2.1).
6/07/01     Todd F        2.00    Preparation of memoranda re deductibility of expenses.
            Maynes

6/07/01     Thomas A      4.50    Research tax treatment of reorganization expenditures:
            Day                   expense versus capitalization (2.0); write memo
                                  addressing the same (2.5).

6/08/01     Kevin J       0.80    Revise memorandum re deductibility of bankruptcy
            Coenen                expenses.

6/11/01     Kevin J       0.50    Attend to matters re revised memorandum on deductibility
            Coenen                of bankruptcy expenses.

6/11/01     Todd F        1.30    Revisions to expense memorandum on deductibility of
            Maynes                bankruptcy expenses.

6/12/01     Donald E      1.30    Review and revise memorandum re deductibility of
            Rocap                 expenses.




                                       A-87
          Case 01-01139-AMC   Doc 775-6     Filed 08/02/01      Page 114 of 184




Date        Name        Hours      Description
6/13/01     Kevin J       0.50     Attend to matters re memorandum re deductibility of
            Coenen                 bankruptcy expenses.

6/13/01     Todd F        1.50     Revisions to expense memoranda.
            Maynes

6/13/01     Donald E      0.50     Attend to matters re memorandum re deductibility of
            Rocap                  expenses.

6/15/01     Thomas A      1.50     Changes to memo re tax treatment of reorganization
            Day                    expenditures.




                              Matter 42 - Travel - Fees


Date        Name        Hours      Description

6/04/01     Andrew R      2.00     Travel to Washington, D.C. for meeting with client re
            Running                expert issues and for meeting with D. Rourke of the
                                   ARPC re actuarial issues.
6/04/01     Kellye L      2.00     Travel to Washington D.C. for science school.
            Fabian




                                        A-88
          Case 01-01139-AMC     Doc 775-6     Filed 08/02/01     Page 115 of 184




Date        Name            Hours    Description
6/21/01     David M          3.00    Travel to Wilmington, Delaware re attending hearing
            Bernick, P.C.            before Judge Farnhan.

6/21/01     Samuel A         5.00    Travel from Wilmington, Delaware to Chicago; travel
            Schwartz                 from Chicago to Wilmington.

6/28/01     Samuel A         2.30    Travel from Chicago to Minneapolis; travel from
            Schwartz                 Minneapolis to Chicago.




                             Matter 44 - U.S. Trustee - Fees




                                          A-89
          Case 01-01139-AMC   Doc 775-6     Filed 08/02/01       Page 116 of 184




Date        Name        Hours     Description
6/05/01     Samuel A      1.80    Telephone conferences with the client and the U. S.
            Schwartz              Trustee's office re the monthly operating reports, the first
                                  day motions and the Company's 1999 tax return.

6/07/01     Samuel A      1.60    Preparation for and telephone conferences with the client
            Schwartz              and U. S. Trustee re the monthly operating reports and
                                  the first day motions.

6/18/01     Samuel A      1.20    Review and analysis of the Debtors' responses to the U.
            Schwartz              S. Trustee's information requests and conferences with the
                                  client re same.




                                       A-90
          Case 01-01139-AMC    Doc 775-6      Filed 08/02/01       Page 117 of 184



                              Matter 45 - Utilities - Fees


Date        Name        Hours       Description
6/01/01     Samuel A      0.90      Telephone conferences with various attorneys and the
            Schwartz                client re adequate assurance of future performance.

6/04/01     James W       0.30      Attend to issues re adequate assurance requests.
            Kapp

6/04/01     Samuel A      1.20      Telephone conferences with the client and various
            Schwartz                attorneys representing utilities negotiating acceptable
                                    assurances of future performance.

6/05/01     James W       0.20      Review Amerada Hess stipulation.
            Kapp

6/05/01     Samuel A      1.10      Conferences with the client re utility requests for adequate
            Schwartz                assurances of future payment (.3); drafting of letter re
                                    same (.6); and meetings re same (.2).

6/06/01     Samuel A      1.40      Drafting of various correspondence to utility providers
            Schwartz                and conferences with the client re same.
6/07/01     James W       0.20      Review correspondence to Amerada Hess re prepetition
            Kapp                    claims.

6/07/01     Samuel A      0.90      Revision of the Amerada Hess letter (.3); telephone
            Schwartz                conference with C. McDonald re the requests of BGE
                                    (.4); telephone conferences with the client (.1); and
                                    meetings re same (.1).

6/08/01     Samuel A      0.80      Telephone conferences with the client and various
            Schwartz                attorneys re utility requests.

6/11/01     James W       0.30      Attend to issues re adequate assurance request (.2);
            Kapp                    review correspondence to Amerada Hess (.1).

6/11/01     Samuel A      2.20      Drafting of various letters to utility companies re adequate
            Schwartz                assurances of future performance (.9); conferences with
                                    various attorneys (.9); and the client re same (.4).

6/12/01     Samuel A      4.10      Drafting of various letters to the commercial committee
            Schwartz                and utility providers re adequate assurances of future
                                    performance (1.9); conferences with the client and various
                                    utility providers re same (2.2).

                                         A-91
          Case 01-01139-AMC   Doc 775-6     Filed 08/02/01       Page 118 of 184




Date        Name        Hours     Description
6/13/01     James W       0.10    Address issues re adequate assurance/deposit requests.
            Kapp

6/13/01     Samuel A      0.70    Telephone conferences with R. Johnson and A. Krieger
            Schwartz              re adequate assurances requests (.4); and drafting of
                                  correspondence re same (.3).

6/14/01     James W       0.20    Review adequate assurance request and attend to issues
            Kapp                  re same.

6/14/01     Samuel A      2.90    Conferences with various attorneys re utility requests and
            Schwartz              drafting of correspondence re same (2.3); conferences
                                  with the client and meetings re same (.6).

6/15/01     Samuel A      0.40    Telephone conferences with the client and R. Johnson re
            Schwartz              adequate assurances.

6/18/01     Samuel A      0.50    Drafting of correspondence to the commercial committee
            Schwartz              re adequate assurances of future performance and
                                  conferences with the client re same.
6/19/01     James W       0.20    Review correspondence to A. Krieger re adequate
            Kapp                  assurance requests and attend to issues re same.

6/19/01     Samuel A      0.80    Conferences with the Commercial Committee re various
            Schwartz              utility deposits (.4); drafting of correspondence re same
                                  (.4).

6/27/01     Samuel A      2.60    Drafting of deposit letter agreements for utility companies
            Schwartz              and conferences with the client re same.

6/28/01     James W       0.40    Review and revise adequate assurance correspondence.
            Kapp

6/29/01     Samuel A      2.70    Revision and analysis of the various utility deposit letter
            Schwartz              agreements and conferences with the client re same.




                                       A-92
          Case 01-01139-AMC    Doc 775-6     Filed 08/02/01       Page 119 of 184



                         Matter 46 - IRS Tax Litigation - Fees


Date        Name         Hours      Description
6/05/01     Brant W        6.00     Conference with E. Napoli Filon, R. Finke, C. Finke, M.
            Bishop                  Dyson, H. Hevner, and T. Maynes re background on
                                    CCHP per diem system, case history, and legal issues
                                    (4.0); conference with opposing counsel R. Stewart re
                                    Status Report (2.0).

6/05/01     Todd F         6.50     Meetings in Washington re proposed strategy (4.0);
            Maynes                  preparation of joint status report (2.5).

6/06/01     Brant W        2.00     Conference with R. Stewart, government counsel, re joint
            Bishop                  status report (.5); edit same (1.0); e-mail correspondence
                                    with T. Maynes re case organization and preparation
                                    issues (.5).

6/06/01     Todd F         1.50     Telephone calls re Joint Status Report (1.0); review of
            Maynes                  files (.5).

6/06/01     Susan Polk     1.00     Review documents and conference with R. Landau re
                                    basic indexing and organization.

6/06/01     Rebecca R      5.50     Organize correspondence and pleadings.
            Landau
6/13/01     Natalie H      2.00     Review file memoranda and pleadings and regulations re
            Keller                  CCHP matter.

6/14/01     Natalie H      4.00     Review file memoranda and pleadings (1.0); review
            Keller                  applicable regulations (2.0); attend to matters re new per
                                    diem case (1.0).

6/18/01     Natalie H      4.00     Prepare memorandum re potential implications of recent
            Keller                  per diem court decision (2.5); review pleadings filed in
                                    case (1.5).

6/19/01     Brant W        0.80     Review memorandum summarizing Mississippi case on
            Bishop                  per diems.

6/19/01     Natalie H      2.00     Review file memoranda (.5); revise memorandum re
            Keller                  recent per diem case (1.0); attend to various matters re
                                    same (.5).



                                         A-93
          Case 01-01139-AMC   Doc 775-6    Filed 08/02/01      Page 120 of 184




Date        Name        Hours     Description
6/19/01     Todd F        0.80    Review of memorandum re recent Mississippi case.
            Maynes

6/20/01     Natalie H     0.50    Review requirements for motion to change venue (.2);
            Keller                review file memoranda (.3).

6/21/01     Natalie H     0.80    Review W.R. Grace Motion to Change Venue for
            Keller                Montana case and review statutory provisions re Motion
                                  to Change Venue regarding CCHP cases.

6/21/01     Todd F        1.00    Research re transfer of venue re CCHP cases.
            Maynes

6/22/01     Todd F        1.00    Review of recent caselaw re applicability to CCHP case
            Maynes                (.5); review of precedent re Motion to Transfer Venue of
                                  CCYP case (.5).

6/26/01     Natalie H     1.50    Review Motions to Dismiss filed in other W.R. Grace
            Keller                cases (.5); research issues for Motion (1.0).
6/27/01     Natalie H     1.50    Research issues for Motion to Change Venue re CCHP
            Keller                case.

6/27/01     Todd F        0.50    Telephone calls with C. Finke re creditor report.
            Maynes

6/28/01     Natalie H     2.70    Research issues for Motion to Change Venue re CCHP
            Keller                case (2.0); review general bankruptcy/tax provisions (.7).

6/28/01     Todd F        1.00    Research re Transfer of Venue provisions re CCHP case.
            Maynes

6/29/01     Natalie H     7.20    Research issues related to Motion to Change Venue re
            Keller                CCHP case.




                                       A-94
Case 01-01139-AMC     Doc 775-6    Filed 08/02/01   Page 121 of 184




         Matter 16 –Asset Analysis and Recovery - Expenses



               Description                          Amount
  Telephone                                                  $4.16

  Computer Database Research                             $82.29

  TOTAL                                                  $86.45




                               B-1
          Case 01-01139-AMC      Doc 775-6    Filed 08/02/01    Page 122 of 184




              Matter 16 –Asset Analysis and Recovery - Itemized Expenses


Date        Amount    Description
4/13/01        9.77   West Publishing-TP,Database Usage 4.01

4/19/01       19.95   West Publishing-TP,Database Usage 4.01

4/23/01       21.25   West Publishing-TP,Database Usage 4.01

4/24/01        5.37   West Publishing-TP,Database Usage 4.01

4/26/01       25.95   West Publishing-TP,Database Usage 4.01

6/13/01        3.33   Telephone call to: Columbia, MD 410-531-4222
6/20/01        0.83   Telephone call to: Columbia, MD 410-531-4222




                                           B-2
 Case 01-01139-AMC         Doc 775-6   Filed 08/02/01   Page 123 of 184




Matter 17 - Automatic Stay Matters/Relief from Stay Proceedings - Expenses


                  Description                           Amount
    Computer Database Research                              $490.20

    Overnight Delivery                                       $25.69

    Secretarial Overtime                                    $153.00

    TOTAL                                                   $668.89




                                   B-3
          Case 01-01139-AMC       Doc 775-6      Filed 08/02/01    Page 124 of 184




  Matter 17 - Automatic Stay Matters/Relief from Stay Proceedings - Itemized Expenses


Date        Amount    Description
4/16/01      164.17   West Publishing-TP,Database Usage 4.01

4/18/01      105.47   West Publishing-TP,Database Usage 4.01

4/19/01      220.56   West Publishing-TP,Database Usage 4.01

6/04/01       10.24   Fed Exp to: Los Angeles, CA from:Mailroom

6/04/01      153.00   Slivka, C. - Secretarial Overtime

6/08/01        7.44   Fed Exp to: Washington, DC from:Mailroom
6/08/01        8.01   Fed Exp to: Los Angeles, CA from: Mailroom




                                             B-4
Case 01-01139-AMC         Doc 775-6   Filed 08/02/01   Page 125 of 184




              Matter 20 – Case Administration - Expenses


                Description                            Amount
  Telephone                                                 $681.32

  Facsimile Charges                                         $211.67

  Standard Copies                                           $232.24

  Overnight Delivery                                            $9.26

  Tabs/Indexes/Dividers                                         $5.40

  Postage                                                       $9.18
  Overtime Transportation                                   $124.00

  Overtime Meals-Attorney                                    $67.56

  Miscellaneous Office Expenses                             $100.00

  Computer Database Research                                $175.53

  Secretarial Overtime                                      $102.63

  TOTAL                                                    $1,718.79




                                  B-5
          Case 01-01139-AMC      Doc 775-6      Filed 08/02/01      Page 126 of 184




                  Matter 20 – Case Administration - Itemized Expenses


Date        Amount    Description
4/03/01        2.31   West Publishing-TP,Database Usage 4.01

4/03/01        7.57   West Publishing-TP,Database Usage 4.01

4/03/01       15.19   West Publishing-TP,Database Usage 4.01

4/09/01        1.28   West Publishing-TP,Database Usage 4.01

4/19/01        0.22   West Publishing-TP,Database Usage 4.01

4/23/01        5.23   West Publishing-TP,Database Usage 4.01
4/25/01       52.40   West Publishing-TP,Database Usage 4.01

4/27/01       91.33   West Publishing-TP,Database Usage 4.01

5/21/01        1.96   Telephone call to: Columbia, MD 410-531-4795

6/01/01        0.62   Telephone call to: Jacksonville, FL 904-355-1407

6/01/01        0.62   Telephone call to: Eastern, MO 573-817-0500

6/01/01        0.75   Fax page charge to 410-531-4478
6/01/01        0.83   Telephone call to: Delaware 302-778-6464

6/01/01        0.83   Telephone call to: South Carolina 843-383-7459

6/01/01        0.98   Fax phone charge to 305-374-7593

6/01/01        1.11   Telephone call to: Alberta, AB 780-482-9103

6/01/01        1.45   Telephone call to: Columbia, MD 410-531-4574

6/01/01        1.87   Telephone call to: Eastern, MO 573-751-5038


                                            B-6
          Case 01-01139-AMC       Doc 775-6     Filed 08/02/01      Page 127 of 184




Date        Amount    Description
6/01/01        2.25   Fax page charge to 305-374-7593

6/01/01       11.25   Fax page charge to 305-374-7593

6/01/01       53.14   Janet Baer - Standard Copies, Office Depot Copy Center, 5.31.01

6/01/01       65.31   Crabb, B. - Secretarial Overtime

6/04/01        1.04   Telephone call to: Columbia, MD 410-531-4213

6/04/01        1.04   Telephone call to: New York, NY 212-806-5634
6/04/01        1.04   Telephone call to: New York, NY 212-806-5634

6/04/01        1.04   Telephone call to: Jacksonville, FL 904-355-1407

6/04/01        1.25   Telephone call to: Minneapolis, MN 612-661-7501

6/04/01        1.37   Fax phone charge to 954-341-2278

6/04/01        1.66   Telephone call to: Delaware 302-778-6464

6/04/01        9.26   Fed Exp to: ,Columbia, MD from:MAILROOM
6/04/01       20.25   Fax page charge to 954-341-2278

6/05/01        0.75   Fax page charge to 410-531-4414

6/05/01        0.83   Telephone call to: Columbia, SC 803-799-2000

6/05/01        1.25   Telephone call to: Eastern, MI 810-694-7494

6/05/01        1.25   Telephone call to: Atlanta, GA 404-233-7000

6/05/01        1.66   Telephone call to: SE Central, NJ 732-750-7123
6/05/01        1.66   Telephone call to: Central, FL 561-362-1312

6/05/01        2.25   Fax page charge to 973-966-1550

6/05/01        2.25   Fax page charge to 410-531-4783

6/05/01        2.91   Telephone call to: Delaware 302-778-6464

6/05/01        3.74   Telephone call to: New York, NY 212-806-5400

6/05/01        4.57   Telephone call to: Columbia, MD 410-531-4283

6/05/01        5.40   Telephone call to: Philadelphia, PA 215-597-5339

                                             B-7
          Case 01-01139-AMC      Doc 775-6      Filed 08/02/01       Page 128 of 184




Date        Amount    Description
6/05/01        5.61   Telephone call to: Columbia, MD 410-531-4552

6/05/01        5.82   Telephone call to: Central, FL 561-362-1312

6/05/01        8.52   Telephone call to: Central, FL 561-362-1568

6/05/01       14.70   Standard Copies

6/05/01       20.06   Samuel A Schwartz - Overtime Meals - Attorney, 6.4.01

6/06/01        1.25   Telephone call to: Delaware 302-778-6464
6/06/01        3.00   Fax page charge to 215-994-2222

6/06/01        3.95   Telephone call to: Eastern, MI 248-737-6989

6/07/01        0.34   Postage

6/07/01        0.62   Telephone call to: Greenville, SC 803-255-9425

6/07/01        0.75   Fax page charge to 212-806-6006

6/07/01        0.83   Telephone call to: Barnegat, NJ 609-693-6200
6/07/01        1.25   Telephone call to: Wilmington, DE 302-652-4100

6/07/01        1.45   Telephone call to: Columbia, MD 410-531-4222

6/07/01        1.87   Telephone call to: Baltimore, MD 410-347-8774

6/07/01        4.36   Telephone call to: Columbia, MD 410-531-4236

6/07/01        4.36   Telephone call to: Philadelphia, PA 215-597-4411

6/07/01        4.36   Telephone call to: Towson, MD 410-252-3940
6/07/01        4.99   Telephone call to: Columbia, MD 410-531-4552

6/07/01        4.99   Telephone call to: Central, FL 561-362-1302

6/07/01       13.50   Fax page charge to 973-966-1550

6/08/01        1.04   Telephone call to: Miami, FL 305-375-6160

6/08/01        1.25   Telephone call to: Columbia, MD 410-531-4222

6/08/01        2.70   Telephone call to: Delaware 302-778-6464

6/08/01        5.00   Janet Baer - OT Trans. 6.07.01

                                            B-8
          Case 01-01139-AMC      Doc 775-6      Filed 08/02/01      Page 129 of 184




Date        Amount    Description
6/11/01        1.18   Fax phone charge to 305-374-7593

6/11/01        1.18   Fax phone charge to 212-644-6755

6/11/01        1.87   Telephone call to: Columbia, MD 410-531-4170

6/11/01        2.16   Fax phone charge to 410-531-4783

6/11/01        3.00   Fax page charge to 212-294-4700

6/11/01       15.00   Fax page charge to 212-644-6755
6/11/01       15.00   Fax page charge to 212-806-6006

6/11/01       15.00   Fax page charge to 305-374-7593

6/11/01       30.00   Fax page charge to 410-531-4783

6/11/01       34.20   Standard Copies

6/12/01        1.57   Fax phone charge to 561-362-1323

6/12/01       27.75   Fax page charge to 561-362-1323
6/13/01        0.62   Telephone call to: New York, NY 212-583-5315

6/13/01        0.62   Telephone call to: Delaware 302-778-6464

6/13/01        0.83   Telephone call to: Dealware 302-778-6464

6/13/01        0.83   Telephone call to: New York, NY 212-583-5315

6/13/01        1.25   Telephone call to: Atlanta, GA 404-233-7000

6/13/01        1.39   Postage
6/13/01        2.29   Telephone call to: Columbia, MD 410-531-4191

6/13/01        2.70   Telephone call to: Columbia, MD 410-531-4222

6/13/01        4.16   Telephone call to: Miami, FL 305-350-2403

6/13/01       35.00   Janet Baer - OT Trans. 6.12.01

6/13/01      100.00   Joan Batchen - Purchased report Asbestos Claims Surge from A.M.Best
                      Co. for E.Cox-Arnold, 5.11.01

6/14/01        0.62   Telephone call to: Columbia, MD 410-531-4222


                                            B-9
          Case 01-01139-AMC      Doc 775-6       Filed 08/02/01     Page 130 of 184




Date        Amount    Description
6/14/01        0.62   Telephone call to: New York, NY 212-806-5400

6/14/01        1.04   Telephone call to: Birmingham, AL 205-326-8100

6/14/01        1.25   Telephone call to: Columbia, MD 410-531-4222

6/14/01        1.66   Telephone call to: Delaware 302-778-6464

6/14/01        1.66   Telephone call to: Eastern, TN 423-413-9320

6/14/01        2.08   Telephone call to: New York, NY 212-806-5400
6/14/01        2.49   Telephone call to: Miami, FL 305-350-2403

6/14/01        2.91   Telephone call to: Columbia, MD 410-531-4212

6/14/01        4.16   Telephone call to: Columbia, MD 410-531-4795

6/15/01        2.70   Tabs/Indexes/Dividers

6/15/01        2.70   Tabs/Indexes/Dividers

6/15/01       65.10   Standard Copies
6/15/01       65.10   Standard Copies

6/18/01        0.62   Telephone call to: Columbia, MD 410-531-4503

6/18/01        1.04   Telephone call to: Central, FL 561-362-1551

6/18/01        1.25   Telephone call to: Santa Ana, CA 714-668-6211

6/18/01        1.25   Telephone call to: Bay, CA 510-622-2201

6/18/01        1.25   Telephone call to: Delaware 302-778-6464
6/18/01        1.87   Telephone call to: Columbia, MD 410-531-4212

6/18/01        2.75   Fax phone charge to 202-293-6961

6/18/01        2.91   Telephone call to: Delaware 302-778-6464

6/18/01        3.53   Telephone call to: Boston, MA 617-574-6517

6/18/01       27.75   Fax page charge to 202-293-6961

6/19/01        0.62   Telephone call to: New York, NY 212-492-4395

6/19/01        0.62   Telephone call to: New Orleans, LA 504-568-1888

                                              B-10
          Case 01-01139-AMC      Doc 775-6      Filed 08/02/01      Page 131 of 184




Date        Amount    Description
6/19/01        1.04   Telephone call to: New York, NY 212-715-7555

6/19/01        1.04   Telephone call to: Miami, FL 305-375-6156

6/19/01        1.25   Telephone call to: Mimai, FL 305-375-6156

6/19/01        1.25   Telephone call to: Baltimore, MD 410-355-4900

6/19/01        1.25   Telephone call to: Washington, DC 202-204-1000

6/19/01        1.25   Telephone call to: Columbia, MD 410-531-4191
6/19/01        1.66   Telephone call to: New York, NY 212-806-5400

6/19/01        1.66   Telephone call to: Columbia, MD 410-531-4795

6/19/01        1.66   Telephone call to: Eastern, MI 810-341-9800

6/19/01        1.87   Telephone call to: Columbia, MD 410-531-4222

6/19/01        2.08   Telephone call to: Washington, DC 202-204-1000

6/19/01        2.29   Telephone call to: Columbia, MD 410-531-4795
6/19/01        2.49   Telephone call to: New York, NY 212-806-5400

6/19/01        2.70   Telephone call to: Washington, DC 202-204-3710

6/19/01        3.33   Telephone call to: Delaware 302-778-6464

6/19/01        7.45   Postage

6/19/01       19.00   Janet Baer - OT Trans. 6.18.01

6/19/01       20.00   Samule A Schwartz - Overtime Meals - Attorney, 6.18.01
6/20/01        0.62   Telephone call to: Columbia, MD 410-531-4795

6/20/01        0.98   Fax phone charge to 504-522-0949

6/20/01        1.04   Telephone call to: Wilmington, DE 302-421-6840

6/20/01        1.04   Telephone call to: Delaware 302-778-6464

6/20/01        1.04   Telephone call to: Columbia, MD 410-531-4170

6/20/01        1.04   Telephone call to: Delaware 302-778-6464

6/20/01        1.04   Telephone call to: Wilmington, DE 302-421-6840

                                           B-11
          Case 01-01139-AMC       Doc 775-6     Filed 08/02/01      Page 132 of 184




Date        Amount    Description
6/20/01        1.66   Telephone call to: New York, NY 212-806-5400

6/20/01        2.91   Telephone call to: New York, NY 212-806-5400

6/20/01        5.00   Janet Baer - OT Trans. 6.19.01

6/20/01        7.48   Telephone call to: Columbia, MD 410-531-4795

6/20/01        9.00   Fax page charge to 504-522-0949

6/22/01       27.50   Samuel A Schwartz - Overtime Meals - Attorney, 6.19.01
6/22/01      475.87   Samuel A Scwartz - Telephone, AT&T stmt dtd 6.7.01

6/25/01       37.32   Crabb, B. - Secretarial Overtime

6/26/01        0.83   Telephone call to: New Orleans, LA 504-299-3331

6/26/01        1.66   Telephone call to: Central, FL 561-845-7888

6/26/01        3.12   Telephone call to: Wilmington, DE 302-652-4100

6/27/01        0.83   Telephone call to: Miami, FL 305-375-6156
6/27/01        1.45   Telephone call to: New York, NY 212-714-7586

6/27/01        1.66   Telephone call to: Midland, MI 517-496-4798

6/27/01        3.74   Telephone call to: Pittsburgh, PA 412-288-3122

6/27/01       60.00   Janet Baer - OT Trans. 6.26.01




                                            B-12
Case 01-01139-AMC        Doc 775-6   Filed 08/02/01   Page 133 of 184




    Matter 21 – Claim Estimate/Adversary Proceedings - Expenses


                Description                           Amount
  Telephone                                                    $5.30

  Facsimile Charges                                            $1.50

  Overtime Meals                                           $18.00

  Computer Database Research                               $87.36

  Secretarial Overtime                                    $527.13

  TOTAL                                                   $639.29




                                B-13
          Case 01-01139-AMC       Doc 775-6       Filed 08/02/01   Page 134 of 184




          Matter 21 – Claim Estimate/Adversary Proceedings - Itemized Expenses


Date        Amount    Description
4/10/01        8.99   West Publishing-TP,Database Usage 4.01

4/19/01       12.56   West Publishing-TP,Database Usage 4.01

5/21/01        4.12   Telephone call to: Columbia, MD 410-531-4671

5/24/01       65.81   West Publishing-TP,Database Usage 5.01

6/01/01        1.18   Telephone call to: Washington, DC 202-686-4111

6/05/01        1.50   Fax page charge to 410-531-4233
6/05/01       37.32   Crabb, BA - Secretarial Overtime

6/06/01        9.00   Overtime Meals Solyomi, Margaret

6/06/01      149.28   Solyomi, MA - Faxes, Fed Ex Distribution

6/07/01      114.75   Sullivan, C. - Secretarial Overtime

6/12/01        9.00   Overtime Meals Pawlik, Dolores J.

6/12/01      149.28   Pawlik, Do - Secretarial Overtime
6/14/01       76.50   Woelfer, S. - Secretarial Overtime




                                             B-14
Case 01-01139-AMC         Doc 775-6   Filed 08/02/01   Page 135 of 184




   Matter 22- Contested Matters/Adversary Proceedings- Expenses


                 Description                           Amount
  Telephone                                                $324.54

  Facsimile Charges                                        $894.07

  Standard Copies                                        $1,203.90

  Color Copies                                              $39.00

  Binding                                                       $7.00

  Tabs/Indexes/Dividers                                         $4.50
  Overnight Delivery                                        $87.00

  Outside Messenger                                        $129.40

  Library Document Procurement                              $20.00

  Postage                                                   $74.82

  Secretarial Overtime                                      $49.48

  Working Meals                                            $122.90
  Information Broker Doc/Svcs                               $46.50


                                 B-15
          Case 01-01139-AMC         Doc 775-6   Filed 08/02/01   Page 136 of 184




             Local Transportation                                      $5.00
             Overtime Transportation                                  $16.50

             Computer Database Research                              $610.58

             Calendar/Court Services                                  $50.00

             TOTAL                                                 $3,685.19




          Matter 22- Contested Matters/Adversary Proceedings- Itemized Expenses


Date        Amount      Description

4/04/01          1.69   West Publishing-TP,Database Usage 4.01
4/05/01          1.94   West Publishing-TP,Database Usage 4.01

4/11/01          1.34   West Publishing-TP,Database Usage 4.01

4/12/01          5.17   West Publishing-TP,Database Usage 4.01

4/16/01        37.70    West Publishing-TP,Database Usage 4.01

4/20/01        35.91    West Publishing-TP,Database Usage 4.01

4/21/01       414.89    West Publishing-TP,Database Usage 4.01
4/26/01        12.52    West Publishing-TP,Database Usage 4.01

4/27/01          0.90   West Publishing-TP,Database Usage 4.01

4/27/01          6.05   West Publishing-TP,Database Usage 4.01

4/30/01          5.71   West Publishing-TP,Database Usage 4.01

4/30/01        84.75    West Publishing-TP,Database Usage 4.01

                                            B-16
          Case 01-01139-AMC       Doc 775-6     Filed 08/02/01      Page 137 of 184




Date        Amount    Description
5/17/01       10.00   Library Document Procurement - Environmental Research (1986).

5/18/01        2.01   West Publishing-TP,Database Usage 5.01

5/18/01       10.00   Library Document Procurement - 842 F.2d 487.

5/31/01        0.62   Telephone call to: Daytona Beach, FL 904-451-5055

5/31/01        0.62   Telephone call to: Daytona Beach, FL 904-451-5055

6/01/01        0.62   Telephone call to: Central, FL 561-362-1963
6/01/01        3.74   Telephone call to: Chino Valley, AZ 602-636-2013

6/01/01        9.77   Telephone call to: Central, FL 561-362-1661

6/01/01       37.32   Crabb, B. - Secretarial Overtime

6/04/01        1.04   Telephone call to: Cambridge,MA 617-498-4322

6/04/01        1.38   Telephone call to: New York, NY 212-715-1008

6/04/01        1.66   Telephone call to: Oklahoma City, OK 405-272-1928
6/04/01        1.80   Standard Copies

6/04/01        1.87   Telephone call to: Columbia,MD 410-531-4203

6/04/01        2.49   Fax phone charge to 302-652-4400

6/04/01        2.49   Telephone call to: Los Angeles, CA 213-891-9100

6/04/01        2.70   Fax phone charge to 843-722-8700

6/04/01        2.91   Fax phone charge to 410-531-4233
6/04/01        3.00   Fax page charge to 310-574-9883

6/04/01        5.54   Telephone call to: Chicago, IL 312-946-2589

6/04/01        8.40   Standard Copies

6/04/01       17.84   Fed Exp to:Richard A. Senftleben, Boca Raton, FL from: Timothy S. Hardy

6/04/01       22.50   Fax page charge to 302-652-4400

6/04/01       26.25   Fax page charge to 843-722-8700

6/04/01       26.25   Fax page charge to 410-531-4233

                                            B-17
          Case 01-01139-AMC      Doc 775-6      Filed 08/02/01    Page 138 of 184




Date        Amount    Description
6/04/01       40.70   Standard Copies

6/04/01       60.44   Janet Baer - Telephone Expense, GTEAir stmt dtd 5.06.01

6/04/01      122.90   Who's Cookin - Working Meals/K&E and Others Lunch on 6/4/01 for Tim
                      Hardy and client for all day meeting

6/04/01      426.00   Standard Copies

6/05/01        0.90   Standard Copies

6/05/01        1.10   Postage
6/05/01        1.45   Telephone call to: Wilmington, DE 302-652-4100

6/05/01        1.66   Telephone call to: Bronx, NY 212-885-4695

6/05/01        2.25   Fax page charge to 202-293-6961

6/05/01        3.00   Standard Copies

6/05/01        3.10   Standard Copies

6/05/01        3.75   Fax page charge to 212-557-2522
6/05/01        3.95   Telephone call to: Washington, DC 202-686-4111

6/05/01        4.32   Fax phone charge to 410-531-4783

6/05/01        6.00   Janet Baer - OT Trans. 6.04.01

6/05/01        7.44   Fed Exp to: Washington, DC from:Mailroom

6/05/01        8.41   UPS Dlvry to:Baggett, McCall, Burgess & Wat William B. Baggett,Lake
                      Charles,LA from:Scott A McMillin

6/05/01        9.26   Fed Exp to: Washington, DC from:Mailroom
6/05/01        9.57   Fed Exp from:Janice, Washington, DC to:Paul S

6/05/01       12.75   Fax page charge to 914-328-0561

6/05/01       12.75   Fax page charge to 703-729-8587

6/05/01       14.25   Fax page charge to 410-531-4783

6/05/01       15.90   Standard Copies



                                           B-18
          Case 01-01139-AMC       Doc 775-6     Filed 08/02/01      Page 139 of 184




Date        Amount    Description
6/05/01       18.30   Standard Copies

6/05/01       54.60   Standard Copies

6/06/01        1.04   Telephone call to: Central, FL 561-362-1533

6/06/01        2.94   Fax phone charge to 410-531-4233

6/06/01        3.14   Fax phone charge to 202-879-5200

6/06/01        3.80   Standard Copies
6/06/01        5.20   Telephone call to: Columbia, MD 410-531-4170

6/06/01        5.30   Fax phone charge to 561-362-1583

6/06/01        5.50   Fax phone charge to 843-722-8700

6/06/01        5.50   Fax phone charge to 901-820-2061

6/06/01        7.80   Fed Exp to: Boston, MA from:Mailroom

6/06/01        8.20   Standard Copies
6/06/01        8.25   Fax page charge to 410-531-4233

6/06/01        9.35   Telephone call to: Columbia, MD 410-531-4170

6/06/01       10.20   Standard Copies

6/06/01       19.24   Fed Exp from:Nick Miller, Washington DC to: Paul Szczechowiak

6/06/01       72.00   Fax page charge to 901-820-2061

6/06/01       72.00   Fax page charge to 202-879-5200
6/06/01       72.00   Fax page charge to 561-362-1583

6/06/01       72.00   Fax page charge to 843-722-8700

6/06/01       72.00   Fax page charge to 410-531-4233

6/07/01        0.10   Standard Copies

6/07/01        0.92   Telephone call to:   859-257-0500

6/07/01        1.50   Fax page charge to 859-257-0502

6/07/01        3.00   Fax page charge to 703-729-8587

                                            B-19
          Case 01-01139-AMC      Doc 775-6      Filed 08/02/01     Page 140 of 184




Date        Amount    Description
6/07/01        3.60   Standard Copies

6/07/01        4.50   Fax page charge to 212-806-6006

6/07/01        4.50   Fax page charge to 212-735-2000

6/07/01        5.69   Fax phone charge to 410-531-4783

6/07/01        6.80   Standard Copies

6/07/01        7.44   Fed Exp to: Washington, DC from:Mailroom
6/07/01       16.20   Standard Copies

6/07/01       20.20   Standard Copies

6/07/01       35.00   Standard Copies

6/07/01       35.10   Standard Copies

6/07/01       72.00   Fax page charge to 410-531-4783

6/07/01       94.10   Standard Copies
6/07/01      138.80   Standard Copies

6/08/01        0.30   Standard Copies

6/08/01        0.62   Telephone call to: Beverly Hills, CA 310-551-1015

6/08/01        0.62   Telephone call to: New York, NY 212-735-3000

6/08/01        1.04   Telephone call to: Columbia, MD 410-531-4503

6/08/01        1.66   Telephone call to: LB Area, CA 310-890-8116
6/08/01        2.08   Telephone call to: Washington, DC 202-251-0190

6/08/01        3.53   Telephone call to: San Francisco, CA 415-773-5712

6/08/01        3.74   Telephone call to: Denver, CO 303-866-0457

6/08/01        3.95   Telephone call to: Denver, CO 303-866-0457

6/08/01        4.99   Telephone call to: Pittsburgh, PA 412-288-3131

6/08/01       15.00   William T. Young Library - Information Broker Doc/Svcs Symposium on
                      Talc (T. HARDY)


                                           B-20
          Case 01-01139-AMC       Doc 775-6      Filed 08/02/01     Page 141 of 184




Date        Amount    Description
6/08/01       15.50   Standard Copies

6/11/01        1.45   Telephone call to: Newport Beach, CA 949-474-8577

6/11/01        1.50   Fax page charge to 303-866-0200

6/11/01        1.80   Tabs/Indexes/Dividers

6/11/01        3.12   Telephone call to: Central, FL 561-362-1959

6/11/01        4.50   Fax page charge to 212-735-2000
6/11/01        4.50   Fax page charge to 212-806-6006

6/11/01        7.00   Binding

6/11/01       12.00   Color Copies

6/11/01       12.16   Montero, A. - Secretarial Overtime

6/11/01       32.00   Standard Copies

6/12/01        1.70   Standard Copies
6/12/01        2.20   Standard Copies

6/12/01        3.00   Fax page charge to 914-328-0561

6/12/01        3.00   Fax page charge to 703-729-8587

6/12/01        4.50   Fax page charge to 703-729-8587

6/12/01        6.00   Fax page charge to 405-239-7902

6/12/01       11.00   Postage
6/12/01       20.52   Postage

6/13/01        0.10   Standard Copies

6/13/01        0.62   Telephone call to: Los Angeles,CA 213-624-2869

6/13/01        1.04   Telephone call to: New York, NY 212-770-7075

6/13/01        1.20   Standard Copies

6/13/01        2.20   Standard Copies

6/13/01        2.25   Fax page charge to 703-729-8587

                                              B-21
          Case 01-01139-AMC       Doc 775-6      Filed 08/02/01     Page 142 of 184




Date        Amount    Description
6/13/01        2.70   Tabs/Indexes/Dividers

6/13/01       12.10   Postage

6/13/01       15.20   Postage- Grace

6/13/01       27.00   Fax Charge-3128612200

6/13/01       27.00   Color Copies

6/13/01       43.20   Standard Copies
6/14/01        0.76   Postage-W R GRACE

6/14/01        0.83   Telephone call to: Eastern, MI 248-335-5000

6/14/01        1.04   Telephone call to: Delaware 302-778-6401

6/14/01        1.25   Telephone call to: Boise, ID 208-336-1776

6/14/01        3.33   Telephone call to: Atlanta, GA 770-918-1911

6/14/01        4.12   Fax phone charge to 310-551-3059
6/14/01        5.00   Janet Baer - Local Trans. to Mtg, 6.14.01

6/14/01        5.40   Telephone call to: Hyatvivile, MD 301-405-6035

6/14/01        7.50   Fax Charge- 5108417776

6/14/01        7.50   Fax Charge- 9092764100

6/14/01        7.50   Fax Charge- 8056588258

6/14/01        7.50   Fax Charge- 7144808533
6/14/01        7.50   Fax Charge- 3105534234

6/14/01        7.50   Fax Charge- 3102039321

6/14/01        7.50   Fax Charge- 3104731594

6/14/01        7.50   Fax Charge- 2136242563

6/14/01        7.50   Fax Charge- 3105750800

6/14/01        7.50   Fax Charge- 9498528510

6/14/01        7.50   Fax Charge- 2138946778

                                              B-22
          Case 01-01139-AMC       Doc 775-6     Filed 08/02/01      Page 143 of 184




Date        Amount    Description
6/14/01        7.50   Fax Charge- 3128612200

6/14/01        7.50   Fax Charge- 3105749883

6/14/01        7.50   Fax Charge- 3104776469

6/14/01        7.50   Fax Charge- 4159868054

6/14/01        7.50   Fax Charge- 2132507900

6/14/01       29.25   Fax page charge to 310-551-3059
6/14/01       32.18   David M Bernick, P.C. - Telephone Expense, GTEAirone stmt dtd 5.02.01

6/15/01      101.40   EXCEL - Outside Messenger Services - 06/13/01 from Wynne Spiegel &
                      Itkin to Bankruptcy Court Los Angeles, Ca.

6/18/01        0.50   Standard Copies

6/18/01        0.55   Postage- Wr Grace

6/18/01        0.55   Postage- Alesis

6/18/01        0.62   Telephone call to: Cambridge, MA 617-498-4322
6/18/01        1.04   Telephone call to: Detroit, MI 313-824-0470

6/18/01        1.04   Telephone call to: Central, FL 561-362-1533

6/18/01        1.96   Fax phone charge to 561-362-1583

6/18/01        3.12   Telephone call to: Oklahoma, OK 405-272-1928

6/18/01        5.20   Telephone call to: Central, FL 561-362-1533

6/18/01       10.50   Janet Baer - OT Trans. 6.17.01
6/18/01       27.75   Fax page charge to 561-362-1583

6/19/01        7.15   Postage

6/20/01        1.04   Telephone call to: Los Angeles, CA 213-624-2869

6/20/01        1.87   Telephone call to: Delaware 302-778-6464

6/20/01        3.00   Fax page charge to 703-729-8587

6/21/01        2.49   Telephone call to: Central, MN 651-223-6544


                                           B-23
          Case 01-01139-AMC      Doc 775-6      Filed 08/02/01      Page 144 of 184




Date        Amount    Description
6/21/01       58.26   David M Bernick, P.C. - Telephone Expense, New Orleans,LA, 5.21 to
                      5.23.01, (Hearing) GTEAir

6/22/01        0.40   Standard Copies

6/22/01        0.75   Fax page charge to 312-861-2290

6/22/01        0.80   Standard Copies

6/22/01       13.40   Standard Copies

6/22/01       25.19   David M Bernick, P.C. - Telephone Expense, Washington,D.C, 6.04.01,
                      (Strategy Mtg)
6/22/01       37.16   David M Bernick, P.C. - Telephone Expense, New York,NY, 5.29 to
                      5.30.01, (Mtg w/Commercial Committee Counsel)

6/22/01      143.50   Standard Copies

6/25/01        0.30   Standard Copies

6/25/01       22.50   Comet Messenger Services to: David Bernick

6/26/01        0.40   Standard Copies

6/26/01        0.50   Standard Copies
6/26/01        0.90   Standard Copies

6/26/01        1.66   Telephone call to: Central, FL 561-362-2800

6/26/01        2.04   Postage- Wynne Spiegel Itkin

6/26/01        4.50   Fax Charge- 3128612200

6/26/01        4.50   Fax Charge- 2134893930

6/26/01       31.50   Kristi Mclane - Information Broker Doc/Svcs-06/14/01-Purchase issue of
                      NY Academy of Science Annals issue for T. Hardy
6/27/01        3.85   Postage

6/28/01        5.50   Comet Messenger Services to: Stanley Ferguson

6/28/01       24.00   Fax Charge- 213493930

6/30/01       50.00   Calendar/Court Services 6/01


                                           B-24
Case 01-01139-AMC        Doc 775-6   Filed 08/02/01   Page 145 of 184




              Matter 24 – Creditors Committee - Expenses


                Description                           Amount
  Telephone                                                 $22.21

  Overnight Delivery                                           $7.44

  Secretarial Overtime                                     $270.57

  TOTAL                                                    $300.22




                                B-25
          Case 01-01139-AMC       Doc 775-6     Filed 08/02/01     Page 146 of 184




                 Matter 24 – Creditors Committee - Itemized Expenses


Date        Amount    Description
6/04/01        2.91   Telephone call to: New York, NY 212-806-5544

6/04/01        7.44   Fed Exp from: Holli, Washington, DC to: Bill Cody

6/05/01        1.87   Telephone call to: New York, NY 212-806-5422

6/05/01       65.31   Crabb, Ba. - Secretarial Overtime

6/06/01        0.83   Telephone call to: New York, NY 212-806-5422

                                            B-26
          Case 01-01139-AMC         Doc 775-6     Filed 08/02/01      Page 147 of 184




Date        Amount      Description
6/06/01        1.04     Telephone call to: New York, NY 212-583-5388

6/06/01        1.45     Telephone call to: Delaware 302-778-6464

6/06/01        2.91     Telephone call to: Columbia, MD 410-531-4170

6/06/01       65.31     Crabb, Ba. - Secretarial Overtime

6/07/01        1.87     Telephone call to: Columbia, MD 410-531-4170

6/08/01        1.45     Telephone call to: Columbia, MD 410-531-4222
6/11/01        0.83     Telephone call to: New York, NY 212-806-5422

6/11/01        1.04     Telephone call to: Central, FL 561-362-1661

6/11/01       37.32     Crabb, Ba. - Secretarial Overtime

6/13/01        0.62     Telephone call to: New York, NY 212-806-5544

6/14/01        0.62     Telephone call to: New York, NY 212-806-5422

6/14/01        1.66     Telephone call to: New York, NY 212-806-5422
6/14/01       37.32     Crabb, Ba. - Secretarial Overtime

6/14/01       65.31     Crabb, Ba. - Secretarial Overtime

6/18/01        1.66     Telephone call to: Delaware 302-438-9850

6/20/01        1.45     Telephone call to: Wilmington, DE 302-426-1900




                 Matter 25 – Creditors/Shareholders Inquiries - Expenses


                           Description                                Amount

            Telephone                                                          $2.29
            Facsimile Charges                                              $26.83


                                              B-27
Case 01-01139-AMC      Doc 775-6    Filed 08/02/01   Page 148 of 184




  TOTAL                                                    $29.12




   Matter 25 – Creditors/Shareholders Inquiries - Itemized Expenses


                                B-28
          Case 01-01139-AMC      Doc 775-6      Filed 08/02/01    Page 149 of 184




Date        Amount    Description
6/01/01        1.04   Fax phone charge to 904-359-2029

6/01/01        1.50   Fax page charge to 843-383-7929

6/01/01        9.00   Fax page charge to 904-359-2029

6/04/01        1.04   Fax phone charge to 415-391-4639

6/04/01       14.25   Fax page charge to 415-391-4639

6/14/01        1.04   Telephone call to: Philadelphia, PA 215-575-7062
6/14/01        1.25   Telephone call to: Columbia, MD 410-531-4222




                                           B-29
Case 01-01139-AMC      Doc 775-6   Filed 08/02/01   Page 150 of 184



         Matter 26- DIP Financing/Cash Collateral- Expenses


               Description                          Amount
  Telephone                                                   $0.59

  Standard Copies                                         $47.55

  Information Broker Doc/Svcs                         $24,643.49

  Computer Database Research                             $105.19

  TOTAL                                               $24,796.82




                                B-30
          Case 01-01139-AMC      Doc 775-6     Filed 08/02/01    Page 151 of 184




              Matter 26- DIP Financing/Cash Collateral- Itemized Expenses


Date        Amount    Description
4/02/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, PA

4/02/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MA

4/02/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, TX

4/02/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, MD

4/02/01      267.90   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(165.50)Document Retrieval work, CA

4/03/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, FL
4/03/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, FL

4/03/01       23.00   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(21.25)Lien/Litigation work, FL

4/03/01       26.25   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(24.25)Lien/Litigation work, CA

4/03/01       27.60   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(25.50)Document Retrieval work, MA

4/03/01       35.60   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(25.50)Document Retrieval work, CA

4/03/01       60.07   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(55.50)Document Retrieval work, CA
4/03/01      108.25   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(100.00)Lien/Litigation work, OK

4/03/01      158.94   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(114.50)Document Retrieval work, MA


                                           B-31
          Case 01-01139-AMC      Doc 775-6     Filed 08/02/01    Page 152 of 184




Date        Amount    Description
4/03/01      221.91   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(205.00)Lien/Litigation work, AZ

4/04/01      135.31   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(125.00)Lien/Litigation work, DE

4/04/01      135.31   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(125.00)Lien/Litigation work, DE

4/05/01       69.25   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(45.50)Document Retrieval work, OK

4/05/01      117.72   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(108.75)Lien/Litigation work, KY

4/05/01      129.90   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(120.00)Lien/Litigation work, DC
4/05/01      232.33   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(101.00)Document Retrieval work, AL

4/05/01      246.94   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(114.50)Document Retrieval work, AL

4/05/01      249.24   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(230.25)Lien/Litigation work, MA

4/05/01      322.85   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(298.25)Lien/Litigation work, CA

4/05/01      340.14   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(223.00)Document Retrieval work, AZ

4/05/01      610.25   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(563.75)Lien/Litigation work, AZ
4/06/01       27.60   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(25.50)Document Retrieval work, CO

4/09/01       74.25   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(45.50)Document Retrieval work, MT

4/09/01      828.93   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(678.00)Document Retrieval work, AZ



                                           B-32
          Case 01-01139-AMC       Doc 775-6     Filed 08/02/01    Page 153 of 184




Date        Amount     Description
4/09/01     2,179.61   Corporation Service Company - Information Broker Doc/Svcs,
                       TA(2013.50)Lien/Litigation work, AK

4/10/01     2,161.94   Corporation Service Company - Information Broker Doc/Svcs,
                       TA(1766.00)Document Retrieval work, AK

4/11/01      192.14    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(177.50)Lien/Litigation work, AL

4/11/01      909.30    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(840.00)Lien/Litigation work, AL

4/11/01     1,089.53   Corporation Service Company - Information Broker Doc/Svcs,
                       TA(1006.50)Lien/Litigation work, AL

4/11/01     2,586.36   Corporation Service Company - Information Broker Doc/Svcs,
                       TA(2389.25)Lien/Litigation work, AL
4/13/01     1,208.34   Corporation Service Company - Information Broker Doc/Svcs,
                       TA(1116.25)Lien/Litigation work, AL

4/18/01       69.25    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(45.50)Document Retrieval work, MS

4/18/01      212.73    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(172.50)Document Retrieval work, KY

4/18/01      516.99    Corporation Service Company - Information Broker Doc/Svcs,
                       TA(357.50)Document Retrieval work, CA

4/18/01     1,060.87   Corporation Service Company - Information Broker Doc/Svcs,
                       TA(853.00)Document Retrieval work, AL

4/18/01     3,291.90   Corporation Service Company - Information Broker Doc/Svcs,
                       TA(2459.50)Document Retrieval work, AL
4/19/01     4,103.71   Corporation Service Company - Information Broker Doc/Svcs,
                       TA(2793.50)Document Retrieval work, AL

4/26/01       31.73    West Publishing-TP,Database Usage 4.01

4/26/01       42.99    West Publishing-TP,Database Usage 4.01

4/27/01       15.72    West Publishing-TP,Database Usage 4.01



                                            B-33
          Case 01-01139-AMC      Doc 775-6     Filed 08/02/01    Page 154 of 184




Date        Amount    Description
4/27/01       49.25   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(45.50)Document Retrieval work, MI

4/27/01       98.50   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(91.00)Document Retrieval work, MD

4/27/01      112.46   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(96.50)Document Retrieval work, AL

4/27/01      213.07   Corporation Service Company - Information Broker Doc/Svcs,
                      TA(164.50)Document Retrieval work, AL

4/30/01       14.75   West Publishing-TP,Database Usage 4.01

6/01/01        9.00   Standard Copies
6/08/01       38.55   Standard Copies

6/13/01        0.59   Telephone call to: Columbia, MD 410-531-4560




                                           B-34
Case 01-01139-AMC        Doc 775-6   Filed 08/02/01   Page 155 of 184




                Matter 27 –Employee Matters -Expenses


                Description                           Amount
  Telephone                                                $34.90

  Secretarial Overtime                                    $261.24

  TOTAL                                                   $296.14




                                B-35
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01      Page 156 of 184




                      Matter 27 –Employee Matters -Itemized Expenses


Date        Amount     Description
6/04/01        0.83    Telephone call to: Wilmington, DE 302-654-1888

6/04/01        1.45    Telephone call to: Columbia, MD 410-531-4191

6/04/01        2.08    Telephone call to: Columbia, MD 410-531-4236

6/05/01        3.12    Telephone call to: Columbia, MD 410-531-4170

6/06/01        2.08    Telephone call to: Columbia, MD 410-531-4170

6/06/01        2.08    Telephone call to: Cambridge, MA 617-498-4861
6/07/01        0.83    Telephone call to: Columbia, MD 410-531-4191

6/07/01        1.66    Telephone call to: Columbia, MD 410-531-4191

6/07/01       37.32    Crabb, B. - Secretarial Overtime

6/07/01       65.31    Crabb, B. - Secretarial Overtime

6/08/01        3.12    Telephone call to: New York, NY 212-806-5544

6/11/01        8.31    Telephone call to: Albuquerque, NM 505-766-5458
6/11/01       65.31    Crabb, B. - Secretarial Overtime

6/12/01       37.32    Crabb, B. - Secretarial Overtime

6/12/01       55.98    Crabb, B. - Secretarial Overtime

6/13/01        0.62    Telephone call to: Columbia, MD 410-531-4191

6/14/01        0.83    Telephone call to: Detroit, MI 734-930-3919


                                             B-36
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01    Page 157 of 184




Date        Amount      Description
6/18/01        0.83     Telephone call to: Columbia, MD 410-531-4574

6/18/01        1.45     Telephone call to: Columbia, MD 410-531-4191

6/19/01        0.62     Telephone call to: New York,NY 212-479-6127

6/20/01        0.83     Telephone call to: Columbia, MD 410-531-4191

6/26/01        4.16     Telephone call to: Columbia, MD 410-531-4170




                        Matter 28 – Environmental Issues - Expenses


                           Description                            Amount
            Telephone                                                   $40.14

            Facsimile Charges                                              $1.50

            Standard Copies                                                $7.90

            Computer Database Research                                 $657.59

            TOTAL                                                      $707.13




                                            B-37
          Case 01-01139-AMC      Doc 775-6     Filed 08/02/01     Page 158 of 184




                 Matter 28 – Environmental Issues - Itemized Expenses


Date        Amount    Description
5/02/01        4.33   West Publishing-TP,Database Usage 5.01

5/03/01       64.44   West Publishing-TP,Database Usage 5.01

5/04/01       63.98   West Publishing-TP,Database Usage 5.01

5/09/01        1.89   West Publishing-TP,Database Usage 5.01

5/10/01       30.18   West Publishing-TP,Database Usage 5.01

5/15/01       14.86   West Publishing-TP,Database Usage 5.01
5/15/01       24.25   West Publishing-TP,Database Usage 5.01

5/17/01      288.13   West Publishing-TP,Database Usage 5.01

5/21/01       58.28   West Publishing-TP,Database Usage 5.01

5/25/01       48.02   West Publishing-TP,Database Usage 5.01

5/29/01       16.04   West Publishing-TP,Database Usage 5.01

5/31/01       43.19   Reed Elsevier, Inc. - Computer Database Research - 5/2001
6/01/01        1.50   Fax page charge to 703-729-8587



                                           B-38
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01      Page 159 of 184




Date        Amount     Description
6/04/01         1.40   Standard Copies

6/06/01         3.23   Telephone call to: Chicago, IL 312-961-2201

6/07/01         0.20   Standard Copies

6/08/01         1.40   Standard Copies

6/08/01         3.23   Telephone call to: Denver, CO 303-866-0457

6/08/01         3.69   Telephone call to: South Carolina 843-720-4368
6/08/01       12.92    Telephone call to: Columbia, MD 410-531-4751

6/08/01       17.07    Telephone call to: South Carolina 843-720-4368

6/11/01         1.80   Standard Copies

6/27/01         2.90   Standard Copies

6/29/01         0.20   Standard Copies



                Matter 29- File, Docket, Calendar Maintenance- Expenses


                          Description                                Amount
            Secretarial Overtime                                          $37.32

            TOTAL                                                         $37.32




                                            B-39
          Case 01-01139-AMC       Doc 775-6     Filed 08/02/01   Page 160 of 184




            Matter 29- File, Docket, Calendar Maintenance- Itemized Expenses


Date        Amount    Description
6/06/01       37.32   Crabb, B. - Secretarial Overime




                                            B-40
Case 01-01139-AMC     Doc 775-6    Filed 08/02/01   Page 161 of 184




      Matter 32- K&E Fee Application, Preparation of- Expenses


               Description                          Amount
  Telephone                                                  $0.83

  TOTAL                                                      $0.83




                               B-41
          Case 01-01139-AMC      Doc 775-6    Filed 08/02/01   Page 162 of 184



            Matter 32- K&E Fee Application, Preparation of- Itemized Expenses


Date        Amount    Description
6/26/01        0.83   Telephone call to: New York, NY 212-806-5003




                                          B-42
Case 01-01139-AMC       Doc 775-6    Filed 08/02/01   Page 163 of 184



              Matter 33- Lease Rejection Claims- Expenses


                Description                           Amount
  Telephone                                                    $2.28

  Facsimile charge                                           $28.02

  Postage                                                      $0.34

  Computer Database Research                                $110.60

  TOTAL                                                     $141.24




                                 B-43
          Case 01-01139-AMC      Doc 775-6     Filed 08/02/01       Page 164 of 184



                 Matter 33- Lease Rejection Claims- Itemized Expenses


Date        Amount    Description
4/26/01       36.87   West Publishing-TP,Database Usage 4.01

4/27/01       53.53   West Publishing-TP,Database Usage 4.01

4/30/01       20.20   West Publishing-TP,Database Usage 4.01

6/05/01        1.45   Telephone call to: Englewood, CO 303-792-8630

6/13/01        0.34   Postage

6/13/01        1.77   Fax phone charge to 713-520-6127
6/13/01       26.25   Fax page charge to 713-520-6127

6/18/01        0.83   Telephone call to: State of DE 302-778-6464




                                           B-44
Case 01-01139-AMC     Doc 775-6    Filed 08/02/01    Page 165 of 184



                 Matter 34- Lien Issues - Expenses


               Description                           Amount
  Computer Database Research                             $116.02

  TOTAL                                                  $116.02




                               B-45
          Case 01-01139-AMC      Doc 775-6    Filed 08/02/01   Page 166 of 184



                       Matter 34- Lien Issues - Itemized Expenses


Date        Amount    Description
4/06/01       33.35   West Publishing-TP,Database Usage 4.01

4/09/01       82.67   West Publishing-TP,Database Usage 4.01




                                          B-46
Case 01-01139-AMC       Doc 775-6    Filed 08/02/01   Page 167 of 184



              Matter 35- Other Fee Applications - Expenses


                Description                           Amount
  Telephone                                                    $1.04

  TOTAL                                                        $1.04




                                 B-47
          Case 01-01139-AMC      Doc 775-6      Filed 08/02/01       Page 168 of 184



                 Matter 35- Other Fee Applications - Itemized Expenses


Date        Amount    Description
6/11/01        1.04   Telephone call to: State of, DE 302-778-6464




                                           B-48
Case 01-01139-AMC      Doc 775-6    Filed 08/02/01   Page 169 of 184



           Matter 38- Retention of Professionals - Expenses


                Description                          Amount
  Telephone                                                    $1.66

  Overnight Delivery                                          $34.63

  TOTAL                                                       $36.29




                                B-49
          Case 01-01139-AMC      Doc 775-6      Filed 08/02/01     Page 170 of 184



               Matter 38- Retention of Professionals - Itemized Expenses


Date        Amount    Description
6/01/01        7.80   Fed Exp to: Dallas, TX from:Mailroon

6/04/01        7.80   Fed Exp to: David W. Carickhoff Jr., Wilmington, DE from: Samuel A.
                      Schwartz

6/05/01        1.66   Telephone call to: New York, NY 212-583-5388

6/06/01        7.80   Fed Exp to: Wilmington, DE from: Mailroom

6/07/01       11.23   Fed Exp to: Miami, FL from: Mailroom




                                           B-50
Case 01-01139-AMC      Doc 775-6    Filed 08/02/01    Page 171 of 184



    Matter 39- Schedules/Statement of Financial Affairs - Expenses


               Description                            Amount
  Standard Copies                                          $123.00

  TOTAL                                                    $123.00




                                B-51
          Case 01-01139-AMC      Doc 775-6     Filed 08/02/01   Page 172 of 184



          Matter 39- Schedules/Statement of Financial Affairs - Itemized Expenses


Date        Amount    Description
6/12/01      123.00   Standard Copies




                                           B-52
Case 01-01139-AMC     Doc 775-6   Filed 08/02/01    Page 173 of 184



                 Matter 41-Tax Matters - Expenses


               Description                          Amount
  Computer Database Research                              $22.35

  TOTAL                                                   $22.35




                               B-53
          Case 01-01139-AMC      Doc 775-6    Filed 08/02/01   Page 174 of 184




                       Matter 41-Tax Matters - Itemized Expenses


Date        Amount    Description
4/10/01       22.35   West Publishing-TP,Database Usage 4.01




                                          B-54
Case 01-01139-AMC          Doc 775-6    Filed 08/02/01   Page 175 of 184




                         Matter 42-Travel - Expenses


                 Description                             Amount
  Travel Expense                                            $1,029.71

  Airfare                                                   $9,367.37

  Travel Meals                                                 $29.96

  Travel to/from Airport                                      $634.63

  Local Transportation                                         $15.00

  Other Travel Expenses                                       $667.10
  TOTAL                                                    $11,743.77




                                    B-55
          Case 01-01139-AMC        Doc 775-6      Filed 08/02/01      Page 176 of 184



                           Matter 42-Travel - Itemized Expenses


Date        Amount     Description
4/16/01       53.60    Crown Coach - Transportation to/from airport, James W. Kapp

4/18/01       53.60    Crown Coach - Transportation to/from airport, Samuel A Schwartz

4/18/01       53.60    Crown Coach - Transportation to/from airport, James W. Kapp

4/18/01       64.50    Crown Coach - Transportation to/from airport, James H Sprayregen

4/24/01       51.45    Trf Crown Coach - Transportation to/from airport, J. Sprayregen 4.24.01

5/21/01       30.58    Vital Transportation - Transportation to/from airport, David M Bernick,
                       P.C.
5/22/01       22.35    Vital Transportation - Transportation to/from airport, David M Bernick,
                       P.C.

6/04/01       57.05    Crown Coach - Transportation to/from airport, Kellye L Fabian

6/04/01       58.40    Crown Coach - Transportation to/from airport, Christopher B Sullivan

6/04/01       59.50    Crown Coach - Transportation to/from airport, Kellye L Fabian

6/05/01       63.78    Andrew R Running - Travel Expense, Washington, DC 6.4.01 (Mtg)

6/05/01       65.00    David M Bernick, P.C. - Travel Expense, Washington,D.C, 6.04.01,
                       (Strategy Mtg)
6/05/01     1,067.12   Andrew R Running - Airfare Expense, Washington, DC 6.4.01 (Mtg)

6/05/01     1,145.14   David M Bernick, P.C. - Airfare Expense, Washington,D.C, 6.04.01,
                       (Strategy Mtg)

6/06/01       13.28    Todd F. Maynes - Meals, Washington, DC,, 06.04 - 06.05.2001,
                       (Business mtg)

6/06/01       15.00    Kellye L Fabian - Local Trans. to airport, 6.04.01

6/06/01       65.00    David M Bernick, P.C. - Trans. to/from airport, Washington,D.C, 6.04.01,
                       (Strategy Mtg) supplement report

6/06/01      206.19    Todd F. Maynes - Travel Expense, Washington, DC,, 06.04 - 06.05.2001,
                       (Business mtg)




                                              B-56
          Case 01-01139-AMC        Doc 775-6      Filed 08/02/01     Page 177 of 184




Date        Amount     Description
6/06/01      533.56    Todd F. Maynes - Airfare, Washington, DC,, 06.04 -06.05.2001,
                       (Business mtg)

6/08/01       37.00    Christopber B Sullivan - Travel Expense, Washington, DC 6.4.01 - 6.5.01
                       (Litigation Seminar)

6/08/01     1,067.12   Christopher B Sullivan - Airfare Expense, Washington, DC 6.4.01 - 6.5.01
                       (Litigation Seminar)

6/15/01       65.00    David M Bernick, P.C. - Trans. to/from airport, Delaware, 4.01 to
                       4.03.01, (First Day Proceedings) supplemental report

6/21/01       89.77    Janet Baer - Airfare Expense, 5.07, 5.18 & 5.21.01, Service fee

6/21/01      446.30    Janet Baer - Boston Coach, 5.15.01
6/22/01         3.68   Samuel A Schwartz - Meals, Wilmington, DE 6.21.01 (Hearing)

6/22/01      115.58    David M Bernick, P.C. - Boston Coach, Lancaster,PA, 5.29 to 5.30.01,
                       (Mtg w/Commercial Committee Counsel)

6/22/01      160.00    David M Bernick, P.C. - Travel Expense, Delaware, 6.21.01, (Hearing)

6/22/01     1,131.08   Samuel A Schwartz - Airfare, Wilmington, DE 6.21.01 (Hearing)

6/22/01     1,682.79   David M Bernick, P.C. - Airfare Expense, Delaware,6.21.01, (Hearing)

6/25/01     1,339.50   Kellye L Fabian - Airfare Expense, Washington,D.C, 5.24.01 (W.R. Grace
                       Science School)
6/26/01       13.00    James H. Sprayregen - Meals Expense, Wilmington, DE 6.20.01 - 6.21.01
                       (Attend Court)

6/26/01       25.00    James H. Sprayregen - Travel Expense, Wilmington, DE 6.20.01 - 6.21.01
                       (Attend Court)

6/26/01      142.00    James H. Sprayregen - Trainfare Expense, Wilmington, DE 6.20.01 -
                       6.21.01 (Attend Court)

6/26/01      472.74    James H. Sprayregen - Travel Expense, New York, NY 5.29.01 - 5.30.01
                       (Mtg)

6/26/01      563.04    James H. Sprayregen - Airfare Expense, Wilmington, DE 6.20.01 - 6.21.01
                       (Attend Court)




                                             B-57
          Case 01-01139-AMC      Doc 775-6     Filed 08/02/01    Page 178 of 184




Date        Amount    Description
6/26/01      606.25   James H. Sprayregen - Airfare Expense, New York, NY 5.29.01 -
                      5.30.01 (Mtg)

6/27/01      105.22   James W. Kapp - Cabfare & other trans, New York, NY, 05.29.2001,
                      (Attend mtgs; Suppl to trv exp rpt 05.31.2001)




                                           B-58
Case 01-01139-AMC      Doc 775-6     Filed 08/02/01    Page 179 of 184



                    Matter 45 - Utilities - Expenses


               Description                             Amount
  Standard Copies                                            $78.30

  Computer Database Research                                 $76.31

  TOTAL                                                     $154.61




                                 B-59
          Case 01-01139-AMC      Doc 775-6     Filed 08/02/01    Page 180 of 184



                         Matter 45 - Utilities - Itemized Expenses


Date        Amount    Description
4/20/01       76.31   West Publishing-TP,Database Usage 4.01

6/07/01       78.30   Standard Copies




                                          B-60
Case 01-01139-AMC      Doc 775-6     Filed 08/02/01   Page 181 of 184



               Matter 46 - IRS Tax Litigation - Expenses


                Description                           Amount
  Telephone                                                    $7.84

  Facsimile Charge                                             $1.50

  Standard Copies                                              $4.00

  Overnight Delivery                                           $7.44

  Outside Messenger                                         $19.04

  Working Meals                                            $121.80
  TOTAL                                                    $161.62




                                 B-61
          Case 01-01139-AMC        Doc 775-6     Filed 08/02/01      Page 182 of 184



                     Matter 46 - IRS Tax Litigation - Itemized Expenses


Date        Amount     Description
5/22/01        7.44    Fed Exp to: Washington, DC from:Mailroom

6/05/01        0.92    Telephone call to: Central, FL 561-362-1662

6/05/01        1.50    Fax page charge to 514-9440

6/05/01        3.80    Standard Copies

6/05/01        6.92    Telephone call to: Central, FL 561-362-1312

6/05/01      121.80    Who's Cookin - Working Meals/K&E and Others Lunch on 6/5/01 for
                       Brant Bishop and client for all day meeting
6/06/01        0.20    Standard Copies

6/15/01        8.46    Capital Transit - Outside Messenger Services - 6/06/2001

6/15/01       10.58    Capital Transit - Outside Messenger Services - 6/08/2001




                                             B-62
          Case 01-01139-AMC        Doc 775-6    Filed 08/02/01   Page 183 of 184




                                Expenses- Summary (June 2001)


Description                                                                        Amount
Telephone                                                                     $1,129.10

Facsimile Charges                                                             $1,165.09

Standard Copies                                                               $1,696.89

Color Copies                                                                        $39.00

Binding                                                                              $7.00

Outside Messenger Service                                                          $148.44
Tabs/Indexes/Dividers                                                                $9.90

Postage                                                                             $84.34

Local Transportation                                                                $20.00

Travel Meals                                                                        $29.96

Overnight Delivery                                                                 $171.46

Travel Expense                                                                $1,029.71
Airfare                                                                       $9,367.37

Travel to/from Airport                                                             $634.63

Other Travel Expenses                                                              $667.10

Computer Database Research                                                    $2,534.02

Library Document Procurement                                                        $20.00

Information Broker Services                                                  $24,689.99
Calendar/Court Services                                                             $50.00

Working Meals                                                                      $244.70

Overtime Meals                                                                      $18.00

Overtime Meals- Attorney                                                            $67.56

Overtime Transportation                                                            $140.50

Secretarial Overtime                                                          $1,401.37

Miscellaneous Office Expenses                                                      $100.00
        Case 01-01139-AMC   Doc 775-6   Filed 08/02/01   Page 184 of 184




Total                                                                $45,466.13
